                Case 19-02764-jw                  Doc 1    Filed 05/22/19 Entered 05/22/19 17:23:31                              Desc Main
                                                           Document      Page 1 of 253
Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF SOUTH CAROLINA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Sand Castle South Timeshare Owners Association, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  2207 South Ocean Blvd                                           One Vance Gap Road
                                  Myrtle Beach, SC 29577                                          Asheville, NC 28805
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Horry                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Sand Castle South Timeshare Owners Association, Inc.                                          Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 7211

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:

                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                     Relationship
                                                  District                                 When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor   Sand Castle South Timeshare Owners Association, Inc.                                      Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Sand Castle South Timeshare Owners Association, Inc.                                     Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      May 22, 2019
                                                  MM / DD / YYYY


                             X   /s/ Herbert H. Patrick, Jr.                                              Herbert H. Patrick, Jr.
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Julio E. Mendoza, Jr.                                                 Date May 22, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Julio E. Mendoza, Jr. 3365
                                 Printed name

                                 Nexsen Pruet, LLC
                                 Firm name

                                 1230 Main Street, Suite 700 (29201)
                                 PO Box 2426
                                 Columbia, SC 29202
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     803-540-2026                  Email address      rmendoza@nexsenpruet.com

                                 3365 SC
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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 Fill in this information to identify the case:

 Debtor name         Sand Castle South Timeshare Owners Association, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF SOUTH CAROLINA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          May 22, 2019                            X /s/ Herbert H. Patrick, Jr.
                                                                       Signature of individual signing on behalf of debtor

                                                                       Herbert H. Patrick, Jr.
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                    Case 19-02764-jw                     Doc 1       Filed 05/22/19 Entered 05/22/19 17:23:31                                         Desc Main
                                                                     Document      Page 8 of 253

 Fill in this information to identify the case:
 Debtor name Sand Castle South Timeshare Owners Association, Inc.
 United States Bankruptcy Court for the: DISTRICT OF SOUTH CAROLINA                                                                                   Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Cherokee Motels,                                               Note Payment Due                                                                                        $360,000.00
 Inc.
 PO Box 1362
 Myrtle Beach, SC
 29578
 Horry County                                                   Property Taxes                                                                                            $42,585.81
 Treasurer's Office                                             Due
 PO Box 1237
 Conway, SC 29528
 Johnson's Furniture                                            Goods Provided                                                                                                $608.22
 Co.
 3015 Bashor Road
 Conway, SC 29526
 Kaba llco Inc.                                                                                                                                                               $892.82
 PO Box 896502
 Charlotte, NC 28289
 Sand Castle South                                              Master                                                                                                  $130,934.69
 HOA Inc.                                                       Association Dues
 c/o Alley                                                      Owed
 Management Inc.
 7400 N. Kings
 Highway
 Myrtle Beach, SC
 29572
 Sun Hospitality                                                Services                                                                                                  $56,708.90
 Resort Services                                                Provided,
 4724 Hwy 17 Bypass                                             Housekeeping
 South
 Myrtle Beach, SC
 29588
 TSA Choice                                                     Services Provided                                                                                             $333.47
 108 Asheville
 Comerce Pkwy
 Candler, NC 28715




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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               Case 19-02764-jw                                Doc 1               Filed 05/22/19 Entered 05/22/19 17:23:31                                                        Desc Main
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 Fill in this information to identify the case:

 Debtor name            Sand Castle South Timeshare Owners Association, Inc.

 United States Bankruptcy Court for the:                       DISTRICT OF SOUTH CAROLINA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            61,615.55

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $            61,615.55


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            42,585.81

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           783,925.24


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             826,511.05




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
              Case 19-02764-jw                      Doc 1            Filed 05/22/19 Entered 05/22/19 17:23:31                       Desc Main
                                                                     Document     Page 10 of 253
 Fill in this information to identify the case:

 Debtor name          Sand Castle South Timeshare Owners Association, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF SOUTH CAROLINA

 Case number (if known)
                                                                                                                                        Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

          No. Go to Part 2.
          Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest
 2.         Cash on hand                                                                                                                                $300.00



 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number


            3.1.     Fifth Third                                             Operating                       5290                                    $61,315.55



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                     $61,615.55
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

         No. Go to Part 3.
         Yes Fill in the information below.


 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

         No. Go to Part 4.
         Yes Fill in the information below.

 11.        Accounts receivable




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                                page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
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 Debtor         Sand Castle South Timeshare Owners Association,                                    Case number (If known)
                Inc.
                Name


           11b. Over 90 days old:                            2,153,327.66     -                           Unknown =....                           Unknown
                                              face amount                            doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                                   Unknown
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and              Net book value of         Valuation method used    Current value of
           property                                       extent of               debtor's interest         for current value        debtor's interest
           Include street address or other                debtor's interest       (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                           page 2
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 Debtor         Sand Castle South Timeshare Owners Association,                               Case number (If known)
                Inc.
                Name

            55.1.    39 Timeshare units
                     located at 2207 South
                     Ocean Blvd, Myrtle
                     Beach, South
                     Carolina 29577 (Units
                     Numbered 901, 902,
                     903, 904, 905, 906,
                     907, 908, 909, 910,
                     911, 912, 914, 915,
                     916, 917, 918, 919,
                     920, 921, 1101, 1102,
                     1103, 1104, 1105, ,
                     1106, 1107, 1108,
                     1109, 1110, 1111,
                     1112, 1114, 1115,
                     1116, 1117, 1118,
                     1119, 1120 and 1121
                     of the Sand Castle
                     South Horizontal
                     Property Regime).
                     SEE ATTACHED
                     LEGAL
                     DESCRIPTION                                                       Unknown                                              Unknown




 56.        Total of Part 9.                                                                                                             Unknown
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
                No
                Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of        Valuation method used    Current value of
                                                                              debtor's interest        for current value        debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties
            Sand Castle South Timeshare Ownership Plan
            License (SC REC File No. 905)                                              Unknown                                              Unknown



 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
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 Debtor         Sand Castle South Timeshare Owners Association,                              Case number (If known)
                Inc.
                Name


 66.        Total of Part 10.                                                                                                        Unknown
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
                No
                Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                 Best Case Bankruptcy
               Case 19-02764-jw                         Doc 1           Filed 05/22/19 Entered 05/22/19 17:23:31                                         Desc Main
                                                                        Document     Page 14 of 253
 Debtor          Sand Castle South Timeshare Owners Association,                                                     Case number (If known)
                 Inc.
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $61,615.55

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                       Unknown

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                           Unknown

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                    Unknown

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                              $61,615.55          + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                   $61,615.55




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 5
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 Debtor         Sand Castle South Timeshare Owners Association,                              Case number (If known)
                Inc.
                Name




                                     LEGAL DESCRIPTION OF PROPERTY

            ALL AND SINGULAR, those certain Units Numbered 901, 902, 903, 904,
            905, 906, 907, 908, 909, 910, 911, 912, 914, 915, 916, 917, 918, 919, 920, 921,
            1101, 1102, 1103, 1104, 1105, 1106, 1107, 1108, 1109, 1110, 1111, 1112, 1114,
            1115, 1116, 1117, 1118, 1119, 1120, and 1121 of the Sand Castle South
            Horizontal Property Regime, established pursuant to the Master Deed for Sand
            Castle South Horizontal Property Regime, dated June 16, 2006 and recorded
            June 16, 2006 in Deed Book 3114 at Page 478, in the records of Horry County,
            South Carolina.

            SUBJECT to all of the provisions of the aforesaid Master Deed and Exhibits and
            Amendments thereto.

            AND SUBJECT to all other restriction s, reservations, easements, and rights of
            way or record, including those set out on the recorded map.

            AND FURTHER SUBJECT to all of the provisions of the Supplemental
            Declaration for Sand Castle South Timeshare Ownership Plan recorded in Deed
            Book 3255 at Page 567, et. seq., in the records of Horry County, South Carolina.

          TOGETHER will all of the appurtenances thereto according the Master Deed,
          the Supplemental Declaration for Sand Castle South Timeshare Ownership Plan
          and Exhibits and Amendments thereto, and the Grantee assumes and agrees to
          observe and perform its obligations under the Master Deed and Supplemental
          Declaration for Sand Castle South Timeshare Ownership Plan and Exhibits and
          Amendments thereto, including, but not limited to, the payment of assessments
          for the maintenance and operation of the units, condominiums and timeshare
          interests. AND SUBJECT to the provisions of the By-Laws of Sand Castle
          South Homeowner' s Association , Inc . and the By-Laws of Sand Castle South
          Timeshare Owners Association, Inc.

          This being a portion of the property conveyed to Sand Castle South Condo, LLC
          by Deed of Cherokee Motels, Inc., recorded June 16, 2006 in Deed Book 3114
          at Page 462, in the Office of the Register of Deeds for Horry County, South
          Carolina.

          TMS No.: 187-01-02-078; 187-01-02-079; 187-01-02-080; 187-01-02-081;
          187-01-02-082; 187-0 1-02-083; 1 87-0I -02-084; 187-01-02-085; 187-01-02-
          086; 187-0 1-02-087; 187-01-02-088; 187-01-02-089; 187-01-02-90; 187-01-
          02-091; 187-01-02-092; 187-01-02-093; 187-01-02-094; 187-01-02-095;
          187-01-02-096; 187-0 1-02-097; 187-0 1-02-218; 187-01-02-219; 187-01-02-
          220; 187-01-02-221; 187-01-02-222; 187-01-02-223; 187-01-02-224; 187-



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                        page 6
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            01-02-225; 187-01-02-226; 187-01-02-227; 187-01-02-228; 187-01-02-229;
            187-01-02-230; 187-01-02-231; 187-01-02-232 ; 187-01-02-233; 187-01-02-
            234; 187-01-02-235: 187-01-02-236 and 187-01-02-237

            LESS AND EXCEPTING :

            Any previously conveyed timeshare interest in the above referenced Units,
            consisting of a 1/52 or a 1/ 104 undivided interest.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                   page 7
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                     Best Case Bankruptcy
              Case 19-02764-jw                      Doc 1            Filed 05/22/19 Entered 05/22/19 17:23:31                  Desc Main
                                                                     Document     Page 17 of 253
 Fill in this information to identify the case:

 Debtor name         Sand Castle South Timeshare Owners Association, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF SOUTH CAROLINA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
              Case 19-02764-jw                      Doc 1            Filed 05/22/19 Entered 05/22/19 17:23:31                                            Desc Main
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 Fill in this information to identify the case:

 Debtor name         Sand Castle South Timeshare Owners Association, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF SOUTH CAROLINA

 Case number (if known)
                                                                                                                                                            Check if this is an
                                                                                                                                                            amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                           12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                              Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $42,585.81         $42,585.81
           Horry County Treasurer's Office                           Check all that apply.
           PO Box 1237                                                  Contingent
           Conway, SC 29528                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Property Taxes Due
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                            $0.00
           Celso Aabano                                                                Contingent
           1658 Milwaukee Ave #100-8053                                                Unliquidated
           Chicago, IL 60647                                                           Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     NOTICE PURPOSES ONLY
           Last 4 digits of account number      8570
                                                                                   Unit Type: 1 BD; Unit 1120 (Biannual Float)
                                                                                   Is the claim subject to offset?           No   Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                            $0.00
           James Adams                                                                 Contingent
           3730 Meadowview Rd                                                          Unliquidated
           Kershaw, SC 29067                                                           Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     NOTICE PURPOSES ONLY
           Last 4 digits of account number      6715
                                                                                   Unit Type: STU; Unit: 903 (Biannual Float)
                                                                                   Is the claim subject to offset?           No   Yes

Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                          page 1 of 144
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              Sand Castle South Timeshare Owners Association,
 Debtor       Inc.                                                                                    Case number (if known)
              Name

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Joshua Adams                                                          Contingent
          PO Box 382                                                            Unliquidated
          Chapmanville, NC 28133                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6716
                                                                             Unit Type: 1 BD; Unit: 919 (Annual Float)
                                                                             Unit Type: STU; Unit: 907 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Samuel Adams                                                          Contingent
          5513 Ackley Ln                                                        Unliquidated
          Hope Mills, NC 28348                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6717
                                                                             Unit Type: STU; Unit 909 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          William Addison                                                       Contingent
          1722 McFarlin Bridge Rd                                               Unliquidated
          Carnesville, GA 30521                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6719
                                                                             Unit Type: 1BD; Unit: 918 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Jae Adle                                                              Contingent
          PO Box 52                                                             Unliquidated
          Lyons, NY 14489                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6721
                                                                             Unit Type: STU; Unit: 902 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Denorise Allen                                                        Contingent
          2543 Old Mill Road                                                    Unliquidated
          High Point, NC 27265                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6725
                                                                             Unit Type: STU; Unit 1108 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Pamela Allen                                                          Contingent
          1261 McPherson Rd                                                     Unliquidated
          Vass, NC 28327                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6726
                                                                             Unit Type: STU; Unit 903 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 2 of 144
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 Debtor       Inc.                                                                                    Case number (if known)
              Name

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Vernon Allison                                                        Contingent
          7700 Boyer Farm Rd                                                    Unliquidated
          Walnut Cove, NC 27052                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6727
                                                                             Unit Type: 1 BD; Unit: 917 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Ronald Althenn, II                                                    Contingent
          3905 Hearn Drive                                                      Unliquidated
          Columbia, SC 29223                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6728
                                                                             Unit Type: STU; Unit 1108 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Michael Ammons                                                        Contingent
          2645 Mozelle Sherrill Ln                                              Unliquidated
          Denver, NC 28037                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6730
                                                                             Unit Type: STU; Unit: 904 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Howard Anderson                                                       Contingent
          1000 Louis Gardner Rd                                                 Unliquidated
          Upton, KY 42784                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       8630
                                                                             Unit Type: STU; Unit 907 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Jeffrey Anderson                                                      Contingent
          2641 Sudie Dr                                                         Unliquidated
          Burlington, NC 27217                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6731
                                                                             Unit Type: 1 BD; Unit: 916 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Shawntay Anthony                                                      Contingent
          911 Belton street                                                     Unliquidated
          Monroe, NC 28110                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6732
                                                                             Unit Type: STU; Unit 1109 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 3 of 144
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 Debtor       Inc.                                                                                    Case number (if known)
              Name

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Kalyan Anumula                                                        Contingent
          1278 Turnbury Lane                                                    Unliquidated
          North Wales, PA 19454                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6733
                                                                             Unit Type: 1 BD; Unit: 901 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Diane Artis                                                           Contingent
          31230 Smiths Ferry Road                                               Unliquidated
          Franklin, VA 23851                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6734
                                                                             Unit Type: 1 BD; Unit: 920 (Biannual Float)
                                                                             Unit Type: STU; Unit 908 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Sam Atkins, Jr.                                                       Contingent
          732 Indian Trl                                                        Unliquidated
          Martinsville, VA 24112                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6736
                                                                             Unit Type: 1 BD; Unit: 915 (Annual Float)
                                                                             Unit Type: STU; Unit: 914 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Robbie Atkins                                                         Contingent
          228 Charles Ave                                                       Unliquidated
          High Point, NC 27260                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6735
                                                                             Unit Type: STU; Unit 904 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Larry Atkinson                                                        Contingent
          3840 Hedgewood Dr                                                     Unliquidated
          Sumter, SC 29154                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7518
                                                                             Unit Type: STU; Unit: 908 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 4 of 144
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 Debtor       Inc.                                                                                    Case number (if known)
              Name

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Linda Atkinson                                                        Contingent
          1201 Mill St                                                          Unliquidated
          Camden, SC 29020                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       2506
                                                                             Unit Type: STU; Unit 906 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Roy Ayers                                                             Contingent
          2007 Westfield Rd                                                     Unliquidated
          Mount Airy, NC 27030                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6737
                                                                             Unit: 1 BD; Unit: 915 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Isaac Bacoat                                                          Contingent
          1904 Carriage HOuse Road                                              Unliquidated
          Fayetteville, NC 28312-3401                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6027
                                                                             Unit Type: STU; Unit: 906 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Richard Bailey, Jr.                                                   Contingent
          135 Dogwood Ln                                                        Unliquidated
          Fayetteville, WV 25840                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6740
                                                                             Unit Type: 1 BD; Unit 918 (Biannual Float)
                                                                             Unit Type: 1 BD; Unit 919 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Nicholas Bailey                                                       Contingent
          1920 Old Hickory Grove Rd                                             Unliquidated
          Mount Holly, NC 28120                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6739
                                                                             Unit Type: 1 BD; Unit: 901 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Luis Baires                                                           Contingent
          3407 Skybrook Ln                                                      Unliquidated
          Durham, NC 27703                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6741
                                                                             Unit Type: STU; Unit: 911 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 5 of 144
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 Debtor       Inc.                                                                                    Case number (if known)
              Name

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Zakiya Y. Bakari-Griffin                                              Contingent
          192 Clayton Ave                                                       Unliquidated
          Frankford, DE 19945                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6742
                                                                             Unit Type: STU; Unit 908 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Tammy Baker                                                           Contingent
          397 Simms St                                                          Unliquidated
          Maysville, GA 30558                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6743
                                                                             Unit Type: STU; Unit: 912 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Shirley Ballard                                                       Contingent
          17605 Highway 101 S                                                   Unliquidated
          Gray Court, SC 29645                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6746
                                                                             Unit Type: STU; Unit: 902 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          James Baltzell                                                        Contingent
          32 Newton St.                                                         Unliquidated
          Norwich, CT 06360                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6748
                                                                             Unit Type: 1 BD; Unit:1115 (Biennial Points)
                                                                             Unit Type: STU; Unit 1114 (iennial Points)
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Linda Bangs                                                           Contingent
          100 Forest Park Dr                                                    Unliquidated
          North Kingstown, RI 02852                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6749
                                                                             Unit Type: 1BD; Unit: 1117 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Leonard Banks                                                         Contingent
          713 Buffalo View Rd                                                   Unliquidated
          Hillsville, VA 24343                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6750
                                                                             Unit Type: STU; Unit: 903 (Biennial Points)
                                                                             Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 6 of 144
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              Sand Castle South Timeshare Owners Association,
 Debtor       Inc.                                                                                    Case number (if known)
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 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Bryan Barber                                                          Contingent
          134 Deerfield Rd                                                      Unliquidated
          Rockingham, NC 28379                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6751
                                                                             Unit Type: STU; Unit 902 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Connie Barrington                                                     Contingent
          3166 Magnolia Rd                                                      Unliquidated
          Bennettsville, SC 29512                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6754
                                                                             Unit Type: 1 BD; Unit: 916 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Robert Beatty                                                         Contingent
          884 Hills Rd                                                          Unliquidated
          Belmont, NC 28012                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6755
                                                                             Unit Type: STU; Unit: 904 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Arleathia Beavers                                                     Contingent
          PO Box 314                                                            Unliquidated
          Greeleyville, SC 29056                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6756
                                                                             Unit Type: STU; Unit: 912 (Annual Float)
                                                                             Unit Type: 1 BD; Unit: 918 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Erica Renee Beckett                                                   Contingent
          129 Willow Bend Dr                                                    Unliquidated
          Apt 3C                                                                Disputed
          Owings Mills, MD 21117
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number       6757                         Unit Type: STU; Unit 904 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Paul Beeson                                                           Contingent
          110 English Court                                                     Unliquidated
          Trinity, NC 27370                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6758
                                                                             Unit Type: STU; Unit 905 (Annual Float)
                                                                             Unit Type: 1BD; Unit 918 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Andre Belisle                                                         Contingent
          145 Chaplin St                                                        Unliquidated
          Chaplin, CT 06235                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6759
                                                                             Unit Type: STU; Unit 907 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Daniel Bell                                                           Contingent
          376 Hollywood Farm Rd                                                 Unliquidated
          Fredericksburg, VA 22405                                              Disputed
          Date(s) debt was incurred
                                                                                             NOTICE PURPOSES ONLY
                                                                             Basis for the claim:
          Last 4 digits of account number       6760                         Unit Type: 1 BD; Unit: 915 (Annual Float)
                                                                             Unit Type: STU; Unit: 914 (Annual Float)
                                                                             Unit Type: 1 BD; Unit: 901 (Biannual Float)
                                                                             Unit Type: 1 BD; Unit: 919 (Annual Float) (2)
                                                                             Unit Type: STU; Unit: 905 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Alexis Bennett                                                        Contingent
          541 Apple Ridge Road                                                  Unliquidated
          Greensboro, NC 27406                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6762
                                                                             Unit Type: 1 BD; Unit: 916 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Christopher Bennett                                                   Contingent
          116 Copes Ct                                                          Unliquidated
          Rock Hill, SC 29732                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6763
                                                                             Unit Type: STU; Unit: 903 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Gary Berry                                                            Contingent
          114 Zoe Cir                                                           Unliquidated
          Jacksboro, TN 37757                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6765
                                                                             Unit Type: STU; Unit: 914 (Biannual Float)
                                                                             Unit Type: 1 BD; Unit: 915 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Levente Berry                                                         Contingent
          7521 Blacklick Ridge Blvd                                             Unliquidated
          Blacklick, OH 43004                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6766
                                                                             Unit Type: STU; Unit: 1104 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Richard Berry                                                         Contingent
          131 Old Turnpike Rd                                                   Unliquidated
          Beckley, WV 25801                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6767
                                                                             Unit Type: STU; Unit: 905 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Barbara Bielawski                                                     Contingent
          12645 W Eden Ct                                                       Unliquidated
          New Berlin, WI 53151                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6770
                                                                             Unit Type: 1 BD; Unit: 918 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Cynthia Billington                                                    Contingent
          2044 Halifax Rd                                                       Unliquidated
          Chatham, VA 24531                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6771
                                                                             Unit Type: 1 BD; Unit 901 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Cheryl Ann Black                                                      Contingent
          178 Lancer Dr                                                         Unliquidated
          Ringgold, GA 30736                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6773
                                                                             Unit Type: STU; Unit 903 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          William Black                                                         Contingent
          210 Vernon St                                                         Unliquidated
          Cherryville, NC 28021                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6774
                                                                             Unit Type: 1 BD; Unit 916 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          William Blackwell                                                     Contingent
          4107 SE School Rd                                                     Unliquidated
          Greensboro, NC 27406                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6775
                                                                             Unit Type: STU; Unit: 1103 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Latoya Blair                                                          Contingent
          15 Kay Ln, Apt J                                                      Unliquidated
          Waterbury, CT 06708                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6776
                                                                             Unit Type: STU; Unit: 914 (Biannual Float)
                                                                             Unit Type: 1 BD; Unit: 915 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Louis Blake, Jr.                                                      Contingent
          PO Box 1516                                                           Unliquidated
          Saint Stephen, SC 29479                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6777
                                                                             Unit Type: STU; Unit: 907 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Cassandra Bland                                                       Contingent
          PO Box 17612                                                          Unliquidated
          Greenville, SC 29606                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6778
                                                                             Unit Type: 1 BD; Unit 921 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Jimmie Blankenship, Jr.                                               Contingent
          2525 Stroud Rd                                                        Unliquidated
          Jackson, GA 30233                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6779
                                                                             Unit Type: 1 BD; Unit: 920 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Susan Blevins                                                         Contingent
          1204 Osborne Rd                                                       Unliquidated
          Mount Sterling, KY 40353                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6780
                                                                             Unit Type: 1 BD; Unit: 901 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Tracy Bodkin                                                          Contingent
          119 Wimbledon Way                                                     Unliquidated
          Murrells Inlet, SC 29576                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6781
                                                                             Unit Type: STU; Unit 906 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Norman Bogard                                                         Contingent
          14362 US Highway 42 E                                                 Unliquidated
          Verona, KY 41092                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6782
                                                                             Unit Type: 1 BD; Unit 901 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          James Bogart                                                          Contingent
          5707 Dogwood Rd                                                       Unliquidated
          Knoxville, TN 37978                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6783
                                                                             Unit Type: 1 BD; Unit 1115 (Biannual Float)
                                                                             Unit Type: STU; Unit 1114 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Jason Bolin                                                           Contingent
          3995 Meadow Run Rd                                                    Unliquidated
          Waverly, OH 45690                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6784
                                                                             Unit Type: 1 BD; Unit: 920 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Ralph Bolt                                                            Contingent
          3713 Blackburn Ave                                                    Unliquidated
          Ashland, KY 41101                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6785
                                                                             Unit Type: STU; Unit: 911 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Tracy Boone                                                           Contingent
          1222 James St                                                         Unliquidated
          Macon, GA 31204                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6786
                                                                             Unit Type: 1BD; Unit: 1117 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Waltraud Booth                                                        Contingent
          234 Winters Dr                                                        Unliquidated
          Wintersville, OH 43953                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6788
                                                                             Unit Type: 1 BD; Unit: 917 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Timothy Borchardt                                                     Contingent
          2395 State Highway 12                                                 Unliquidated
          Greene, NY 13778                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6789
                                                                             Unit Type: 1 BD; Unit: 920 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Chester Boroski, Sr.                                                  Contingent
          28865 Morgan Ln                                                       Unliquidated
          Richfield, NC 28137                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6790
                                                                             Unit Type: STU; Unit: 911 (Annual Float)
                                                                             Unit Type: 1BD; Unit: 916 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Richard Bowling                                                       Contingent
          117B Valley Dr                                                        Unliquidated
          Nitro, WV 25303                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6791
                                                                             Unit Type: STU; Unit: 907 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Andy Boyette                                                          Contingent
          891 Scott Rd                                                          Unliquidated
          Kenly, NC 27542                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6792
                                                                             Unit Type: 1 BD; Unit 1117 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Lisa Boykin                                                           Contingent
          1952 Lucknow Rd                                                       Unliquidated
          Camden, SC 29020                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6793
                                                                             Unit Type: STU; Unit: 904 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Jeri Brannen                                                          Contingent
          9464 US 52                                                            Unliquidated
          Manchester, OH 45144                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6794
                                                                             Unit Type: STU; Unit: 903 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Anthony Breeden                                                       Contingent
          4922 Big Creek Rd                                                     Unliquidated
          Hartford, TN 37753                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6797
                                                                             Unit Type: 1 BD; Unit 921 (Annual Float)
                                                                             Unit Type: 1 BD; Unit 921 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Shawn Brehm                                                           Contingent
          405 East Market Street                                                Unliquidated
          Baltimore, OH 43105                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6798
                                                                             Unit Type: 1 BD; Unit 917 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          William Brisson                                                       Contingent
          10405 Rockinham Rd                                                    Unliquidated
          Laurel Hill, NC 28351                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6799
                                                                             Unit Type: 1BD; Unit: 1118 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Robert Bronson                                                        Contingent
          1364 Doc Brown Rd                                                     Unliquidated
          Raeford, NC 28376                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6801
                                                                             Unit Type: STU; Unit 906 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          H. Brooks                                                             Contingent
          205 W Alton St                                                        Unliquidated
          Durham, NC 27707                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6802
                                                                             Unit Type: STU; Unit: 903 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Karen Brooks                                                          Contingent
          1790 Avenue S NW                                                      Unliquidated
          Winter Haven, FL 33881                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6803
                                                                             Unit Type: 1 BD; Unit 921 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Edward Brown                                                          Contingent
          508 Katonah Ave                                                       Unliquidated
          Charlotte, NC 28208                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6805
                                                                             Unit Type: 1 BD; Unit: 901 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Kenwick Brown                                                         Contingent
          1804 Winthrop Dr                                                      Unliquidated
          Florence, SC 29501                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6806
                                                                             Unit Type: 1 BD; Unit: 1101 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Timothy Brown                                                         Contingent
          1433 Hillsboro Rd                                                     Unliquidated
          Orangeburg, SC 29115                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6808
                                                                             Unit Type: STU; Unit: 902 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Hugh Brunner                                                          Contingent
          501 N High St                                                         Unliquidated
          Duncannon, PA 17020                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6809
                                                                             Unit Type: 1 BD; Unit: 915 (Annual Float)
                                                                             Unit Type: STU; Unit: 914 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Rodney Brunson                                                        Contingent
          140 Trailwood Drive                                                   Unliquidated
          Sumter, SC 29154                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6811
                                                                             Unit Type: 1 BD; Unit: 1117 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Danny Bryant                                                          Contingent
          103 Wilhowie Dr, #A                                                   Unliquidated
          Lexington, SC 29073                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6812
                                                                             Unit Type: STU; Unit: 908 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Ronnie Bryant                                                         Contingent
          2331 Grantham School Rd                                               Unliquidated
          Mount Olive, NC 28365                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6813
                                                                             Unit Type: 1 BD; Unit: 1101 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Rosendo Bryden                                                        Contingent
          4576 Vernon Farms Blvd                                                Unliquidated
          Kernersville, NC 27284                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6814
                                                                             Unit Type: 1 BD; Unit 921 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Nicole Bubb                                                           Contingent
          247 Harper Dr                                                         Unliquidated
          Snow Hill, NC 28580                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6815
                                                                             Unit Type: 1 BD; Unit: 901 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Brian M. Buch                                                         Contingent
          4711 Poplar Lane                                                      Unliquidated
          Doral, FL 33178                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6816
                                                                             Unit Type: STU; Unit 905 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Edward J. Bucia                                                       Contingent
          701 Bent Hickory Road                                                 Unliquidated
          Charleston, SC 29414                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6817
                                                                             Unit Type: 1 BD; Unit 915 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Burchfield Vacation Rentals, LLC                                      Contingent
          c/o James Franklin Burchfield                                         Unliquidated
          PO Box 18322                                                          Disputed
          Knoxville, TN 37928
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number       6818                         Unit Type: 1 BD; Unit 917 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Jeffrey Burdick                                                       Contingent
          4046 Old Trail Rd                                                     Unliquidated
          Martinez, GA 30907                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6819
                                                                             Unit Type: STU; Unit: 910 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          George P. Burfeind                                                    Contingent
          172 Bunker Rd                                                         Unliquidated
          Rotonda West, FL 33947                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6820
                                                                             Unit Type: 1 BD; Unit: 918 (Annual Points)
                                                                             Is the claim subject to offset?     No       Yes

 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Nannie Burton                                                         Contingent
          1020 Grand Concourse                                                  Unliquidated
          Bronx, NY 10451                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6821
                                                                             Unit Type: STU; Unit: 907 (Annual Float)
                                                                             Unit Type: 1 BD; Unit: 919 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          James Byker                                                           Contingent
          134 W Central Ave                                                     Unliquidated
          Zeeland, MI 49464                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6823
                                                                             Unit Type: STU; Unit 1105 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Audrey B. Cahill                                                      Contingent
          4 George St                                                           Unliquidated
          Sharon, ON LOG 1VO                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6825
                                                                             Unit Type: STU; Unit: 1114 (Biennial Points)
                                                                             Is the claim subject to offset?     No       Yes

 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          William Callahan                                                      Contingent
          131 Kenneth Cooper Road                                               Unliquidated
          Whittier, NC 28789                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6826
                                                                             Unit Type: STU; Unit: 914 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Yolanda Leon Camacho                                                  Contingent
          7200 Amster Rd                                                        Unliquidated
          N. Chesterfield, VA 23225                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6827
                                                                             Unit Type: STU; Unit 914 (Annual Float)
                                                                             Unit Type: 1 BD; Unit 915 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Jimmy Camp                                                            Contingent
          19 Oak Grove Rd                                                       Unliquidated
          Landrum, SC 29356                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6828
                                                                             Unit Type: 1BD; Unit: 1118 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Albert L. Campbell                                                    Contingent
          5128 Dorchester Rd                                                    Unliquidated
          North Charleston, SC 29403                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6829
                                                                             Unit Type: STU; Unit 903 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Robert Campbell, Jr.                                                  Contingent
          164 Windsor Way                                                       Unliquidated
          Mount Royal, NJ 08061                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6832
                                                                             Unit Type: 1 BD; Unit: 1116 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Katie Campbell                                                        Contingent
          32 Railroad Ave                                                       Unliquidated
          PO Box 586                                                            Disputed
          Craigsville, VA 24430
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number       6831                         Unit Type: 1 BD; Unit 916 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Patricia Canton                                                       Contingent
          7749 Red Maple Pl                                                     Unliquidated
          Westerville, OH 43082                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6834
                                                                             Unit Type: 1 BD; Unit 915 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Patricia Carey                                                        Contingent
          6070 Highway 145                                                      Unliquidated
          Carnesville, GA 30521                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6836
                                                                             Unit Type: 1 BD; Unit 1101 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Benjamin Carroll                                                      Contingent
          1160 N 17th E                                                         Unliquidated
          Mountain Home, ID 83647                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6837
                                                                             Unit Type: 1 BD; Unit: 920 (Annual Float)
                                                                             Unit Type: 1 BD; Unit: 921 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Robert Carroll                                                        Contingent
          1203 Cherokee Trail                                                   Unliquidated
          Covington, VA 24426                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6838
                                                                             Unit Type: 1BD; Unit: 918 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Thomas G. Carslay                                                     Contingent
          13507 East 43rd Dr.                                                   Unliquidated
          Yuma, AZ 85367                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6839
                                                                             Unit Type: STU; Unit 902 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Jerry Carter                                                          Contingent
          1050 River Rd                                                         Unliquidated
          Stoneville, NC 27048                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6840
                                                                             Unit Type:       STU; Unit: 1114 (Annual Float)
                                                                             Unit Type:       1 BD; Unit: 1115 (Annual Float)
                                                                             Unit Type:       1 BD; Unit 920 (Annual Float)
                                                                             Unit Type:       STU; Unit 909 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Ronald Carter                                                         Contingent
          1531 Blain Hwy                                                        Unliquidated
          Waverly, OH 45690                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6841
                                                                             Unit Type: 1 BD; Unit: 919 (Annual Float)
                                                                             Unit Type: STU; Unit: 910 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Amy Case                                                              Contingent
          804 Driftwood Lane                                                    Unliquidated
          North, SC 29112                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6843
                                                                             Unit Type: 1 BD; Unit: 918 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Gary Casterline, Jr.                                                  Contingent
          259 N Vine Ave                                                        Unliquidated
          Rialto, CA 92376                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6844
                                                                             Unit Type: STU; Unit: 912 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Ralph Castro                                                          Contingent
          7001 Cannon Dr                                                        Unliquidated
          Canal Winchester, OH 43110                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6845
                                                                             Unit Type: 1 BD; Unit 1116 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Brad Caudill                                                          Contingent
          1500 Cedar Ln                                                         Unliquidated
          Wilkesboro, NC 28697                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6846
                                                                             Unit Type: 1 BD; Unit: 918 (Annual Float)
                                                                             Unit Type: STU; Unit: 906 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Clyde Caudle                                                          Contingent
          301 Woodberry Dr                                                      Unliquidated
          Wingate, NC 28174                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6847
                                                                             Unit Type: 1 BD; Unit: 917 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Kiwanna Chapman                                                       Contingent
          1200 E Holly St                                                       Unliquidated
          Rocky Mount, SC 29461                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6849
                                                                             Unit Type: STU; Unit 906 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Thomas Chapman                                                        Contingent
          116 Crest Ave                                                         Unliquidated
          East Haven, CT 06513                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6850
                                                                             Unit Type: 1 BD; Unit: 921 (Biannual Float)
                                                                             Unit Type: 1 BD; Unit: 920 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Raoul Chasse                                                          Contingent
          130 Lopes Cir                                                         Unliquidated
          Franklin, NC 28734                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6851
                                                                             Unit Type: 1 BD; Unit: 916 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Edward Chavis                                                         Contingent
          PO Box 462                                                            Unliquidated
          Pembroke, NC 28372                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6852
                                                                             Unit Type: STU; Unit 1104 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $360,000.00
          Cherokee Motels, Inc.                                                 Contingent
          PO Box 1362                                                           Unliquidated
          Myrtle Beach, SC 29578                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Note Payment Due
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Vernell Cherry                                                        Contingent
          2402 Huntwood Ct.                                                     Unliquidated
          Frederick, MD 21702                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6853
                                                                             Unit Type: 1 BD; Unit: 915 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Wieslaw Cierpka                                                       Contingent
          42 Nantucket Dr                                                       Unliquidated
          Richmond Hill, ON, L4E 3V8, Canada                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6855
                                                                             Unit Type: 1BD; Unit: 919 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          John Cindea                                                           Contingent
          6314 Ewe Dr                                                           Unliquidated
          Clinton, OH 44216                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6856
                                                                             Unit Type: 1 BD; Unit: 901 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Barbara Clark                                                         Contingent
          290 Clubfoot Creek Rd                                                 Unliquidated
          Havelock, NC 28532                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6857
                                                                             Unit Type: STU; Unit: 907 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Donna Clark                                                           Contingent
          7204 Cloverfield Ct                                                   Unliquidated
          Wilmington, NC 28411                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6858
                                                                             Unit Type: STU; Unit 1114 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Joyce Clark                                                           Contingent
          3830 Pineleaf Cir                                                     Unliquidated
          Midland, NC 28107                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6859
                                                                             Unit Type: 1 BD; Unit: 917 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Leonard Clark                                                         Contingent
          1008 Double Bridges Drive                                             Unliquidated
          Fancy Gap, VA 24328                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6860
                                                                             Unit Type: 1BD; Unit 1116 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Winston Clarke                                                        Contingent
          PSC 557 Box 386                                                       Unliquidated
          FPO, AP 96379-0004                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6861
                                                                             Unit Type: STU; Unit: 910 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          William Clay                                                          Contingent
          4201 Broad Run Church Rd                                              Unliquidated
          New Baltimore, VA 20187                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6863
                                                                             Unit Type: 1 BD; Unit 1101 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Nelson Clayton                                                        Contingent
          167 Flossie Ln                                                        Unliquidated
          Lexington, NC 27295                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6864
                                                                             Unit Type: STU; Unit: 904 (Biennial Points)
                                                                             Is the claim subject to offset?     No       Yes




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 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          James Clontz                                                          Contingent
          3003 Camden Road                                                      Unliquidated
          Marshville, NC 28103                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6866
                                                                             Unit Type: S1BD; Unit: 917 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Club Resorts                                                          Contingent
          1093 State Highway 176                                                Unliquidated
          Walnut Shade, MO 65771                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       1224
                                                                             Unit Type: STU; Unit 908 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Michael Coats                                                         Contingent
          100 Navigator Ln                                                      Unliquidated
          Laurens, SC 29360                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6867
                                                                             Unit Type: STU; Unit: 1114 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Adelbert Cobbin                                                       Contingent
          244 Lincoln St                                                        Unliquidated
          Ravenna, OH 44266                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6868
                                                                             Unit Type: STU; Unit: 902 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Robert Coffey                                                         Contingent
          9602 Norwick Ln                                                       Unliquidated
          Fredericksburg, VA 22408                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6869
                                                                             Unit Type: 1 BD; Unit: 901 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Dara Cohen                                                            Contingent
          3621 Kelly Way                                                        Unliquidated
          Louisville, KY 40220                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6870
                                                                             Unit Type: STU; Unit 902 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Timothy Colby                                                         Contingent
          7613 Whirlaway Dr                                                     Unliquidated
          Midlothian, VA 23112                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       0169
                                                                             Unit Type: STU; Unit 909 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Shawn Cole                                                            Contingent
          2 Harvard Drive                                                       Unliquidated
          Greenville, SC 29605                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6872
                                                                             Unit Type: STU; Unit: 908 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          David Collins, Jr.                                                    Contingent
          129 Quincy Dr                                                         Unliquidated
          Landrum, SC 29356                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6874
                                                                             Unit Type: 1BD; Unit: 1116 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Charles Compton, Jr.                                                  Contingent
          6501 Wilton Rd                                                        Unliquidated
          Chesterfield, VA 23832                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6876
                                                                             Unit Type: 1 BD; Unit 1115 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Joshua Conerly                                                        Contingent
          1600 Manchester Dr SW                                                 Unliquidated
          Conyers, GA 30094                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6877
                                                                             Unit Type: STU; Unit: 904 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Kenneth Conley                                                        Contingent
          612 China Grove Hwy                                                   Unliquidated
          Rockwell, NC 28138                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6878
                                                                             Unit Type: 1 BD; Unit: 918 (Biannual Float)
                                                                             Unit Type: 1 BD; Unit: 917 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Joann Cook                                                            Contingent
          PO Box 422                                                            Unliquidated
          Kershaw, SC 29067                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6880
                                                                             Unit Type: STU; Unit: 1103 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Samantha Cooley                                                       Contingent
          1055 Old Plantation Rd                                                Unliquidated
          Walnut Cove, NC 27052                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       0485
                                                                             Unit Type: STU; Unit 906 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Estate of Sandra Coombes                                              Contingent
          c/o Carl Ryan                                                         Unliquidated
          282 Roach Ave                                                         Disputed
          Welland, Ontario L3C2W4
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number       6881                         Unit Type: STU; Unit: 904 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Alvin Cooper                                                          Contingent
          426 Glacier Place                                                     Unliquidated
          Winterville, NC 28590                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6882
                                                                             Unit Type: 1-BD; Unit: 916 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Frances Cooper                                                        Contingent
          3407 Blanch Rd                                                        Unliquidated
          Blanch, NC 27212                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6883
                                                                             Unit Type: 1 BD; Unit 1101 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Sandra Cooper                                                         Contingent
          552 Home Ave NW                                                       Unliquidated
          Concord, NC 28025                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6884
                                                                             Unit Type: STU; Unit: 904 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          James Corbin                                                          Contingent
          1480 WO Ezell Blvd., Apt L95                                          Unliquidated
          Spartanburg, SC 29301                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6885
                                                                             Unit Type: STU; Unit: 907 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          John Cortina                                                          Contingent
          2 Bajala Dr E                                                         Unliquidated
          Beaufort, SC 29907                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6886
                                                                             Unit Type: STU; Unit: 1103 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          David Cox                                                             Contingent
          12166 Rain Hollow Ct                                                  Unliquidated
          Maryland Heights, MO 63043                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6888
                                                                             Unit Type: STU; Unit 905 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Stephen Coyle                                                         Contingent
          12003 Prairie Meadow Dr                                               Unliquidated
          Orlando, FL 32837                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       0486
                                                                             Unit Type: STU; Unit 906 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Robert Craig, Jr.                                                     Contingent
          7012 Idlewood Rd                                                      Unliquidated
          Charlotte, NC 28212                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6891
                                                                             Unit Type: STU; Unit 903 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Robert Craig                                                          Contingent
          7303 Rourke Cv                                                        Unliquidated
          Memphis, TN 38125                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6890
                                                                             Unit Type: 1 BD; Unit 916 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Scott Crane                                                           Contingent
          1620 Wagon Wheel Dr                                                   Unliquidated
          Blackfoot, ID 83221                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6892
                                                                             Unit Type: STU; Unit 1110 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Johnny Crawford                                                       Contingent
          9203 Wilkinson Blvd.                                                  Unliquidated
          Charlotte, NC 28214                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6893
                                                                             Unit Type: 1 BD; Unit 901 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Ronnie Crimes, Sr.                                                    Contingent
          PO Box 208                                                            Unliquidated
          Preston, GA 31824                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6894
                                                                             Unit Type: 1 BD; Unit: 916 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Judith Cripe                                                          Contingent
          3104 N Broadway St APT A3                                             Unliquidated
          Knoxville, TN 37917                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6895
                                                                             Unit Type: STU; Unit: 1103 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $28,018.98
          CRM of the Carolinas, LLC                                             Contingent
          3660 Old Kings Hwy                                                    Unliquidated
          Murrells Inlet, SC 29576                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Maintenance Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Christopher Crousser                                                  Contingent
          15913 State Route 550                                                 Unliquidated
          Fleming, OH 45729                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6896
                                                                             Unit Type: 1 BD; Unit: 916 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Tomesha Crowder                                                       Contingent
          2704 Walkup Ave                                                       Unliquidated
          Monroe, NC 28110                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6898
                                                                             Unit Type: STU; Unit: 903 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Robert Crum                                                           Contingent
          5785 Tyro St NE                                                       Unliquidated
          Canton, OH 44721                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6899
                                                                             Unit Type: STU; Unit: 902 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Jennifer Dagenhart                                                    Contingent
          7821 Pebbleridge Dr                                                   Unliquidated
          Charlotte, NC 28212                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7470
                                                                             Unit Type: 1BD; Unit: 921 (Annual Float)
                                                                             Unit Type: 1BD; Unit: 920 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Grover Damron                                                         Contingent
          1932 Pineview Rd                                                      Unliquidated
          Randleman, NC 27317                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6902
                                                                             Unit Type: 1 BD; Unit 1101 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          James Danford, Jr.                                                    Contingent
          3931 Spring Garden Ln                                                 Unliquidated
          Estero, FL 33928                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6903
                                                                             Unit Type: STU; Unit: 902 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Karen Daniel                                                          Contingent
          308 Fuller Dr #21                                                     Unliquidated
          Easley, SC 29640                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6904
                                                                             Unit Type: STU; Unit: 902 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Christopher Daniels                                                   Contingent
          10 Glen Oak Rd                                                        Unliquidated
          Fredericksburg, VA 22405                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6905
                                                                             Unit Type: 1 BD; Unit: 915 (Annual Float)
                                                                             Unit Type: STU; Unit: 914 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Floyd Daniels                                                         Contingent
          1401 S. Slocumb Street                                                Unliquidated
          Goldsboro, NC 27530                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6906
                                                                             Unit Type: 1BD; Unit 1116 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Djani Darmanovic                                                      Contingent
          9406 Deer Spring Lane                                                 Unliquidated
          Charlotte, NC 28210                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6907
                                                                             Unit Type: 1 BD; Unit: 917 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Patrick Daugherty                                                     Contingent
          431 Fairway Dr                                                        Unliquidated
          Abingdon, VA 24266                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6908
                                                                             Unit Type: STU; Unit: 910 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          John Davenport                                                        Contingent
          228 Aurora Blvd                                                       Unliquidated
          Matthews, NC 28105                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6909
                                                                             Unit Type: 1 BD; Unit 1101 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Almond Davis                                                          Contingent
          292 Trevor Drive                                                      Unliquidated
          Walterboro, SC 29488                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6910
                                                                             Unit Type: STU; Unit 911 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          George Davis                                                          Contingent
          311 Wythe Rd                                                          Unliquidated
          Egg Harbor Township, NJ 08234                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6913
                                                                             Unit Type: STU; Unit 1105 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Graham Davis, Jr.                                                     Contingent
          1129 Hazelwood Rd                                                     Unliquidated
          Columbia, SC 29209                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6914
                                                                             Unit Type: STU; Unit: 906 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Rudolph Davis                                                         Contingent
          3207 Southgreen Rd                                                    Unliquidated
          Windsor Mill, MD 21244                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6917
                                                                             Unit Type: 1 BD; Unit 920 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Norman Deal                                                           Contingent
          3040 Salem Road                                                       Unliquidated
          Parrottsville, TN 37843-2207                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6920
                                                                             Unit Type: 1BD; Unit 917 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Dorcas Delgado                                                        Contingent
          7348 Van Grayson Loop                                                 Unliquidated
          Fayetteville, NC 28314                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6922
                                                                             Unit Type: STU; Unit: 910 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Belinda Deline                                                        Contingent
          113 Parsons Mill Lane                                                 Unliquidated
          Columbia, SC 29229                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6923
                                                                             Unit Type: STU; Unit 907 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Matthew Dell'Orso                                                     Contingent
          1907 Belleville Drive, NE                                             Unliquidated
          Leesburg, VA 20176                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6924
                                                                             Unit Type: 1 BD; Unit: 918 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Rex Delph                                                             Contingent
          6514 Tazewell Pike                                                    Unliquidated
          Knoxville, TN 37918                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6925
                                                                             Unit Type: STU; Unit 909 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Robert Demarest, Jr.                                                  Contingent
          8028 Long Drive Dr.                                                   Unliquidated
          Port Saint Lucie, FL 34952                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6926
                                                                             Unit Type: 1 BD; Unit 901 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Etta DeRizzio                                                         Contingent
          335 S 10th Avenue                                                     Unliquidated
          Mount Vernon, NY 10550                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6927
                                                                             Unit Type: 1BD; Unit 921 (Annual Float)
                                                                             Unit Type: 1BD; Unit 920 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Norris Detter                                                         Contingent
          4761 Sand Clay Rd                                                     Unliquidated
          Hickory, NC 28602                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6928
                                                                             Unit Type: 1 BD; Unit 921 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Jana Dew                                                              Contingent
          127 Woodland Dr                                                       Unliquidated
          Chester, SC 29706                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6929
                                                                             Unit Type: STU; Unit: 904 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Willie Dexter                                                         Contingent
          2823 Ridgeview Dr                                                     Unliquidated
          Augusta, GA 30909                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6930
                                                                             Unit Type: STU; Unit: 902 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Victor Diaz, III                                                      Contingent
          7534 Dr. Hector P Garcia Dr                                           Unliquidated
          Corpus Christi, TX 78414                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6931
                                                                             Unit Type: STU; Unit: 1114 (Biennial Points)
                                                                             Is the claim subject to offset?     No       Yes

 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Barbie Dillard                                                        Contingent
          153 Arrow Point Rd                                                    Unliquidated
          Jackson, GA 30233                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6932
                                                                             Unit Type: STU; Unit: 911 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Melvin Dixon                                                          Contingent
          165 Boyd St                                                           Unliquidated
          Winterville, NC 28590                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6933
                                                                             Unit Type: STU; Unit 902 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Ronald Dobbins                                                        Contingent
          PO Box 1071                                                           Unliquidated
          Pocono Pines, PA 18350                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6934
                                                                             Unit Type: STU; Unit 903 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Sokpheak Doeung                                                       Contingent
          4608 Bolen Huse Road                                                  Unliquidated
          Memphis, TN 38128                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6935
                                                                             Unit Type: 1BD; Unit: 916 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Dennis Donnelly                                                       Contingent
          633 Garfield St                                                       Unliquidated
          Heidelberg, PA 15106                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6937
                                                                             Unit Type: 1 BD; Unit: 921 (Annual Float)
                                                                             Unit Type: 1 BD; Unit: 921 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Jocelyn Doyon                                                         Contingent
          901 Des Merises                                                       Unliquidated
          Levis, QC                                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6940
                                                                             Unit Type: 1 BD; Unit 916 (Annual Points)
                                                                             Is the claim subject to offset?     No       Yes

 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Gloria Draughon                                                       Contingent
          1105 Athens Dr                                                        Unliquidated
          Raleigh, NC 27606                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6941
                                                                             Unit Type: STU; Unit 903 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Donna Drennen                                                         Contingent
          104 Poplin Place                                                      Unliquidated
          Clover, SC 29710                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6942
                                                                             Unit Type: STU; Unit: 1103 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          George Dry, IV                                                        Contingent
          20829 Ridgecrest Rd                                                   Unliquidated
          Locust, NC 28097                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6944
                                                                             Unit Type: 1 BD; Unit: 901 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Kristin Duncan                                                        Contingent
          c/o US Consumer Attorneys-Henry Portner                               Unliquidated
          1300 N Johnson Ave, Ste 107                                           Disputed
          El Cajon, CA 92020
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number       6946                         Unit Type: 1 BD; Unit 1120 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Russell Duncan                                                        Contingent
          294 Greenlee Rd                                                       Unliquidated
          Marion, NC 28752                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6947
                                                                             Unit Type: 1 BD; Unit 921 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Steven Durham                                                         Contingent
          1123 Blue Stem Dr                                                     Unliquidated
          Unit 30A                                                              Disputed
          Pawleys Island, SC 29585
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number       6949                         Unit Type: STU; Unit: 912 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Harriet Durrwachter                                                   Contingent
          16839 Petmar Cir                                                      Unliquidated
          Hagerstown, MD 21742                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6950
                                                                             Unit Type: 1 BD; Unit: 917 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Terry Durst                                                           Contingent
          4190 E Palm Cyn Drive                                                 Unliquidated
          Palm Springs, CA 92264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       0577
                                                                             Unit Type: 1 BD; Unit 915 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          E. Dusin                                                              Contingent
          3 Corey Pl                                                            Unliquidated
          Manhattan, KS 66502                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6951
                                                                             Unit Type: 1 BD; Unit 919 (Annual Float)
                                                                             Unit Type: 1 BD; Unit 918 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Laura Dyal                                                            Contingent
          1060 Saluda River Rd                                                  Unliquidated
          Silverstreet, SC 29145                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6952
                                                                             Unit Type: STU; Unit: 906 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Ann Dyjak                                                             Contingent
          77 Steven Pl                                                          Unliquidated
          Smithtown, NY 11787                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6953
                                                                             Unit Type: 1 BD; Unit: 918 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Gregory Dykes                                                         Contingent
          6310 High Dr                                                          Unliquidated
          Knoxville, TN 37921                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6954
                                                                             Unit Type: STU; Unit: 1114 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Herman Eagle                                                          Contingent
          213W W 21st Street                                                    Unliquidated
          Kannapolis, NC 28081                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6955
                                                                             Unit Type: STU; Unit: 909 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          John Earnshaw                                                         Contingent
          255 Taipei Island Ln                                                  Unliquidated
          Leesburg, FL 34788                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7662
                                                                             Unit Type: STU; Unit: 908 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Kimberly Eaton                                                        Contingent
          c/o Mitchell Reed Sussman                                             Unliquidated
          1053 S. Palm Canyon Dr                                                Disputed
          Palm Springs, CA 92264
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number       6956                         Unit Type: 1 BD; Unit: 918 (Annual Float)
                                                                             Unit Type: 1 BD; Unit: 919 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Crystal Eddy                                                          Contingent
          PO Box 8264                                                           Unliquidated
          Springfield, MO 65801                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       5014
                                                                             Unit Type: STU; Unit 906 (Biannual Float)
                                                                             Unit Type: STU; Unit 909 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Ojoma Edeh Herr                                                       Contingent
          6 Leaman Rd                                                           Unliquidated
          Lancaster, PA 17603                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7100
                                                                             Unit Type: STU; Unit: 1114 (Annual Float)
                                                                             Unit Type: 1 BD; Unit: 1115 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Michael Edmunds                                                       Contingent
          1915 Parlow Drive                                                     Unliquidated
          Richmond, VA 23222                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6958
                                                                             Unit Type: STU; Unit 1106 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Christopher Edwards                                                   Contingent
          PO Box 207                                                            Unliquidated
          CMR 411, Box 5891                                                     Disputed
          APO, AE 09112
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number       6959                         Unit Type: STU; Unit: 1114 (Annual Float)
                                                                             Unit Type: 1 BD; Unit: 1115 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.205    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Richard Edwards                                                       Contingent
          138 Bransetter Rd                                                     Unliquidated
          Cave City, KY 42127                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6960
                                                                             Unit Type: STU; Unit: 903 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.206    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Sheila Edwards                                                        Contingent
          1695 Silver Meadow Cir                                                Unliquidated
          Colorado Springs, CO 80951                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6961
                                                                             Unit Type: STU; Unit: 911 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.207    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Suzanne Ellers                                                        Contingent
          56 Crawford Manor Dr                                                  Unliquidated
          Toccoa, GA 30577                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6963
                                                                             Unit Type: 1 BD; Unit: 916 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.208    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Roy Ellison                                                           Contingent
          80 Vermont Ave                                                        Unliquidated
          Newark, NJ 07106                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6964
                                                                             Unit Type: STU; Unit: 905 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.209    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Kenneth Elmore                                                        Contingent
          2615 Trufield Dr                                                      Unliquidated
          Sumter, SC 29153                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6965
                                                                             Unit Type: 1 BD; Unit 918 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.210    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Daniel Elyard                                                         Contingent
          11788 Melrose Ave                                                     Unliquidated
          Greencastle, PA 17225                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6966
                                                                             Unit Type: 1 BD; Unit 901 (Annual Points)
                                                                             Is the claim subject to offset?     No       Yes

 3.211    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Ryan England                                                          Contingent
          801 Avenue F                                                          Unliquidated
          El Campo, TX 77437                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6967
                                                                             Unit Type: STU; Unit: 902 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.212    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Charles Evans                                                         Contingent
          20 Gerru Ct                                                           Unliquidated
          Taylors, SC 29687                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6973
                                                                             Unit Type: STU; Unit: 904 (Biennial Points)
                                                                             Is the claim subject to offset?     No       Yes

 3.213    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Nikkie Evans                                                          Contingent
          1640 Dinwiddie Ct                                                     Unliquidated
          Petersburg, VA 23803                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6975
                                                                             Unit Type: 1 BD; Unit: 901 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.214    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Rich Evans                                                            Contingent
          PO Box 95                                                             Unliquidated
          Grayson, KY 41143                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6976
                                                                             Unit Type: STU; Unit: 1103 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.215    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Erica Everette                                                        Contingent
          124 Polly Cir                                                         Unliquidated
          Angier, NC 27501                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6977
                                                                             Unit Type: 1 BD; Unit: 921 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.216    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Michael Evola                                                         Contingent
          3101 Blackburn Dr                                                     Unliquidated
          Waxhaw, NC 28173                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6978
                                                                             Unit Type: 1 BD; Unit: 915 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.217    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Clair Fairbrother                                                     Contingent
          10650 Davis Hollow Rd                                                 Unliquidated
          Cohocton, NY 14826                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6980
                                                                             Unit Type: 1BD; Unit: 918 (Biannual Float)
                                                                             Unit Type: STU; Unit: 909 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.218    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Angel Fairley                                                         Contingent
          622 Saratoga Drive                                                    Unliquidated
          Alpharetta, GA 30096                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6981
                                                                             Unit Type: STU; Unit: 911 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.219    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Sanders Fairley                                                       Contingent
          333 W Rockingham Rd                                                   Unliquidated
          Maxton, NC 28364                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6982
                                                                             Unit Type: STU; Unit: 903 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.220    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Frank Faith                                                           Contingent
          6072 E 1550 N                                                         Unliquidated
          Elnora, IN 47529                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6983
                                                                             Unit Type: STU; Unit: 907 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.221    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          James Farris                                                          Contingent
          5794 Highway 9                                                        Unliquidated
          Nichols, SC 29581                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6984
                                                                             Unit Type: 1 BD; Unit: 918 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.222    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Nehemiah Fedd                                                         Contingent
          1919 W Highland Ave                                                   Unliquidated
          Albany, GA 31707                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6985
                                                                             Unit Type: 1 BD; Unit 1118 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.223    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Yushanda Felder                                                       Contingent
          917 Presidential Drive                                                Unliquidated
          Orangeburg, SC 29115                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6986
                                                                             Unit Type: 1-BD; Unit: 917 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.224    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Delphine Ferguson                                                     Contingent
          111 N 3rd Avenue                                                      Unliquidated
          Apt 4P                                                                Disputed
          Mount Vernon, NY 10550
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number       6988                         Unit Type: STU; Unit: 910 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.225    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Daniel Fett                                                           Contingent
          714 Lovechio Dr                                                       Unliquidated
          Mishawaka, IN 46544                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6989
                                                                             Unit Type: STU; Unit 1114 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.226    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Jason Fields                                                          Contingent
          11336 McCauliff Ct                                                    Unliquidated
          Richmond, VA 23236                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7567
                                                                             Unit Type: STU; Unit: 907 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.227    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Lisa Fields                                                           Contingent
          PO Box 24                                                             Unliquidated
          Norton, VA 24273                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6990
                                                                             Unit Type: STU; Unit: 905 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.228    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Billy Fife, Jr.                                                       Contingent
          109 Hollingsworth Dr                                                  Unliquidated
          Grovetown, GA 30813                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6991
                                                                             Unit Type: STU; Unit 909 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.229    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Paul Finch                                                            Contingent
          181 Paoli Rd                                                          Unliquidated
          Carlton, GA 30627                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6993
                                                                             Unit Type: STU; Unit: 908 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.230    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Randy Findley                                                         Contingent
          5841 Redhawk Dr                                                       Unliquidated
          New Port Richey, FL 34655                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6994
                                                                             Unit Type: STU; Unit 902 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.231    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Erica Fisher                                                          Contingent
          308 Wrayhill Dr                                                       Unliquidated
          Charlotte, NC 28262                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7383
                                                                             Unit Type: STU; Unit 1103 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.232    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Calvin Fleming                                                        Contingent
          PO Box 1039                                                           Unliquidated
          Matthews, NC 28104                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6995
                                                                             Unit Type: STU; Unit: 908 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.233    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Raymond Fletcher                                                      Contingent
          407 Fletcher Rd                                                       Unliquidated
          Boiling Springs, SC 29316                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6996
                                                                             Unit Type: STU; Unit 1103 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.234    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Joe Flowers                                                           Contingent
          5420 Danby Ave                                                        Unliquidated
          Oxon Hill, MD 20745                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6997
                                                                             Unit Type: 1 BD; Unit: 918 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.235    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          David Foltz                                                           Contingent
          PO Box 513                                                            Unliquidated
          Stanley, VA 22851                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6998
                                                                             Unit Type: STU; Unit: 906 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.236    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Joshua Ford                                                           Contingent
          234 Weslo Dr                                                          Unliquidated
          Kernersville, NC 27284                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6999
                                                                             Unit Type: STU; Unit: 1103 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.237    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Monte Forte                                                           Contingent
          PO Box 574                                                            Unliquidated
          Roseboro, NC 28382                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7000
                                                                             Unit Type: STU; Unit: 905 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.238    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Je'Renia Foster                                                       Contingent
          2015 Great Bend Dr                                                    Unliquidated
          Durham, NC 27704                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7002
                                                                             Unit Type: STU; Unit: 906 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.239    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Felicia Foulks                                                        Contingent
          142 Pacific Blvd                                                      Unliquidated
          Monessen, PA 15062                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7003
                                                                             Unit Type: 1 BD; Unit: 901 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.240    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Aaron Fowler                                                          Contingent
          4421 US Highway 64 W                                                  Unliquidated
          Mocksville, NC 27028                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7556
                                                                             Unit Type: STU; Unit: 909 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.241    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Nelson Fowler                                                         Contingent
          1800 Roundhill Rd                                                     Unliquidated
          Apt 1601                                                              Disputed
          Charleston, WV 25314
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number       7004                         Unit Type: 1 BD; Unit: 921 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.242    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Melvin Fox                                                            Contingent
          5213 Patrick Ln                                                       Unliquidated
          Wilson, NC 27893                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7005
                                                                             Unit Type: 1 BD; Unit 920 (Annual Float)
                                                                             Unit Type: 1 BD; Unit 921 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.243    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Patrick Froncek                                                       Contingent
          P.O. Box 178                                                          Unliquidated
          North Apollo, PA 15673                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7008
                                                                             Unit Type: 1 BD; Unit: 918 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.244    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Christen Frye                                                         Contingent
          8170 Two Mile Rd                                                      Unliquidated
          Lynchburg, SC 29080                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7009
                                                                             Unit Type: STU; Unit 903 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.245    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Jessica Fuller                                                        Contingent
          326 Dalton Gang Aly                                                   Unliquidated
          Townville, SC 29689                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7010
                                                                             Unit Type: STU; Unit: 905 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.246    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Ted Furr, Jr.                                                         Contingent
          2426 Old Camden Monroe Hwy                                            Unliquidated
          Lancaster, SC 29720                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7012
                                                                             Unit Type: 1 BD; Unit: 920 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.247    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Evelyn Gaddy                                                          Contingent
          3249 Maple Grove Church Rd                                            Unliquidated
          Resaca, GA 30735                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7013
                                                                             Unit Type: 1 BD; Unit 901 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.248    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Amy Gage                                                              Contingent
          309 Valley Road                                                       Unliquidated
          East Bend, NC 27018                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7014
                                                                             Unit Type: STU; Unit: 906 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.249    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Stanley Gales                                                         Contingent
          5201 Peppercorn St                                                    Unliquidated
          Durham, NC 27704                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7017
                                                                             Unit Type: 1BD; Unit: 901 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.250    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Susan Ganson                                                          Contingent
          4330 Witherow Rd                                                      Unliquidated
          Winston Salem, NC 27106                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7018
                                                                             Unit Type: 1BD; Unit: 1118 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.251    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Donna Ganza                                                           Contingent
          1944 Fargo                                                            Unliquidated
          Des Plaines, IL 60018                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7019
                                                                             Unit Type: 1 BD; Unit 1115 (Biannual Float)
                                                                             Unit Type: STU; Unit 1114 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.252    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Allen Garner                                                          Contingent
          1626 White Rd                                                         Unliquidated
          Wilmington, NC 28405                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7020
                                                                             Unit Type: STU; Unit: 902 (Biennial Points)
                                                                             Is the claim subject to offset?     No       Yes

 3.253    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Christy Garrett                                                       Contingent
          7757 Morgan Creek Rd SE                                               Unliquidated
          Leland, NC 28451                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7021
                                                                             Unit Type: STU; Unit: 906 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.254    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          James Gaulding                                                        Contingent
          59 Club House Rd                                                      Unliquidated
          Enigma, GA 31749                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7022
                                                                             Unit Type: STU; Unit: 906 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.255    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Ted Gean                                                              Contingent
          11903 Broadmoor Ln                                                    Unliquidated
          Upper Marlboro, MD 20772                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7023
                                                                             Unit Type: STU; Unit 903 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.256    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Jerry Gee, III                                                        Contingent
          802 Highway 212                                                       Unliquidated
          Covington, GA 30016                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7024
                                                                             Unit Type: 1 BD; Unit 1116 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.257    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Sherry Williams Gee                                                   Contingent
          163 Highgrove Court                                                   Unliquidated
          Raeford, NC 28376                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7025
                                                                             Unit Type: STU; Unit 903 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.258    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Charles George                                                        Contingent
          5727 Jubilant Dr                                                      Unliquidated
          Rex, GA 30273                                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7026
                                                                             Unit Type: STU; Unit: 911 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.259    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Tina Gerbino                                                          Contingent
          821 Erie St                                                           Unliquidated
          Ronkonkoma, NY 11779                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7027
                                                                             Unit Type: 1 BD; Unit: 1115 (Annual Float)
                                                                             Unit Type: STU; Unit: 1114 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.260    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Bonnie Goard                                                          Contingent
          154 Via Mountain Ln                                                   Unliquidated
          Patrick Springs, VA 24133                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7032
                                                                             Unit Type: STU; Unit 1110 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.261    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Carlisle Goforth, Jr.                                                 Contingent
          231 Smithfield Cir                                                    Unliquidated
          Elgin, SC 29045                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7034
                                                                             Unit Type: 1 BD; Unit 921 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.262    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Richard Goodwin                                                       Contingent
          236 Paynetown Rd                                                      Unliquidated
          Mount Airy, NC 27030                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7037
                                                                             Unit Type: STU; Unit 1107 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.263    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Christopher Gordon                                                    Contingent
          10317 Mahonia St, Unit 102                                            Unliquidated
          Charlotte, NC 28277                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7038
                                                                             Unit Type: STU; Unit: 903 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.264    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Benny Graham                                                          Contingent
          352 Woodland Meadows Dr                                               Unliquidated
          Mills River, NC 28759                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7039
                                                                             Unit Type: STU; Unit: 914 (Annual Float)
                                                                             Unit Type: 1BD; Unit 915 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.265    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Josy Graham                                                           Contingent
          c/o US Consumer Attorneys-Henry Portner                               Unliquidated
          1300 N. Johnson Ave, Ste 107                                          Disputed
          El Cajon, CA 92020
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number       7040                         Unit Type: 1 BD; Unit 1115 (Annual Float)
                                                                             Unit Type: STU; Unit 1114 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.266    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          John Graves                                                           Contingent
          2345 E 900 N                                                          Unliquidated
          Decatur, IN 46733                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7041
                                                                             Unit Type: STU; Unit: 902 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.267    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Jacqueline Green                                                      Contingent
          PO Box 1061                                                           Unliquidated
          Holly Springs, NC 27519                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7043
                                                                             Unit Type: STU; Unit 905 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.268    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Derrick Greene                                                        Contingent
          3849 Wolverton Circle                                                 Unliquidated
          Lithonia, GA 30038                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7044
                                                                             Unit Type: STU; Unit 907 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.269    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Joseph Gregory                                                        Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number       7046                         Basis for the claim:    NOTICE PURPOSES ONLY

                                                                             Unit Type: 1 BD; Unit: 1101 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.270    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Monique Gregory                                                       Contingent
          PO Box 1403                                                           Unliquidated
          Saint Stephen, SC 29479                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7047
                                                                             Unit Type: 1 BD; Unit: 901 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.271    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Stanley Griffin                                                       Contingent
          1192 Slate Rd                                                         Unliquidated
          King, NC 27021                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7049
                                                                             Unit Type: 1 BD; Unit: 919 (Annual Float)
                                                                             Unit Type: STU; Unit: 905 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.272    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Susan Griffin                                                         Contingent
          4497 Highway 382 W                                                    Unliquidated
          Ellijay, GA 30540                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7050
                                                                             Unit Type: STU; Unit: 910 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.273    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          William Griffith                                                      Contingent
          2221 Mendota Rd                                                       Unliquidated
          Hiltons, VA 24258                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7051
                                                                             Unit Type: 1 BD; Unit: 1121 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.274    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          John Groce, Jr.                                                       Contingent
          43 Eden Glen Rd                                                       Unliquidated
          Black Mountain, NC 28711                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7052
                                                                             Unit Type: STU; Unit 902 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.275    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Terry Grove                                                           Contingent
          c/o Mitchell Ree Sussman & Associates                                 Unliquidated
          1053 S. Palm Canyon Drive                                             Disputed
          Palm Springs, CA 92264
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number       7053                         Unit Type: 1BD; Unit 1115 (Biannual Float)
                                                                             Unit Type: STU; Unit 1114 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.276    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          John Guadalupe                                                        Contingent
          16411 N 170th Ln                                                      Unliquidated
          Surprise, AZ 85388                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7054
                                                                             Unit Type: STU; Unit: 902 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.277    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Leonard Gunn, Jr.                                                     Contingent
          929 S Woodstone Ln                                                    Unliquidated
          Nashville, TN 37211                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7055
                                                                             Unit Type: 1 BD; Unit: 919 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.278    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Nick Gurick                                                           Contingent
          7207 Flower Tuft Ct                                                   Unliquidated
          Springfield, VA 22153                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7057
                                                                             Unit Type: STU; Unit: 904 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.279    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Melissa Latoria Hairston                                              Contingent
          226 Parkland Dr                                                       Unliquidated
          Danville, VA 24540                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7059
                                                                             Unit Type: 1 BD; Unit 901 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.280    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Timothy Hairston                                                      Contingent
          145 Vernon Ln                                                         Unliquidated
          Axton, VA 24054                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7060
                                                                             Unit Type: STU; Unit 910 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.281    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Gary Hall                                                             Contingent
          RR 1 Box 150-5                                                        Unliquidated
          Bluefield, WV 24701                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7061
                                                                             Unit Type: 1 BD; Unit: 919 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.282    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Wanda Hall                                                            Contingent
          PO Box 824                                                            Unliquidated
          339 Country Haven Dr                                                  Disputed
          Ridgeway, VA 24148
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number       7063                         Unit Type: STU; Unit: 907 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.283    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Kevin Hammond                                                         Contingent
          18703 McLin Rd                                                        Unliquidated
          Livingston, LA 70754                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7065
                                                                             Unit Type: STU; Unit: 904 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.284    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Marion Hammond                                                        Contingent
          c/o Neally Law                                                        Unliquidated
          122 Park Central Square                                               Disputed
          Springfield, MO 65806
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number       7066                         Unit Type: STU; Unit 1103 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.285    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          David Hanner                                                          Contingent
          760 Salem Rd                                                          Unliquidated
          Scranton, SC 29591                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7067
                                                                             Unit Type: 1 BD; Unit: 917 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.286    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Earl Hanvey, Jr.                                                      Contingent
          2200 Stuart Avenue                                                    Unliquidated
          Suffolk, VA 23434                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7068
                                                                             Unit Type: STU; Unit: 1103 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.287    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Jerome Hardy                                                          Contingent
          1601 4th St NE Apt. 31                                                Unliquidated
          Hickory, NC 28601                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7070
                                                                             Unit Type: 1 BD; Unit: 901 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.288    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Lisa Hargraves                                                        Contingent
          7681 N. Main St                                                       Unliquidated
          PO Box 156                                                            Disputed
          Kanona, NY 14856
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number       7071                         Unit Type: STU; Unit: 902 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.289    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          John Harkness                                                         Contingent
          12216 Saint Andrew's Way                                              Unliquidated
          Fenton, MI 48430                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7072
                                                                             Unit Type: 1 BD: Unit: 1116 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.290    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Grady Harmon                                                          Contingent
          5007 Shaun Cir                                                        Unliquidated
          Huntsville, AL 35811                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7073
                                                                             Unit Type: STU; Unit 909 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.291    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Daniel Harris                                                         Contingent
          100 Carnation Dr                                                      Unliquidated
          Andrews, SC 29510                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7074
                                                                             Unit Type: STU; Unit 904 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.292    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Ernest Harris                                                         Contingent
          110 Concord Dr Apt 10                                                 Unliquidated
          Greenville, NC 27834                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7075
                                                                             Unit Type: STU; Unit 912 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.293    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Lateasha Harris                                                       Contingent
          PO Box 3572                                                           Unliquidated
          Sumter, SC 29151                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7076
                                                                             Unit Type: STU; Unit: 905 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.294    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Stephen Harvilla                                                      Contingent
          1611 Antler Ave                                                       Unliquidated
          Owensboro, KY 42303                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7079
                                                                             Unit Type: STU; Unit: 1114 (Biennial Points)
                                                                             Is the claim subject to offset?     No       Yes

 3.295    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Charles Hatcher, Sr.                                                  Contingent
          72 Hilendale Street                                                   Unliquidated
          Rochester, NY 14619                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7080
                                                                             Unit Type: 1BD; Unit 1115 (Biannual Float)
                                                                             Unit Type: STU; Unit 1114 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.296    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Larry Hatley                                                          Contingent
          22461 Oakwood Rd                                                      Unliquidated
          Albemarle, NC 28001                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7081
                                                                             Unit Type: 1BD; Unit: 1115 (Biannual Float)
                                                                             Unit Type: STU; Unit 1114 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.297    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Frank Hawkins                                                         Contingent
          248 Walcott Drive                                                     Unliquidated
          Lyman, SC 29365                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7083
                                                                             Unit Type: 1BD; Unit: 1116 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.298    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Elizabeth Hawks                                                       Contingent
          166 Jill Farm Rd                                                      Unliquidated
          Mount Airy, NC 27030                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7084
                                                                             Unit Type: STU; Unit 903 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.299    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Tara Hawthorne                                                        Contingent
          3204 Lawndle Dr Apt K                                                 Unliquidated
          Greensboro, NC 27408                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7085
                                                                             Unit Type: 1 BD; Unit: 919 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.300    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Christine Haynes                                                      Contingent
          118 Harvest Hill Trail                                                Unliquidated
          Lexington, SC 29072                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7086
                                                                             Unit Type: STU; Unit 908 (Biannual Float)
                                                                             Unit Type: 1BD; Unit 920 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.301    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Lance Heasley                                                         Contingent
          516 N Main St                                                         Unliquidated
          New Martinsville, WV 26155                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7088
                                                                             Unit Type: STU; Unit: 914 (Biannual Float)
                                                                             Unit Type: 1 BD; Unit 915 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.302    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Doris Heath                                                           Contingent
          1911 Canal Dr NW                                                      Unliquidated
          Wilson, NC 27896                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7089
                                                                             Unit Type: 1BD; Unit: 1120 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.303    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Neil Heddon                                                           Contingent
          38105 Springwood Ave                                                  Unliquidated
          Prairieville, LA 70769                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7090
                                                                             Unit Type: 1 BD; Unit 917 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.304    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Terry Helms                                                           Contingent
          28025 Harwood Rd                                                      Unliquidated
          New London, NC 28127                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7091
                                                                             Unit Type: STU; Unit 911 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.305    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Pamela Helton                                                         Contingent
          4526 Mineral Spgs Mountain Rd                                         Unliquidated
          Connellys Springs, NC 28612                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7092
                                                                             Unit Type: STU; Unit: 1106 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.306    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Gregory Henderson                                                     Contingent
          3505 Coleman Dr, Apt. 10                                              Unliquidated
          Kinston, NC 28504                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7093
                                                                             Unit Type: STU; Unit: 903 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.307    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Jared Hendrick                                                        Contingent
          159 Meridian Ln                                                       Unliquidated
          Hillsville, VA 24343                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7094
                                                                             Unit Type: 1 BD; Unit: 919 (Annual Float)
                                                                             Unit Type: STU; Unit: 908 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.308    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Charles Henkey                                                        Contingent
          224 Apollo Dr                                                         Unliquidated
          Seneca, SC 29672                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7095
                                                                             Unit Type: 1 BD; Unit: 1116 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.309    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Bertram Henry                                                         Contingent
          14212 Pear Tree Lane                                                  Unliquidated
          Apt 41                                                                Disputed
          Silver Spring, MD 20906
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number       7096                         Unit Type: STU; Unit: 910 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.310    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Richard Henry                                                         Contingent
          6217 Saybrooke Dr                                                     Unliquidated
          Raleigh, NC 27616                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7098
                                                                             Unit Type: STU; Unit: 910 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.311    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Shane Hewitt                                                          Contingent
          61 Pecan Ave                                                          Unliquidated
          Cheraw, SC 29520                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7101
                                                                             Unit Type: 1 BD: Unit 915 (Biannual Float)
                                                                             Unit Type: STU; Unit 914 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.312    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Thomas Hickle                                                         Contingent
          1006 Woodridge Ln                                                     Unliquidated
          Yadkinville, NC 27055                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7102
                                                                             Unit Type: STU; Unit: 905 (Annual Float)
                                                                             Unit Type: 1 BD; Unit: 919 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.313    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Charles High                                                          Contingent
          1201 Amber Pines Dr                                                   Unliquidated
          Leland, NC 28451                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7103
                                                                             Unit Type: 1BD; Unit: 915 (Biannual Float)
                                                                             Unit Type: STU; Unit 914 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.314    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Fallon Hill                                                           Contingent
          10 Brittle Creek Ln                                                   Unliquidated
          Simpsonville, SC 29544                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7104
                                                                             Unit Type: STU; Unit: 904 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.315    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          James Hill                                                            Contingent
          7314 Thorngrove Pike                                                  Unliquidated
          Knoxville, TN 37914                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7105
                                                                             Unit Type: STU; Unit 908 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.316    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Michelle Hillman                                                      Contingent
          1171 Cattail Point                                                    Unliquidated
          Johnson City, TN 37601                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       3142
                                                                             Unit Type: STU; Unit: 904 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.317    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Devonue Hinson                                                        Contingent
          3685 Longtown Rd                                                      Unliquidated
          Ridgeway, SC 29130                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7106
                                                                             Unit Type: STU; Unit: 907 (Biannual Float)
                                                                             Unit Type: ! BD; Unit: 919 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.318    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Kenneth Hobson                                                        Contingent
          2700 Linda Ln                                                         Unliquidated
          East Bend, NC 27018                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7108
                                                                             Unit Type: 1 BD; Unit 1101 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.319    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Anthony Hodges                                                        Contingent
          2000 Wynnton Rd, Apt F47                                              Unliquidated
          Columbus, GA 31906                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7110
                                                                             Unit Type: STU; Unit: 902 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.320    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Christine M. Hodges                                                   Contingent
          512 E Lake Ct                                                         Unliquidated
          Woodstock, GA 30188                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7111
                                                                             Unit Type: STU; Unit: 905 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.321    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Joyce Hoffman                                                         Contingent
          8405 Dunmore Dr, Apt. A                                               Unliquidated
          Huntersville, NC 28025                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7113
                                                                             Unit Type: 1 BD; Unit: 917 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.322    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Cynthia Holder                                                        Contingent
          27 Francis St                                                         Unliquidated
          Westfield, MA 01085                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7114
                                                                             Unit Type: 1 BD; Unit: 916 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.323    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Segee Holley                                                          Contingent
          111 Cockfield St                                                      Unliquidated
          Pamplico, SC 29583                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7221
                                                                             Unit Type: STU; Unit 908 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.324    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Azeem Holman                                                          Contingent
          624 2nd St. Pl. SW                                                    Unliquidated
          Conover, NC 28613                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7116
                                                                             Unit Type: 1 BD; Unit 920 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.325    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Jacquelyne Holman                                                     Contingent
          1000 Belmont Park Dr                                                  Unliquidated
          Union, KY 41091                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7117
                                                                             Unit Type: 1BD; Unit: 1117 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.326    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Melissa Hoots                                                         Contingent
          2180 Waterview Dr                                                     Unliquidated
          Unit 133                                                              Disputed
          North Myrtle Beach, SC 29582-9450
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number       7118                         Unit Type: STU; Unit 1103 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.327    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Eldon Hopkins, III                                                    Contingent
          57 Burr Ave                                                           Unliquidated
          Acushnet, MA 02743                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7120
                                                                             Unit Type: STU; Unit: 903 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.328    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Reginald Hopkins                                                      Contingent
          6651 Terrace Park Ct                                                  Unliquidated
          Raleigh, NC 27616                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7119
                                                                             Unit Type: 1 BD; Unit 1116 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.329    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Tarrin Horne                                                          Contingent
          1665 W Wall St                                                        Unliquidated
          Wadesboro, NC 28170                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7121
                                                                             Unit Type: STU; Unit 907 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.330    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          John Howell                                                           Contingent
          64 High St                                                            Unliquidated
          Portsmouth, OH 45662                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7122
                                                                             Unit Type: 1 BD; Unit: 916 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.331    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Juanita Howell                                                        Contingent
          200 Dog Pond Road                                                     Unliquidated
          Seven Springs, NC 28578                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7123
                                                                             Unit Type: STU; Unit 1104 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.332    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Michael Hudson                                                        Contingent
          796 Tulls Creek Rd                                                    Unliquidated
          Moyock, NC 27958                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7124
                                                                             Unit Type: STU; Unit: 905 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.333    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Sandy Huggins                                                         Contingent
          16084 Lappin St                                                       Unliquidated
          Detroit, MI 48205                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7125
                                                                             Unit Type: STU; Unit 1103 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.334    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Gary Hughes                                                           Contingent
          437 Fairfax Dr                                                        Unliquidated
          Gastonia, NC 28056                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7126
                                                                             Unit Type: STU; Unit 1112 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.335    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Michelle Hughey                                                       Contingent
          535 Old Ironworks Rd                                                  Unliquidated
          Spartanburg, SC 29302                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7128
                                                                             Unit Type: 1BD; Unit: 1118 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.336    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Darrell Hunt                                                          Contingent
          309 Catawba Ave                                                       Unliquidated
          Hickory, NC 28601                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       0856
                                                                             Unit Type: STU; Unit: 903 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.337    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          James Hunter                                                          Contingent
          1260 Woodvale Dr                                                      Unliquidated
          Gallatin, TN 37066                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7129
                                                                             Unit Type: STU; Unit 908 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.338    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Ronald Hunter                                                         Contingent
          6 Jordan Crest Ct                                                     Unliquidated
          Simpsonville, SC 29681                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7130
                                                                             Unit Type: STU; Unit 910 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.339    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Dorothy Hurst                                                         Contingent
          3853 Parwood Rd                                                       Unliquidated
          Blythe, GA 30805                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7131
                                                                             Unit Type: STU; Unit: 906 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.340    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Pearline Hutto                                                        Contingent
          PO Box 172                                                            Unliquidated
          Pageland, SC 29728                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7132
                                                                             Unit Type: 1BD; Unit: 917 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.341    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Janis Ikaunieks                                                       Contingent
          415 N Lexington Pkwy                                                  Unliquidated
          De Forest, WI 53532                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7133
                                                                             Unit Type: STU; Unit: 912 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.342    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Charles Isaac                                                         Contingent
          333 Wexford Dr                                                        Unliquidated
          Hinesville, GA 31313                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7134
                                                                             Unit Type: 1 BD; Unit: 917 (Biannual Float)
                                                                             Unit Type: STU; Unit: 906 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.343    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Sandra Isenhour                                                       Contingent
          98 Mosebrook Drive                                                    Unliquidated
          Gladys, VA 24554                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7135
                                                                             Unit Type: STU; Unit 1114 (Annual Float)
                                                                             Unit Type: 1BD; Unit 1115 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.344    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          James Jacks                                                           Contingent
          354 Chime Bell Church Rd                                              Unliquidated
          Aiken, SC 29803                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7136
                                                                             Unit Type: 1 BD; Unit: 920 (Annual Float)
                                                                             Unit Type: 1 BD; Unit: 921 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.345    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Allen Jackson                                                         Contingent
          185 Jones Pond Rd                                                     Unliquidated
          Polkton, NC 28135                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7137
                                                                             Unit Type: STU; Unit 906 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.346    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Charles Jackson                                                       Contingent
          8000 Robincrest Ct, # C                                               Unliquidated
          Fuquay Varina, NC 27526                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7138
                                                                             Unit Type: STU; Unit: 907 (Annual Points)
                                                                             Is the claim subject to offset?     No       Yes

 3.347    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Jerry Jackson, Jr.                                                    Contingent
          205 Tuscon Dr                                                         Unliquidated
          Sumter, SC 29150                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7140
                                                                             Unit Type: 1 BD; Unit: 917 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.348    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Mary Jackson                                                          Contingent
          c/o Shelby Law P.C.                                                   Unliquidated
          116 N West Street                                                     Disputed
          Lebanon, IN 46052
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number       7139                         Unit Type: STU; Unit: 909 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.349    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Hubert Jacobs                                                         Contingent
          135 Monica Rd                                                         Unliquidated
          Orangeburg, SC 29118                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7141
                                                                             Unit Type: STU; Unit 1105 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.350    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Kismith James                                                         Contingent
          2843 Cobblestone St                                                   Unliquidated
          Florence, SC 29506                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7142
                                                                             Unit Type: STU; Unit 907 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.351    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Kimberly Jarrell                                                      Contingent
          678 Citrus Petal Rd                                                   Unliquidated
          Fuquay Varina, NC 27526                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       8708
                                                                             Unit Type: 1 BD; Unit 919 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.352    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Omar Jenkins                                                          Contingent
          337 Lynn Shores Dr                                                    Unliquidated
          Virginia Beach, VA 23452                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7143
                                                                             Unit Type: 1 BD; Unit: 1101 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.353    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $608.22
          Johnson's Furniture Co.                                               Contingent
          3015 Bashor Road                                                      Unliquidated
          Conway, SC 29526                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Goods Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.354    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Alice Johnson                                                         Contingent
          96 Jerusalem Dr                                                       Unliquidated
          Kingstree, SC 29556                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7146
                                                                             Unit Type: STU; Unit 914 (Annual Float)
                                                                             Unit Type: 1 BD; Unit 915 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.355    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Beth Johnson                                                          Contingent
          406 Crystal Springs Rd                                                Unliquidated
          Graniteville, SC 29829                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7147
                                                                             Unit Type: 1 BD; Unit: 917 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.356    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Cheryl Johnson                                                        Contingent
          7501 Riding Trail Rd                                                  Unliquidated
          Charlotte, NC 28212                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7148
                                                                             Unit Type: 1 BD; Unit: 1115 (Annual Float)
                                                                             Unit Type: STU; Unit: 1114 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.357    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Elvis Johnson                                                         Contingent
          110 Lyndhurst St                                                      Unliquidated
          Spartanburg, SC 29307                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7149
                                                                             Unit Type: STU; Unit: 909 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.358    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          John Johnson                                                          Contingent
          721 Milby Dr                                                          Unliquidated
          Chesapeake, VA 23325                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7150
                                                                             Unit Type: 1 BD; Unit: 916 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.359    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Wanda Johnson                                                         Contingent
          5470 Camp Creek Rd                                                    Unliquidated
          Lancaster, SC 29720                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7151
                                                                             Unit Type: STU; Unit: 902 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.360    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          William Johnson                                                       Contingent
          205 Cloniger Dr                                                       Unliquidated
          Thomasville, NC 27360                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       0488
                                                                             Unit Type: STU; Unit 1108 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.361    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Aaron Jolly                                                           Contingent
          1001 County Home Rd                                                   Unliquidated
          Taylorsville, NC 28681                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7153
                                                                             Unit Type: 1 BD; Unit: 919 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.362    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Gary Jones                                                            Contingent
          PO Box 15483                                                          Unliquidated
          Surfside, SC 29587                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7154
                                                                             Unit Type: 1 BD; Unit: 917 (Annual Float)
                                                                             Unit Type: STU; Unit: 905 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.363    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Melondy Jones                                                         Contingent
          1013 Meadow Oaks Dr                                                   Unliquidated
          Hartsville, SC 29550                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7158
                                                                             Unit Type: STU; Unit: 903 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.364    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Michael Jones                                                         Contingent
          140 Parkview Ter                                                      Unliquidated
          Athens, WV 24712                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7160
                                                                             Unit Type: STU; Unit: 902 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.365    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Michael Jones                                                         Contingent
          4823 Cedar Ave                                                        Unliquidated
          Philadelphia, PA 19143                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7159
                                                                             Unit Type: STU; Unit: 914 (Biannual Float)
                                                                             Unit Type: 1 BD; Unit 915 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.366    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Rodridgus Jones                                                       Contingent
          2665 Glenrose Hill                                                    Unliquidated
          Atlanta, GA 30341                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7161
                                                                             Unit Type: STU; Unit 902 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.367    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Sanford Jones                                                         Contingent
          155 County Line Ct                                                    Unliquidated
          Fayetteville, GA 30215                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7162
                                                                             Unit Type: STU; Unit: 907 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.368    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Troy Jones                                                            Contingent
          5500 Westcott Cir                                                     Unliquidated
          Frederick, MD 21703                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7163
                                                                             Unit Type: 1 BD; Unit 921 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.369    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Emily Jordan                                                          Contingent
          2903 Forest Hill Dr                                                   Unliquidated
          Columbus, GA 31907                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7164
                                                                             Unit Type: 1 BD; Unit 1117 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.370    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Kimberly Jordan                                                       Contingent
          1024 Bennett Road                                                     Unliquidated
          Ellerbe, NC 28338                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7165
                                                                             Unit Type: STU; Unit: 902 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.371    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Robert Joyner, Jr.                                                    Contingent
          1095 Reynolds Manor Dr                                                Unliquidated
          Winston Salem, NC 27107                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7166
                                                                             Unit Type: 1 BD; Unit: 901 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.372    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $892.82
          Kaba llco Inc.                                                        Contingent
          PO Box 896502                                                         Unliquidated
          Charlotte, NC 28289                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.373    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Christine Kays                                                        Contingent
          1342 Old Princeton Rd                                                 Unliquidated
          New Castle, PA 16101                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7167
                                                                             Unit Type: 1 BD; Unit: 916 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.374    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Ventura Keels                                                         Contingent
          4120 Windmill Cir                                                     Unliquidated
          Randallstown, MD 21133                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7168
                                                                             Unit Type: 1 BD; Unit: 915 (Biannual Float)
                                                                             Unit Type: STUl; Unit: 914 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.375    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Lucia Keiger                                                          Contingent
          147 McKendree Rd                                                      Unliquidated
          Mooresville, NC 28117                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7169
                                                                             Unit Type: 1 BD; Unit: 1115 (Biannual Float)
                                                                             Unit Type: STU; Unit: 1114 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.376    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Benjie Keith                                                          Contingent
          2340 Seattle Bridges Rd                                               Unliquidated
          Stoneville, NC 27048                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7171
                                                                             Unit Type: STU; Unit: 903 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.377    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          David Keith                                                           Contingent
          1775 Westchester Dr                                                   Unliquidated
          Apt # 116                                                             Disputed
          High Point, NC 27262
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number       7172                         Unit Type: 1 BD1; Unit: 919 (Annual Float)
                                                                             Unit Type: STU; Unit 903 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.378    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Donald Kelley                                                         Contingent
          PO Box 58183                                                          Unliquidated
          Charleston, WV 25358                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7173
                                                                             Unit Type: STU; Unit 1108 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.379    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Inez Kelly                                                            Contingent
          13728 Marven Drive                                                    Unliquidated
          North Huntingtor, PA 15642                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7174
                                                                             Unit Type: 1BD; Unit: 1120 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.380    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Marvin Kemmerer                                                       Contingent
          1774 Pertl Rd                                                         Unliquidated
          Odessa, NY 14869                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7175
                                                                             Unit Type: STU; Unit: 905 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.381    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Joshua Kenyon                                                         Contingent
          PO Box 2504                                                           Unliquidated
          Acworth, GA 30083                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7176
                                                                             Unit Type: 1 BD; Unit 920 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.382    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Phil Kesterson, Sr.                                                   Contingent
          6481 Leepers Ferry Rd                                                 Unliquidated
          White Pine, TN 37890                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7177
                                                                             Unit Type: STU; Unit: 902 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.383    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Brenda Key                                                            Contingent
          1046 Outaways Rd                                                      Unliquidated
          Aiken, SC 29803                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7178
                                                                             Unit Type: STU; Unit: 903 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.384    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Donald Key                                                            Contingent
          5559 Leesville St                                                     Unliquidated
          Trinity, NC 27370                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7179
                                                                             Unit Type: STU; Unit 908 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.385    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Eloise Kiaku                                                          Contingent
          2005 Bowman Ln                                                        Unliquidated
          Raleigh, NC 27610                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7180
                                                                             Unit Type: STU; Unit: 905 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.386    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Jesse Kiger, II                                                       Contingent
          110 Work St                                                           Unliquidated
          Paden City, WV 26159                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7181
                                                                             Unit Type: 1 BD; Unit: 901 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.387    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Kenneth Kimber                                                        Contingent
          5518 Pebble Garden Ct                                                 Unliquidated
          Greensboro, NC 27407                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7182
                                                                             Unit Type: STU; Unit: 902 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.388    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Shonda King                                                           Contingent
          2057 Shell Road                                                       Unliquidated
          Riceboro, GA 31323                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7183
                                                                             Unit Type: 1BD; Unit: 916 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.389    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          David Kinney                                                          Contingent
          1340 Jacksonville Smithville Rd                                       Unliquidated
          Bordentown, NJ 08505                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7184
                                                                             Unit Type: 1 BD; Unit: 918 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.390    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          George Kirby                                                          Contingent
          1203 Cannon Bridge Rd                                                 Unliquidated
          Cordova, SC 29039                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7185
                                                                             Unit Type: STU; Unit: 904 (Biennial Points)
                                                                             Is the claim subject to offset?     No       Yes

 3.391    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Nicholas Kleifgen                                                     Contingent
          930 21st Ave South                                                    Unliquidated
          Wisconsin Rapids, WI 54495                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7186
                                                                             Unit Type: 1 BD; Unit: 920 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.392    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Ronald Knipp                                                          Contingent
          38 Amicus St                                                          Unliquidated
          Taneytown, MD 21787                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7187
                                                                             Unit Type: 1 BD; Unit 901 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.393    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          L. Kocher                                                             Contingent
          459 Ross Road                                                         Unliquidated
          Columbus, OH 43213                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7188
                                                                             Unit Type: STU; Unit: 909 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.394    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          John Kohn                                                             Contingent
          PO Box 178                                                            Unliquidated
          Gorham, NY 14461                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7189
                                                                             Unit Type: STU; Unit: 906 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.395    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Gregory Kranefuss                                                     Contingent
          4917 Miranda Dr                                                       Unliquidated
          Hope Mills, NC 28348                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7190
                                                                             Unit Type: STU; Unit: 902 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.396    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Larry Krause                                                          Contingent
          1076 Spiers Landing Rd                                                Unliquidated
          Cross, SC 29436                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7191
                                                                             Unit Type: STU; Unit: 903 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.397    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Kevin Kube                                                            Contingent
          70 Tobacco Farm Way                                                   Unliquidated
          Chapel Hill, NC 27516                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7192
                                                                             Unit Type: 1 BD; Unit: 919 (Annual Float)
                                                                             Unit Type: STU; Unit: 909 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.398    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Lisa Kurowski                                                         Contingent
          8071 Route 16                                                         Unliquidated
          Franklinville, NY 14737                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7193
                                                                             Unit Type: STU; Unit 903 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.399    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          James Lajsic                                                          Contingent
          8756 W Mallard Ct                                                     Unliquidated
          Franklin, WI 53132                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7194
                                                                             Unit Type: 1 BD; Unit: 919 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.400    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Aaron Lambert                                                         Contingent
          2521 S 68th St                                                        Unliquidated
          Philadelphia, PA 19142                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7195
                                                                             Unit Type: STU; Unit: 909 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.401    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Daniel Lambo, Jr.                                                     Contingent
          8715 KY 1304                                                          Unliquidated
          Girdler, KY 40943                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7196
                                                                             Unit Type: 1 BD; Unit: 901 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.402    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Patrick Landry                                                        Contingent
          1308 Clan Campbell Dr                                                 Unliquidated
          Raeford, NC 28376                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7197
                                                                             Unit Type: 1 BD; Unit 917 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.403    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Gregory Lane                                                          Contingent
          379 Nathan Dr                                                         Unliquidated
          Lumberton, NC 28358                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7198
                                                                             Unit Type: STU; Unit: 905 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.404    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Morgan Lane                                                           Contingent
          284 College Avenue                                                    Unliquidated
          Oshawa, ON                                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7199
                                                                             Unit Type: 1BD; Unit: 919 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.405    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $61,414.98
          LaTour Hotels & Resorts, Inc.                                         Contingent
          One Vance Gap Road                                                    Unliquidated
          Asheville, NC 28805                                                   Disputed
          Date(s) debt was incurred As of January 31, 2019
                                                                             Basis for the claim:    Management Fees and reimbursable expenses
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.406    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $75,000.00
          LaTour Hotels & Resorts, Inc.                                         Contingent
          One Vance Gap Road                                                    Unliquidated
          Asheville, NC 28805                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Money loaned - Note payment due
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.407    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Felicia Lawrence                                                      Contingent
          292 Partridge Rd                                                      Unliquidated
          Orangeburg, SC 29118                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7202
                                                                             Unit Type: STU; Unit 911 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.408    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Cheyenne Lawson                                                       Contingent
          PO Box 173                                                            Unliquidated
          Sardinia, OH 45171                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7203
                                                                             Unit Type: 1 BD; Unit: 921 (Biannual Float)
                                                                             Unit Type: 1 BD; Unit 921 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.409    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Geno Lawson                                                           Contingent
          10017 S Forest                                                        Unliquidated
          Chicago, IL 60628                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7204
                                                                             Unit Type: 1 BD; Unit 1101 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.410    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          John Lawson, Sr.                                                      Contingent
          6230 S Main St                                                        Unliquidated
          Salisbury, NC 28147                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7205
                                                                             Unit Type: STU; Unit: 905 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.411    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          John Le                                                               Contingent
          2309 Oakhurst Trl                                                     Unliquidated
          Hillsborough, NC 27278                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7208
                                                                             Unit Type: STU; Unit: 903 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.412    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Jesse Leake, Jr.                                                      Contingent
          511 Latta Rd                                                          Unliquidated
          Durham, NC 27712                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7209
                                                                             Unit Type: 1BD; Unit 917 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.413    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Larry Lee, Jr.                                                        Contingent
          2027 Indigo Drive                                                     Unliquidated
          Richmond, KY 40475                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7211
                                                                             Unit Type: 1 BD; Unit: 1116 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.414    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Michael Leininger                                                     Contingent
          201 Westminister Way                                                  Unliquidated
          Elyria, OH 44035                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7214
                                                                             Unit Type: STU; Unit: 905 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.415    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Robert W. Lena                                                        Contingent
          1340 North West 20th Ave                                              Unliquidated
          Apt #202                                                              Disputed
          Boca Raton, FL 33445
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number       7215                         Unit Type: 1 BD; Unit 915 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.416    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Jessie Leonard                                                        Contingent
          149 Titan Rd                                                          Unliquidated
          Stockbridge, GA 30281                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7216
                                                                             Unit Type: STU; Unit: 910 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.417    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Letitia Leonard                                                       Contingent
          143 Morton Rd                                                         Unliquidated
          Simpsonville, SC 29681                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       0231
                                                                             Unit Type: STU; Unit 905 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.418    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Calvin Lester                                                         Contingent
          530 Beacon St                                                         Unliquidated
          Camden, NJ 08105                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7217
                                                                             Unit Type: STU; Unit: 909 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.419    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Darren Lewis                                                          Contingent
          1917 Mills B Lane Blvd                                                Unliquidated
          Savannah, GA 31405                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7219
                                                                             Unit Type: STU; Unit: 905 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.420    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Richard Lewis                                                         Contingent
          5100 N Burning Bush Rd                                                Unliquidated
          Columbia, MO 65202                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7220
                                                                             Unit Type: STU; Unit 906 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.421    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Brad Lingerfelt                                                       Contingent
          2915 High Peak Rd                                                     Unliquidated
          Valdese, NC 28690                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       1519
                                                                             Unit Type: STU; Unit 905 (Annual Float)
                                                                             Unit Type: 1 BD; Unit 919 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.422    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Dennis Link                                                           Contingent
          44 Gasper Rd                                                          Unliquidated
          Grove City, PA 16127                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7226
                                                                             Unit Type: 1 BD; Unit: 920 (Annual Float)
                                                                             Unit Type: 1 BD; Unit: 921 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.423    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Shyella Lisbon                                                        Contingent
          103 Longpine Pl, Apt 2A                                               Unliquidated
          Windsor Mill, MD 21244                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7227
                                                                             Unit Type: 1 BD; Unit 919 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.424    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          John Lockhart                                                         Contingent
          513 Hillwood Cir                                                      Unliquidated
          Augusta, GA 30909                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7229
                                                                             Unit Type: STU; Unit: 910 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.425    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Billy Lockhart, Jr.                                                   Contingent
          4618 Colonial Cir                                                     Unliquidated
          Trinity, NC 27292                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7228
                                                                             Unit Type: STU; Unit 906 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.426    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Patrick Lockhart                                                      Contingent
          4103 Laurel Creek Dr                                                  Unliquidated
          Greensboro, NC 27405                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7230
                                                                             Unit Type: STU; Unit: 902 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.427    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Billie Locklear                                                       Contingent
          7323 Walters Rd                                                       Unliquidated
          Laurel Hill, NC 28351                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7231
                                                                             Unit Type: STU; Unit: 903 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.428    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          James Long                                                            Contingent
          11 Mainee Ct                                                          Unliquidated
          Owings Mills, MD 21117                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7234
                                                                             Unit Type: STU; Unit: 902 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.429    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Steven Lowder                                                         Contingent
          2272 E Springfield Place                                              Unliquidated
          Chandler, AZ 85286                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7237
                                                                             Unit Type: 1 BD; Unit 915 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.430    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Todd Lowe                                                             Contingent
          129 S Maple St                                                        Unliquidated
          Mooresville, NC 28115                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7238
                                                                             Unit Type: STU; Unit: 914 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.431    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Keith Lowery                                                          Contingent
          PO Box 954                                                            Unliquidated
          Ellenboro, NC 28040                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7239
                                                                             Unit Type: 1 BD; Unit: 916 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.432    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          LR Rentals Real Estate, LLC                                           Contingent
          Attn: Woody Labar                                                     Unliquidated
          820 2nd St#16                                                         Disputed
          Cheney, WA 99004
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number       9278                         Unit Type: STU; Unit 1105 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.433    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Rogelio Lunch                                                         Contingent
          1867 Bee Gee Rd                                                       Unliquidated
          Lumberton, NC 28358                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7243
                                                                             Unit Type: 1 BD; Unit 901 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.434    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          James Lundy                                                           Contingent
          2843 Tracy Terrace                                                    Unliquidated
          Port Colborne, Ontario, L3K 5V3, Canada                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7240
                                                                             Unit Type: 1 BD; Unit: 915 (Annual Float)
                                                                             Unit Type: STU; Unit: 914 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.435    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Todd Lutkenhaus                                                       Contingent
          1630 Vanderbilt Ct                                                    Unliquidated
          Graham, NC 27253                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7241
                                                                             Unit Type: STU; Unit: 914 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.436    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Michael Lynch                                                         Contingent
          2 E Croton Dr                                                         Unliquidated
          Lake Carmel, NY 10512                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7242
                                                                             Unit Type: 1 BD; Unit 915 (Annual Float)
                                                                             Unit Type: STU; Unit 914 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.437    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Rosemary Lynch                                                        Contingent
          510 Junction Place                                                    Unliquidated
          The Villages, FL 32163-4043                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7244
                                                                             Unit Type: STU; Unit 1104 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.438    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          James Lynd                                                            Contingent
          11 Seiler Rd                                                          Unliquidated
          Portsmouth, OH 45662                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7245
                                                                             Unit Type: STU; Unit: 904 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.439    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Michael Lyons                                                         Contingent
          206 Cloverdale Dr                                                     Unliquidated
          Durham, NC 27703                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7246
                                                                             Unit Type: STU; Unit: 1114 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.440    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Ricky Lyons                                                           Contingent
          222 Summit Park Ct                                                    Unliquidated
          Kannapolis, NC 28083                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7247
                                                                             Unit Type: STU; Unit: 904 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.441    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Lesley Lyttle                                                         Contingent
          115 South Everett St                                                  Unliquidated
          Bennettsville, SC 29512                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7248
                                                                             Unit Type: STU; Unit: 1103 (Annual Points)
                                                                             Is the claim subject to offset?     No       Yes



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 3.442    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          John MaCauley                                                         Contingent
          208 Meadowrook Drive                                                  Unliquidated
          Seneca, SC 29678                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7275
                                                                             Unit Type: STU; Unit 905 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.443    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Michael Madison                                                       Contingent
          2367 Blackthorn Dr                                                    Unliquidated
          Franklin, IN 46131-6811                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7250
                                                                             Unit Type: 1BD; Unit: 919 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.444    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Kimberly Magruder                                                     Contingent
          5601 Dover St                                                         Unliquidated
          Churchton, MD 20733                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7251
                                                                             Unit Type: STU; Unit: 914 (Annual Float)
                                                                             Unit Type: 1 BD; Unit 915 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.445    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Alice Mahon                                                           Contingent
          110 Crawford Rd                                                       Unliquidated
          Gray Court, SC 29645                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7549
                                                                             Unit Type: 1 BD; Unit 1116 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.446    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Julie Maloney                                                         Contingent
          6880 Garber Road                                                      Unliquidated
          Knoxville, TN 37917-3250                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7252
                                                                             Unit Type: 1 BD; Unit 1116 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.447    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Steven Mangus                                                         Contingent
          307 S Sandy Brook Way                                                 Unliquidated
          Simpsonville, SC 29680                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7253
                                                                             Unit Type: STU; Unit: 908 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.448    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Bryan Manion                                                          Contingent
          593 McDermott Pond Creek Road                                         Unliquidated
          Mc Dermott, OH 45652                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7254
                                                                             Unit Type: STU; Unit 904 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.449    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Derek Manns                                                           Contingent
          PO Box 511                                                            Unliquidated
          Stokesdale, NC 27357                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7255
                                                                             Unit Type: STU; Unit 914 (Biannual Float)
                                                                             Unit Type: 1 BD; Unit 915 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.450    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Meoshi Manns                                                          Contingent
          1042 Charlotte Ln                                                     Unliquidated
          Walnut Cove, NC 27052                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7256
                                                                             Unit Type: 1 BD; Unit 901 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.451    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Sue Marks                                                             Contingent
          109 Byrd Dr                                                           Unliquidated
          Martinsburg, WV 25401                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7259
                                                                             Unit Type: 1BD; Unit: 915 (Annual Points)
                                                                             Is the claim subject to offset?     No       Yes

 3.452    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Tiffany Marrow                                                        Contingent
          2146 Charles St, Apt 53                                               Unliquidated
          Durham, NC 27707                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7260
                                                                             Unit Type: STU; Unit: 907 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.453    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Kimberly Marshall                                                     Contingent
          615 E. Pacific Street                                                 Unliquidated
          Springfield, MO 65803                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       5755
                                                                             Unit Type: STU; Unit 1107 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.454    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Shaunita Marshall                                                     Contingent
          11351 Beringer Ct                                                     Unliquidated
          Waldorf, MD 20601                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7058
                                                                             Unit Type: 1 BD; Unit 918 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.455    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Donna Martin                                                          Contingent
          PO Box 1644                                                           Unliquidated
          Hamlet, NC 28345                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7261
                                                                             Unit Type: 1 BD; Unit: 1101 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.456    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Geovonda Martin                                                       Contingent
          200 Old Boiling Springs Rd, Apt D62                                   Unliquidated
          Greer, SC 29650                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7262
                                                                             Unit Type: STU; Unit: 902 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.457    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          James Martin                                                          Contingent
          6679 Shelter Bay Road, Unit 23                                        Unliquidated
          Mississauga, ON, L5N 2A2, Canada                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7263
                                                                             Unit Type: STU; Unit: 1103 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.458    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Rosalie Martin                                                        Contingent
          895 Laurel Ridge Rd                                                   Unliquidated
          Reinholds, PA 17569                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7264
                                                                             Unit Type: 1 BD; Unit: 901 (Biennial Points)
                                                                             Is the claim subject to offset?     No       Yes

 3.459    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Rodney A. Mason                                                       Contingent
          99 Hudson St, 5th Floor                                               Unliquidated
          New York, NY 10013                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7266
                                                                             Unit Type: 1 BD; Unit 917 (Annual Float)
                                                                             Unit Type: STU; Unit 914 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.460    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Michael Masotto                                                       Contingent
          73 White Ave                                                          Unliquidated
          Sharon, PA 16146                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7267
                                                                             Unit Type: 1 BD; Unit 917 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.461    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Willie Mathis                                                         Contingent
          2725 Spirit Creek Rd                                                  Unliquidated
          Hephzibah, GA 30815                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7269
                                                                             Unit Type: 1 BD; Unit 918 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.462    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Connie Mauldin                                                        Contingent
          101 Sunset Dr                                                         Unliquidated
          Mount Holly, NC 28120                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7270
                                                                             Unit Type: 1 BD; Unit 902 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.463    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Lynn McAdams                                                          Contingent
          1146 Annelle Dr                                                       Unliquidated
          Florence, SC 29505                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7272
                                                                             Unit Type: 1 BD; Unit: 919 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.464    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Brian McCann                                                          Contingent
          3 Lake Dr                                                             Unliquidated
          Freeburg, IL 62243                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7274
                                                                             Unit Type: STU; Unit: 911 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.465    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          John McCauley                                                         Contingent
          208 Meadowbrook Dr                                                    Unliquidated
          Seneca, SC 29678                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7275
                                                                             Unit Type: STU; Unit 905 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.466    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          David McCormick, Sr.                                                  Contingent
          1828 Castleberry Rd                                                   Unliquidated
          Clayton, NC 27527                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7276
                                                                             Unit Type: 1 BD; Unit: 914 (Biennial Points)
                                                                             Is the claim subject to offset?     No       Yes

 3.467    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Christine McCracken                                                   Contingent
          148B Idlewild Dr                                                      Unliquidated
          Randleman, NC 27317                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7278
                                                                             Unit Type: 1 BD; Unit: 921 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.468    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Donna McCraw                                                          Contingent
          320 Endless Dr                                                        Unliquidated
          Greer, SC 29651                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7279
                                                                             Unit Type: 1 BD; Unit: 917 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.469    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Kevin McCray                                                          Contingent
          307 Bald Eagle Ct                                                     Unliquidated
          Moncks Corner, SC 29461                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7280
                                                                             Unit Type: 1 BD; Unit 916 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.470    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          W. Louis McDonald                                                     Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number       7282                         Basis for the claim:    NOTICE PURPOSES ONLY

                                                                             Unit Type: STU; Unit: 909 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.471    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Glennis McElveen                                                      Contingent
          820 King Ave. Florence                                                Unliquidated
          Florence, SC 29501                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7283
                                                                             Unit Type: 1 BD; Unit 901 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.472    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Mary McIntosh                                                         Contingent
          8328 Orleans Blvd                                                     Unliquidated
          Union, KY 41091                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7284
                                                                             Unit Type: 1 BD; Unit: 918 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.473    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Joseph McJunkins                                                      Contingent
          19 Zinglistrasse St                                                   Unliquidated
          Montville, CT 06353                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7285
                                                                             Unit Type: STU; Unit: 903 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.474    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          James McKenna                                                         Contingent
          3 Chase Ln                                                            Unliquidated
          Sayville, NY 11782                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7286
                                                                             Unit Type: STU; Unit: 1103 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.475    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Terry McKinney                                                        Contingent
          1736 Denver Rd                                                        Unliquidated
          Waverly, OH 45690                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7287
                                                                             Unit Type: STU; Unit: 910 (Annual Float)
                                                                             Unit Type: 1BD; Unit: 919 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.476    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Isaac McLaughlin                                                      Contingent
          2532 Jeff St                                                          Unliquidated
          Charlotte, NC 28205                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7288
                                                                             Unit Type: STU; Unit: 902 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.477    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Kim McLaughlin                                                        Contingent
          1146 Rainbow Ln                                                       Unliquidated
          Montvale, VA 24122                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7289
                                                                             Unit Type: STU; Unit: 1103 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.478    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Lee McLean                                                            Contingent
          9807 Possum Hollow Rd                                                 Unliquidated
          Shippensburg, PA 17257                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7290
                                                                             Unit Type: 1 BD; Unit: 916 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.479    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Grantham McNeill                                                      Contingent
          240 Covington Rd                                                      Unliquidated
          Red Springs, NC 28377                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7292
                                                                             Unit Type: STU; Unit: 902 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.480    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Michael Means                                                         Contingent
          4122 W Fork Ridge Dr                                                  Unliquidated
          Batavia, OH 45103                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7293
                                                                             Unit Type: STU; Unit: 1114 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.481    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Andrew Mears                                                          Contingent
          205 Longview Dr                                                       Unliquidated
          Abingdon, VA 24211                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7294
                                                                             Unit Type: 1 BD; Unit: 916 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.482    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Luz Mendez                                                            Contingent
          1111 Village Green Dr                                                 Unliquidated
          Angola, IN 46703                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7296
                                                                             Unit Type: 1 BD; Unit: 920 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.483    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Shelly Mercer-Jamison                                                 Contingent
          30 Plains Road                                                        Unliquidated
          Hamden, CT 06514                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7297
                                                                             Unit Type: 1BD; Unit: 918 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.484    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Adam Merrell                                                          Contingent
          11421 Iowa Cir                                                        Unliquidated
          Omaha, NE 68142                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7298
                                                                             Unit Type: STU; Unit: 914 (Annual Float)
                                                                             Unit Type: ! BD; Unit: 915 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.485    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Jonathan Merritt                                                      Contingent
          152 Ashbury Park Lane                                                 Unliquidated
          Richlands, NC 28574                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7299
                                                                             Unit Type: STU; Unit: 907 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.486    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Thomas Meta                                                           Contingent
          8840 State Highway 198                                                Unliquidated
          Conneautville, PA 16406                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7300
                                                                             Unit Type: 1 BD; Unit: 921 (Annual Float)
                                                                             Unit Type: STU; Unit: 910 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.487    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          MHS Associates, LLC                                                   Contingent
          PO Box 14178                                                          Unliquidated
          Augusta, GA 30909                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7025
                                                                             Unit Type: 1 BD; Unit 1116 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.488    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Michael Rubino                                                        Contingent
          4160 State Route 5 #8                                                 Unliquidated
          Frankfort, NY 13340                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7473
                                                                             Unit Type: 1BD; Unit 918 (Annual Float)
                                                                             Unit Type: STU; Unit 908 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.489    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Paul Mier                                                             Contingent
          10150 E. Harvard Ave                                                  Unliquidated
          Denver, CO 80231                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7301
                                                                             Unit Type: STU; Unit 909 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.490    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Juanita Miles                                                         Contingent
          3824 Rural St                                                         Unliquidated
          Rockford, IL 61107                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7302
                                                                             Unit Type: 1 BD; Unit: 918 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.491    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          DavidMiller                                                           Contingent
          467 McDermott Pond Creek Rd                                           Unliquidated
          Mc Dermott, OH 45652                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7303
                                                                             Unit Type: 1 BD; Unit: 901 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.492    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          DavidMiller                                                           Contingent
          865 Crane Rd                                                          Unliquidated
          Danville, VA 24540                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7304
                                                                             Unit Type: 1 BD; Unit: 918 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.493    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Dorothy Miller                                                        Contingent
          PO Box 364                                                            Unliquidated
          High Shoals, NC 28077                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    OTICE PURPOSES ONLY
          Last 4 digits of account number       7305
                                                                             Unit Type: 1 BD; Unit: 917 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.494    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Grover Miller                                                         Contingent
          1921 Calks Ferry Rd                                                   Unliquidated
          Lexington, SC 29073                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7306
                                                                             Unit Type: STU; Unit: 905 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.495    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          John Miller                                                           Contingent
          PO Box 392                                                            Unliquidated
          Jamestown, PA 16134                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7307
                                                                             Unit Type: 1 BD; Unit: 901 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.496    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Kimberly Miller                                                       Contingent
          712 Midstreams Rd                                                     Unliquidated
          Brick, NJ 08724                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7308
                                                                             Unit Type: STU; Unit: 1103 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.497    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Mick Miller                                                           Contingent
          539 Wildflower Trail                                                  Unliquidated
          Myrtle Beach, SC 29579                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7309
                                                                             Unit Type: STU; Unit: 1103 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.498    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Lyle Miller, Sr.                                                      Contingent
          PO Box 11185                                                          Unliquidated
          Hickory, NC 28603                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       0489
                                                                             Unit Type: STU; Unit 907 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.499    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Bill Mills                                                            Contingent
          314 Curtis Drive                                                      Unliquidated
          Sumter, SC 29153                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7310
                                                                             Unit Type: STU; Unit 1109 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.500    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Morgan Mills                                                          Contingent
          PO Box 911                                                            Unliquidated
          Stephens City, VA 22655                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7312
                                                                             Unit Type: STU; Unit 902 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.501    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Susie Mincey                                                          Contingent
          1511 Marley Dr                                                        Unliquidated
          Columbia, SC 29210                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7313
                                                                             Unit Type: 1 BD; Unit 1101 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.502    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Jon-Paul Miron                                                        Contingent
          7 Switzer Crest                                                       Unliquidated
          Binbrook, ON, L0R 1C0, Canada                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7314
                                                                             Unit Type: 1 BD; Unit: 916 (Annual Points)
                                                                             Is the claim subject to offset?     No       Yes

 3.503    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Brent Mollette                                                        Contingent
          7042 Tylerwood Ct                                                     Unliquidated
          Milton, FL 32570                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7316
                                                                             Unit Type: 1 BD; Unit 1115 (Annual Float)
                                                                             Unit Type: STU; Unit 1114 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.504    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Glenda Monroe                                                         Contingent
          169 Julia T Rd                                                        Unliquidated
          Saint Pauls, NC 28384                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7318
                                                                             Unit Type: 1 BD; Unit: 916 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.505    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Wayne Montague                                                        Contingent
          3901 Turnberry Loop                                                   Unliquidated
          Seneca, SC 29678                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7319
                                                                             Unit Type: STU; Unit 903 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.506    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Catherine Monte                                                       Contingent
          6123 Woodridge Lane                                                   Unliquidated
          Grand Blanc, MI 48439                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7320
                                                                             Unit Type: STU; Unit: 904 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.507    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Jeffrey Mooney                                                        Contingent
          4629 Brooklawn St                                                     Unliquidated
          Davidson, NC 28036                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7321
                                                                             Unit Type: STU; Unit 908 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.508    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Terrence Mooney                                                       Contingent
          1821 N Marshall Rd                                                    Unliquidated
          Middletown, OH 45042                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7322
                                                                             Unit Type: STU; Unit: 911 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.509    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Damitchell Moore                                                      Contingent
          207 New Market St, Apt 7D                                             Unliquidated
          Greenwood, SC 29646                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       2082
                                                                             Unit Type: STU; Unit 1103 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.510    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          James Moore                                                           Contingent
          529 Hunt St                                                           Unliquidated
          Ashland, KY 41101                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7326
                                                                             Unit Type: STU; Unit: 906 (Biannual Float)
                                                                             Unit Type: 1 BD; Unit: 917 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.511    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Jimmy Moore                                                           Contingent
          111 Melville Ct                                                       Unliquidated
          Mooresville, NC 28117                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7327
                                                                             Unit Type: 1 BD; Unit 915 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.512    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          George Moore, Jr.                                                     Contingent
          PO Box 65                                                             Unliquidated
          Swansboro, NC 28584                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7325
                                                                             Unit Type: STU; Unit: 904 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.513    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Theresa Moore                                                         Contingent
          752 Village Lane Dr SW                                                Unliquidated
          Marietta, GA 30060                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7328
                                                                             Unit Type: STU; Unit: 912 (Annual Float)
                                                                             Unit Type: 1 BD; Unit 917 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.514    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          David Moorman, Jr.                                                    Contingent
          347 Hammitt Rd                                                        Unliquidated
          Bulls Gap, TN 37711                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7329
                                                                             Unit Type: 1 BD; Unit: 916 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.515    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Annette Moosavi                                                       Contingent
          PO Box 1731                                                           Unliquidated
          Davidson, NC 28036                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7330
                                                                             Unit Type: STU; Unit 906 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.516    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Osvaldo Morales                                                       Contingent
          245 Old Point Rd                                                      Unliquidated
          Milford, CT 06460                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7331
                                                                             Unit Type: 1 BD; Unit: 901 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.517    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          James Morgan                                                          Contingent
          120 Country Club Drive                                                Unliquidated
          Apt A                                                                 Disputed
          Elmira, NY 14905-1913
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number       7332                         Unit Type: STU; Unit: 908 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.518    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Jean Morrison                                                         Contingent
          3369 Dolphin Dr                                                       Unliquidated
          Blasdell, NY 14219                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7333
                                                                             Unit Type: 1 BD; Unit: 916 (Annual Float)
                                                                             Unit Type: STU; Unit: 905 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.519    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Durland Mosher, II                                                    Contingent
          603 Church St                                                         Unliquidated
          Athens, PA 18840                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7335
                                                                             Unit Type: STU; Unit 906 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.520    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Sandra Mosher                                                         Contingent
          6270 Tudor Ln                                                         Unliquidated
          Loves Park, IL 61111                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7336
                                                                             Unit Type: 1 BD; Unit: 918 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.521    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Randall Mueckl                                                        Contingent
          c/o Frederick & Rogers                                                Unliquidated
          1903 E Battlefield                                                    Disputed
          Springfield, MO 65804
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number       7337                         Unit Type: 1 BD; Unit: 901 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.522    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          John Mulder                                                           Contingent
          26158 Shady Brook Trl                                                 Unliquidated
          Courtland, VA 23837                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7338
                                                                             Unit Type: 1 BD; Unit: 1115 (Annual Float)
                                                                             Unit Type: STU; Unit: 1114 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.523    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Mamie Murphy                                                          Contingent
          870 Vandenburg Dr                                                     Unliquidated
          Boiling Springs, SC 29316                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7339
                                                                             Unit Type: STU; Unit 1103 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.524    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          William Murphy                                                        Contingent
          590 Long Branch Circle                                                Unliquidated
          Williston, SC 29853                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7341
                                                                             Unit Type: 1 BD; Unit 1116 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.525    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Johnny Murray                                                         Contingent
          3818 Wester Rd                                                        Unliquidated
          Raleigh, NC 27604                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7342
                                                                             Unit Type: STU; Unit: 902 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.526    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Johnston Murray                                                       Contingent
          5444 Laurinburg Rd                                                    Unliquidated
          Raeford, NC 28376                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7152
                                                                             Unit Type: STU; Unit: 905 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.527    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Kimberly Murrell                                                      Contingent
          9617 Rothman Ln                                                       Unliquidated
          Charlotte, NC 28215                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7343
                                                                             Unit Type: STU; Unit 905 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.528    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Larry Mustain                                                         Contingent
          4814 Lilydale Back Creek Rd                                           Unliquidated
          Greenville, WV 24945                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7344
                                                                             Unit Type: STU; Unit: 914 (Biannual Float)
                                                                             Unit Type: 1 BD; Unit: 915 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.529    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Terry Muth                                                            Contingent
          770 Berkeley Ave NW                                                   Unliquidated
          Atlanta, GA 30318                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7345
                                                                             Unit Type: STU; Unit: 905 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.530    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          James Muzeni                                                          Contingent
          1768 W Herick Ct                                                      Unliquidated
          Hernando, FL 34442                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7346
                                                                             Unit Type: STU; Unit: 907 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.531    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          James Myers                                                           Contingent
          613 Village Green Ln                                                  Unliquidated
          Okatie, SC 29909                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7348
                                                                             Unit Type: STU; Unit: 905 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.532    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Thomas Myers                                                          Contingent
          3455 Lakeshore Dr                                                     Unliquidated
          Florence, SC 29501                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7350
                                                                             Unit Type: 1 BD; Unit 917 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.533    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Anatoly Naritsin                                                      Contingent
          6 Bobsled Dr                                                          Unliquidated
          Needham Heights, MA 02494                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7351
                                                                             Unit Type: 1 BD; Unit: 919 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.534    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Larry Neal                                                            Contingent
          PO Box 178                                                            Unliquidated
          Walkertown, NC 27051                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7352
                                                                             Unit Type: STU; Unit: 906 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.535    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Major Newkirk                                                         Contingent
          1471 Register Rd                                                      Unliquidated
          Rose Hill, NC 28458                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7354
                                                                             Unit Type: STU; Unit: 904 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.536    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          George Nicholas, Jr.                                                  Contingent
          2108 Fittleworth Terrace                                              Unliquidated
          Upper Marlboro, MD 20774                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7355
                                                                             Unit Type: STU; Unit 1114 (Annual Float)
                                                                             Unit Type: 1 BD; Unit 1115 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.537    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Jennifer Nixon                                                        Contingent
          302 Walnut Drive                                                      Unliquidated
          Clifton Park, NY 12065                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       9570
                                                                             Unit Type: 1 BD; Unit 1116 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.538    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Susan Noack                                                           Contingent
          1105 Artic Quill Rd                                                   Unliquidated
          Herndon, VA 20170                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7358
                                                                             Unit Type: 1 BD; Unit: 919 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.539    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          L. Noblett                                                            Contingent
          353 Eaglehead Pt                                                      Unliquidated
          East Rochester, NY 14445                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7359
                                                                             Unit Type: 1 BD; Unit: 901 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.540    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Howard Norton                                                         Contingent
          c/o Bruce B. Briggs, Attorney at Law                                  Unliquidated
          PO Box 81                                                             Disputed
          Mars Hill, NC 28754
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number       7360                         Unit Type: STU; Unit: 907 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.541    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Cherlyn Nzongola                                                      Contingent
          PO Box 6112                                                           Unliquidated
          Beaufort, SC 29903                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7361
                                                                             Unit Type: STU; Unit: 908 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.542    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Mary J. O'Neal                                                        Contingent
          PO Box 2082                                                           Unliquidated
          Rockingham, NC 28380                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7362
                                                                             Unit Type: STU; Unit: 904 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.543    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          O'Towers Wholesale, LLC                                               Contingent
          1777 S Burlington Blvd #213                                           Unliquidated
          Burlington, WA 98233                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7363
                                                                             Unit Type: STU; Unit 904 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.544    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Lonnie Oakley, Jr.                                                    Contingent
          207 Pinebrook School Rd                                               Unliquidated
          Mocksville, NC 27028                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7364
                                                                             Unit Type: 1 BD; Unit 919 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.545    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Onwardo LLC                                                           Contingent
          PO Box 190                                                            Unliquidated
          Waunakee, WI 53597                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       5649
                                                                             Unit Type: 1 BD; Unit 916 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.546    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Justin Ooten                                                          Contingent
          PO Box 1012                                                           Unliquidated
          Holden, WV 25625                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7367
                                                                             Unit Type: STU; Unit: 908 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.547    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Orlando Trust, dated January                                          Contingent
          6812 Championship Dr                                                  Unliquidated
          Whitsett, NC 27377                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7368
                                                                             Unit Type: STU; Unit: 906 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.548    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Bobbie Owens                                                          Contingent
          1569 S Crescent Heights Blvd                                          Unliquidated
          Los Angeles, CA 90035                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7370
                                                                             Unit Type: 1 BD; Unit: 915 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.549    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Kyleen Oxendine                                                       Contingent
          19892 Lucky Ln                                                        Unliquidated
          Waynesville, MO 65583                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7372
                                                                             Unit Type: 1 BD; Unit: 1117 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.550    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Thomas Palmer, Jr.                                                    Contingent
          PO Box 1236                                                           Unliquidated
          Byron, GA 31008                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       0829
                                                                             Unit Type: STU; Unit 904 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.551    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Dante Palmer, Sr.                                                     Contingent
          2430 Orchard Dr                                                       Unliquidated
          Hephzibah, GA 30815                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7373
                                                                             Unit Type: 1 BD; Unit: 901 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.552    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Ellis Pardue                                                          Contingent
          1244 Arbor Rd Box 134                                                 Unliquidated
          Winston Salem, NC 27104                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7375
                                                                             Unit Type: STU; Unit: 903 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.553    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Murrine Parra                                                         Contingent
          7742 Henry Harris Road                                                Unliquidated
          Fort Mill, SC 29707                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7377
                                                                             Unit Type: STU; Unit: 907 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.554    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Billy Joe Parrish                                                     Contingent
          PSC 567 Box 6842                                                      Unliquidated
          FPO, AP 96384                                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7378
                                                                             Unit Type: 1 BD; Unit 919 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.555    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Vincent Passalacqua                                                   Contingent
          41 Edgewood Ter                                                       Unliquidated
          Bridgewater, NJ 08807                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7379
                                                                             Unit Type: STU; Unit: 903 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.556    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Allison Patrick                                                       Contingent
          161 Beaver Creek Dr                                                   Unliquidated
          Chesnee, SC 29323                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7380
                                                                             Unit Type: STU; Unit: 905 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.557    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Charles Patrick                                                       Contingent
          194 Oliver St                                                         Unliquidated
          North Wilkesboro, NC 28659                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7381
                                                                             Unit Type: STU; Unit: 902 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.558    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Vivian Patrick                                                        Contingent
          519 Sandpiper Cir                                                     Unliquidated
          Cheraw, SC 29520                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7382
                                                                             Unit Type: 1 BD; Unit 916 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.559    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Kenny Patterson                                                       Contingent
          c/o Frederick & Rogers                                                Unliquidated
          1903 E. Battlefield Rd                                                Disputed
          Springfield, MO 65804
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number       7384                         Unit Type: STU; Unit: 914 (Biannual Float)
                                                                             Unit Type: 1 BD; Unit: 915 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.560    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Randy Patterson                                                       Contingent
          860 Sleepy Hollow Rd                                                  Unliquidated
          Midland, NC 28107                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7385
                                                                             Unit Type: STU; Unit 902 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.561    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Savonita Peeler                                                       Contingent
          215 Lockhart Ln                                                       Unliquidated
          Gaffney, SC 29341                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7387
                                                                             Unit Type: STU; Unit: 903 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.562    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Howard Pelton, III                                                    Contingent
          2862 Red Fox Run Dr NW                                                Unliquidated
          Warren, OH 44485                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7388
                                                                             Unit Type: 1 BD; Unit: 916 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.563    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Mark Pennington                                                       Contingent
          109 Lm Porter Cemetery Rd                                             Unliquidated
          Sandy Hook, KY 41171                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7389
                                                                             Unit Type: STU; Unit: 1114 (Annual Float)
                                                                             Unit Type: 1 BD; Unit: 1115 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.564    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Kevin Penny                                                           Contingent
          216 Tallstone Dr                                                      Unliquidated
          Fayetteville, NC 28306                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7390
                                                                             Unit Type: 1BD; Unit: 1117 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.565    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Warren Perkins                                                        Contingent
          1308 Pinehurst St                                                     Unliquidated
          Gastonia, NC 28052                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7391
                                                                             Unit Type: STU; Unit: 906 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.566    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Kenneth Person                                                        Contingent
          8580 Highway 265                                                      Unliquidated
          Mount Croghan, SC 29727                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7392
                                                                             Unit Type: 1BD; Unit: 916 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.567    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Michelle Peters                                                       Contingent
          6393 Blossomwood Cir NE                                               Unliquidated
          N Canton, OH 44721                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7393
                                                                             Unit Type: STU; Unit 1114 (Biannual Float)
                                                                             Unit Type: 1 BD; Unit 1115 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.568    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          George Petitt, III                                                    Contingent
          25 Scout Rd                                                           Unliquidated
          Greenville, SC 29611                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7394
                                                                             Unit Type: STU; Unit 1105 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.569    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Petrus Vacation Rentals, LLC                                          Contingent
          1835 E Hallandale Beach Blvd #626                                     Unliquidated
          Hallandale, FL 33009                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7396
                                                                             Unit Type: 1 BD; Unit 901 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.570    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Nicole Petrus                                                         Contingent
          24A Trolley Sq #171                                                   Unliquidated
          Wilmington, DE 19806                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7395
                                                                             Unit Type: STU; Unit 910 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.571    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Andrew Pfefferkorn, Jr.                                               Contingent
          12574 Garry Glen Drive                                                Unliquidated
          Bristow, VA 20136                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7397
                                                                             Unit Type: STU; Unit: 1103 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.572    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Andrea Phillips                                                       Contingent
          PO Box 939                                                            Unliquidated
          Whitakers, NC 27891                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7398
                                                                             Unit Type: 1BD; Unit: 1116 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.573    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Charles Phillips                                                      Contingent
          109 Robinson Clemmer Rd                                               Unliquidated
          Dallas, NC 28034                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7399
                                                                             Unit Type: STU; Unit: 906 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.574    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          James Phillips, III                                                   Contingent
          4040 Landover Peak Place                                              Unliquidated
          Raleigh, NC 27616                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7400
                                                                             Unit Type: 1 BD; Unit 1115 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.575    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Cecil Piansay                                                         Contingent
          1104 Keystone Dr                                                      Unliquidated
          Asheboro, NC 27203                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7401
                                                                             Unit Type: STU; Unit: 902 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.576    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Anthony Pickhinke                                                     Contingent
          7835 E Burro Dr                                                       Unliquidated
          Kingman, AZ 86401                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7402
                                                                             Unit Type: STU; Unit 905 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.577    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Laymon Pickle                                                         Contingent
          272 Pickle Hollow Rd                                                  Unliquidated
          Saltville, VA 24370                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7403
                                                                             Unit Type: 1 BD; Unit: 916 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.578    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Sheila Pierce                                                         Contingent
          5330 Hames Trace                                                      Unliquidated
          Louisville, KY 40291                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7404
                                                                             Unit Type: STU; Unit: 905 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.579    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Elton Pierson                                                         Contingent
          140 Gigi Ln                                                           Unliquidated
          Loudon, TN 37774                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7405
                                                                             Unit Type: STU; Unit: 903 (Biennial Points)
                                                                             Is the claim subject to offset?     No       Yes

 3.580    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Natalie Pitman                                                        Contingent
          400 Summit Drive                                                      Unliquidated
          Apt 3C                                                                Disputed
          Greenville, SC 29609-4854
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number       6974                         Unit Type: 1BD; Unit 916 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.581    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Janice Polesky                                                        Contingent
          626 Cherry Lane                                                       Unliquidated
          Royalton, MN 56373                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7407
                                                                             Unit Type: STU; Unit: 914 (Biannual Float)
                                                                             Unit Type: 1 BD; Unit: 915 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.582    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Anthony Pompey                                                        Contingent
          PO Box 641                                                            Unliquidated
          Kingstree, SC 29556                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7408
                                                                             Unit Type: 1BD; Unit: 918 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.583    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Bronna Poole                                                          Contingent
          PO Box 821                                                            Unliquidated
          Randleman, NC 27317                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7409
                                                                             Unit Type: S1BD; Unit: 919 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.584    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          L. Norton Pope                                                        Contingent
          4246 Estate Drive                                                     Unliquidated
          Conway, SC 29526                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       2401
                                                                             Unit Type: STU; Unit 904 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.585    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Rosemary Pope                                                         Contingent
          414 Ash Circle                                                        Unliquidated
          Elkhart, IN 46517                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7410
                                                                             Unit Type: STU; Unit: 902 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.586    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Paul Porfeli                                                          Contingent
          32306 Hugh Road                                                       Unliquidated
          Apt A                                                                 Disputed
          Albemarle, NC 28001-7376
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number       7411                         Unit Type: STU; Unit 1106 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.587    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Mark Porter                                                           Contingent
          5656 Springlake Road                                                  Unliquidated
          Canton, OH 44718-1154                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7412
                                                                             Unit Type: 1BD; Unit: 916 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.588    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Jabez Powell                                                          Contingent
          3804 Peppercorn Ln                                                    Unliquidated
          Greensboro, NC 27406                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7413
                                                                             Unit Type: STU; Unit: 903 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.589    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Ricquel Pratt                                                         Contingent
          7042 Brandemere Lane (CR)                                             Unliquidated
          Apt J                                                                 Disputed
          Winston Salem, NC 27106
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number       7414                         Unit Type: STU; Unit 902 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.590    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Susan Preston                                                         Contingent
          3910 West Bent Grass Dr.                                              Unliquidated
          Fayetteville, NC 28312                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7416
                                                                             Unit Type: STU; Unit: 903 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.591    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Willie Preston                                                        Contingent
          20024 Halloway Ave                                                    Unliquidated
          Matoaca, VA 23803                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7417
                                                                             Unit Type: STU; Unit: 903 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.592    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          David Price                                                           Contingent
          23 Harbour Heights Drive                                              Unliquidated
          Annapolis, MD 21401                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7418
                                                                             Unit Type: 1 BD; Unit: 1116 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.593    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Veva Prichard                                                         Contingent
          299 River Road                                                        Unliquidated
          PO Box 299                                                            Disputed
          Crum, WV 25669
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number       1898                         Unit Type: STU; Unit 906 (Annual Float)
                                                                             Unit Type: 1 BD; Unit 918 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.594    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Christopher Pridmore                                                  Contingent
          1301 Cove Creek Rd                                                    Unliquidated
          Pickens, SC 29671                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7419
                                                                             Unit Type: STU; Unit: 906 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.595    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Carlette Priester                                                     Contingent
          6449 Caymus Dr                                                        Unliquidated
          Charlotte, NC 28269                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7420
                                                                             Unit Type: 1 BD; Unit 916 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.596    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Mary Prouty                                                           Contingent
          3910 Doster Rd                                                        Unliquidated
          Monroe, NC 28112                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7421
                                                                             Unit Type: 1 BD; Unit 1101 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.597    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Haughton Purser                                                       Contingent
          4312 Ryegate Dr                                                       Unliquidated
          Raleigh, NC 27604                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7422
                                                                             Unit Type: STU; Unit: 908 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.598    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Wesley Pursiful                                                       Contingent
          7987 Longmire Rd                                                      Unliquidated
          Luttrell, TN 37779                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7423
                                                                             Unit Type: STU; Unit: 906 (Annual Float)
                                                                             Unit Type: 1 BD; Unit: 918 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.599    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Thomas Pytko                                                          Contingent
          94 E Acres Ave                                                        Unliquidated
          Pittsfield, MA 01201                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7424
                                                                             Unit Type: STU; Unit 1111 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.600    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Linda Radcliffe                                                       Contingent
          110 Crescent Ave                                                      Unliquidated
          Woodbury, NJ 08096                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7562
                                                                             Unit Type: STU; Unit 903 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.601    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Marcia Ragin                                                          Contingent
          2850 September Dr                                                     Unliquidated
          Sumter, SC 29154                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7425
                                                                             Unit Type: STU; Unit: 903 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.602    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Francis Ralston                                                       Contingent
          9009 Morton Ave                                                       Unliquidated
          Brooklyn, OH 44144                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7427
                                                                             Unit Type: 1BD; Unit: 920 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.603    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Chad G. Ramsey                                                        Contingent
          172 Joseph Alexander Dr                                               Unliquidated
          Fuquay Varina, NC 27526                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7428
                                                                             Unit Type: 1 BD; Unit: 918 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.604    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Richard Ranson                                                        Contingent
          214 Greenway St                                                       Unliquidated
          Huntersville, NC 28078                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7430
                                                                             Unit Type: 1 BD; Unit: 916 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.605    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Joseph Ratliff                                                        Contingent
          2916 Whippowill Cir                                                   Unliquidated
          Augusta, GA 30906                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7431
                                                                             Unit Type: STU; Unit: 908 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.606    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Myron Ravenel                                                         Contingent
          PO Box 41961                                                          Unliquidated
          North Charleston, SC 29418                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7432
                                                                             Unit Type: 1 BD; Unit 901 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.607    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Morris Reid, III                                                      Contingent
          924 Hunt Club Run                                                     Unliquidated
          Charleston, SC 29414                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7435
                                                                             Unit Type: 1 BD; Unit: 901 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.608    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Joseph Reinhardt                                                      Contingent
          PO Box 621                                                            Unliquidated
          Chesapeake, OH 45619                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7436
                                                                             Unit Type: STU; Unit: 1110 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.609    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Timothy Reinke, Sr.                                                   Contingent
          25944 Mackinac St.                                                    Unliquidated
          Roseville, MI 48066                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7437
                                                                             Unit Type: 1BD; Unit: 1115 (Annual Float)
                                                                             Unit Type: STU; Unit 1114 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.610    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,033.33
          Resort Travel and Xchange, Inc.                                       Contingent
          One Vance Gap Road                                                    Unliquidated
          Asheville, NC 28805                                                   Disputed
          Date(s) debt was incurred As of January 31, 2019
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.611    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          James Respus                                                          Contingent
          103 King Richard Court                                                Unliquidated
          Red Springs, NC 28377-1261                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7438
                                                                             Unit Type: STU; Unit: 909 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.612    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Dutch Reuschel                                                        Contingent
          1817 Hopewell Dr                                                      Unliquidated
          Elverson, PA 19520                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7440
                                                                             Unit Type: 1 BD; Unit: 901 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.613    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Carlos Reynolds                                                       Contingent
          3018 Tiffin Cir                                                       Unliquidated
          Macon, GA 31204                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7441
                                                                             Unit Type: 1 BD; Unit 901 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.614    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Frederick Rhew                                                        Contingent
          c/o Robert Jones, Attorney at Law                                     Unliquidated
          732 Thimble Shoals Blvd, Suite 901                                    Disputed
          Newport News, VA 23606
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number       7442                         Unit Type: STU; Unit: 903 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.615    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Bobby Rhodes                                                          Contingent
          415 W Hortter St                                                      Unliquidated
          Philadelphia, PA 19119                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7443
                                                                             Unit Type:1 BD; Unit: 916 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.616    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Geoffrey Rhodes                                                       Contingent
          7112 Indian Ridge Ln                                                  Unliquidated
          Charlotte, NC 28214                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7444
                                                                             Unit Type: 1 BD; Unit 916 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.617    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Georgia Rhodes                                                        Contingent
          PO Box 424                                                            Unliquidated
          Waynesboro, GA 30830                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7445
                                                                             Unit Type: 1 BD; Unit: 901 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.618    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Laura Richards                                                        Contingent
          1510 Callaway Loop                                                    Unliquidated
          Conyers, GA 30012                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7446
                                                                             Unit Type: STU; Unit: 911 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.619    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          David Richardson                                                      Contingent
          700 Coventry Ln                                                       Unliquidated
          Florence, SC 29501                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7447
                                                                             Unit Type: 1 BD; Unit 1101 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.620    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Taji Richardson                                                       Contingent
          215 Ridge Bay Ct                                                      Unliquidated
          Greenville, SC 29611                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7450
                                                                             Unit Type: STU; Unit: 907 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.621    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Nicholas Richer                                                       Contingent
          208 Ferry St                                                          Unliquidated
          Abbeville, SC 29620                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7451
                                                                             Unit Type: 1 BD; Unit: 918 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.622    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Chris Risby                                                           Contingent
          7006 Commander Howe Ter                                               Unliquidated
          Brandywine, MD 20613                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7453
                                                                             Unit Type: 1 BD; Unit 1112 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.623    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Eric Rivera                                                           Contingent
          29 Greenfield Ave                                                     Unliquidated
          Staten Island, NY 10304                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7454
                                                                             Unit Type: 1 BD; Unit: 916 (Annual Points)
                                                                             Is the claim subject to offset?     No       Yes




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 3.624    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Christopher Roach                                                     Contingent
          10940 213th St                                                        Unliquidated
          Queens Village, NY 11429                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7456
                                                                             Unit Type: STU; Unit 908 (Annual Float)
                                                                             Unit Type: 1BD; Unit 916 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.625    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Guy Robbs                                                             Contingent
          19087                                                                 Unliquidated
          Highway 221 N                                                         Disputed
          Laurens, SC 29360
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number       7457                         Unit Type: STU; Unit: 904 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.626    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Arther Roberson, Sr.                                                  Contingent
          120 Carolina Ridge Dr                                                 Unliquidated
          Columbia, SC 29229                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7458
                                                                             Unit Type: 1 BD; Unit: 901 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.627    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Archie Robertson                                                      Contingent
          1016 Alston Hill Dr                                                   Unliquidated
          Charlotte, NC 28214                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7459
                                                                             Unit Type: STU; Unit 1105 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.628    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Kenneth Robertson                                                     Contingent
          3326 Venus Dr                                                         Unliquidated
          Durham, NC 27703                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7462
                                                                             Unit Type: STU; Unit: 907 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.629    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Katrina Robinson                                                      Contingent
          4 Rockport Court                                                      Unliquidated
          Greensboro, NC 27406-8773                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7463
                                                                             Unit Type: 1BD; Unit 917 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.630    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Joyce Robinson-Bell                                                   Contingent
          205 Kindlewood Dr                                                     Unliquidated
          Durham, NC 27703                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6761
                                                                             Unit Type: STU; Unit: 903 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.631    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Charla Roby                                                           Contingent
          2912 Martinsville Rd                                                  Unliquidated
          Greensboro, NC 27408                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7466
                                                                             Unit Type: 1 BD; Unit: 918 (Annual Float)
                                                                             Unit Type: 1 BD; Unit: 920 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.632    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Kathryn Rogers                                                        Contingent
          c/o Randy Rogers, PR of Estate                                        Unliquidated
          505 Tyre B Mauldin St                                                 Disputed
          Walhalla, SC 29691
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number       7648                         Unit Type: 1 BD; Unit 901 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.633    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Daniel Root                                                           Contingent
          7421 Matherly Drive                                                   Unliquidated
          Wake Forest, NC 27587                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7468
                                                                             Unit Type: STU; Unit 904 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.634    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Elton Ross                                                            Contingent
          220 Reaves St                                                         Unliquidated
          Raeford, NC 28376                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7471
                                                                             Unit Type: STU; Unit 905 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.635    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Michael Rubino                                                        Contingent
          4160 State Route 5, #8                                                Unliquidated
          Frankfort, NY 13340                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7473
                                                                             Unit Type: STU; Unit 908 (Annual Float)
                                                                             Unit Type: 1 BD; Unit 918 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.636    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Russell Runion                                                        Contingent
          4561 Follansbee Rd                                                    Unliquidated
          Winston Salem, NC 27127                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7474
                                                                             Unit Type: STU; Unit 902 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.637    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          James Russell                                                         Contingent
          1261 Riveroaks Dr                                                     Unliquidated
          Colonial Heights, VA 23834                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7475
                                                                             Unit Type: STU; Unit: 914 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.638    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Michael Russo                                                         Contingent
          428 Stonecrest Lane                                                   Unliquidated
          Gaffney, SC 29341-3446                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7476
                                                                             Unit Type: 1BD; Unit 916 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.639    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Bernadine Sampson                                                     Contingent
          727 Shoreline Cir                                                     Unliquidated
          Schaumburg, IL 60194                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7477
                                                                             Unit Type: STU; Unit 902 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.640    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Cleveland Samuels                                                     Contingent
          1270 Nugget Drive                                                     Unliquidated
           GA 30891-3000                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7478
                                                                             Unit Type: 1BD; Unit 908 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.641    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $130,934.69
          Sand Castle South HOA Inc.                                            Contingent
          c/o Alley Management Inc.                                             Unliquidated
          7400 N. Kings Highway                                                 Disputed
          Myrtle Beach, SC 29572
                                                                             Basis for the claim:    Master Association Dues Owed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.642    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Jane Sander                                                           Contingent
          15705 Ibisridge Drive                                                 Unliquidated
          Lithia, FL 33547                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7480
                                                                             Unit Type: 1 BD; Unit: 1115 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.643    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Davey Sanderson                                                       Contingent
          712 Iva Ln                                                            Unliquidated
          Knoxville, TN 37918                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7481
                                                                             Unit Type: 1 BD; Unit: 920 (Annual Float)
                                                                             Unit Type: 1 BD; Unit: 919 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.644    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Nikolay Sandul                                                        Contingent
          PO Box 188                                                            Unliquidated
          Kleinfeltersville, PA 17039                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7482
                                                                             Unit Type: 1 BD; Unit: 920 (Annual Float)
                                                                             Unit Type: 1 BD; Unit: 921 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.645    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Timothy Sargeant                                                      Contingent
          8803 Cross Chase Cir                                                  Unliquidated
          Fairfax Station, VA 22039                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7483
                                                                             Unit Type: STU; Unit: 906 (Annual Float)
                                                                             Unit Type: 1 BD; Unit: 918 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.646    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Jeffrey T. Sargent                                                    Contingent
          515 Wexford Hollow Run                                                Unliquidated
          Roswell, GA 30075                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7484
                                                                             Unit Type: 1 BD; Unit: 917 (Annual Points)
                                                                             Is the claim subject to offset?     No       Yes


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 3.647    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Jon Sarlea                                                            Contingent
          6626 Parrish Ave                                                      Unliquidated
          Hammond, IN 46323                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7485
                                                                             Unit Type: 1 BD; Unit: 901 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.648    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Anthony Saunders                                                      Contingent
          5936 Kentuck Rd                                                       Unliquidated
          Ringgold, VA 24586                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7487
                                                                             Unit Type: STU; Unit: 910 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.649    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Alfred Saylor                                                         Contingent
          1151 Langley Blvd.                                                    Unliquidated
          Clawson, MI 48017                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7489
                                                                             Unit Type: STU; Unit: 902 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.650    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Veronica Scales                                                       Contingent
          2009 E 18th St                                                        Unliquidated
          Winston Salem, NC 27105                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7490
                                                                             Unit Type: STU; Unit 905 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.651    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Albert Schaefer                                                       Contingent
          PO Box 4585                                                           Unliquidated
          Florence, SC 29502                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7491
                                                                             Unit Type: STU; Unit 914 (Annual Float)
                                                                             Unit Type: 1 BD; Unit 919 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.652    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          John Schaub                                                           Contingent
          13 Deveaux Ct                                                         Unliquidated
          West Columbia, SC 29172                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7492
                                                                             Unit Type: 1 BD; Unit 916 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.653    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Jonathon Schlax                                                       Contingent
          1502 Cassandra Dr                                                     Unliquidated
          Durham, NC 27712                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7493
                                                                             Unit Type: STU; Unit: 903 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.654    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          David Schmidt                                                         Contingent
          PO Box 340                                                            Unliquidated
          Clearwater, SC 29822                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7494
                                                                             Unit Type: STU; Unit 902 (Annual Points)
                                                                             Is the claim subject to offset?     No       Yes

 3.655    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Chelsea Schrader                                                      Contingent
          334 Dellwater Lane                                                    Unliquidated
          Bedford, PA 15522                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       5715
                                                                             Unit Type: 1 BD; Unit: 919 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.656    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Eric Scott                                                            Contingent
          90 Pewter Ln                                                          Unliquidated
          Stafford, VA 22554                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7497
                                                                             Unit Type: STU; Unit: 904 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.657    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Scott Shaffer                                                         Contingent
          51 Keefer Way                                                         Unliquidated
          Mechanicsburg, PA 17055                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6989
                                                                             Unit Type: 1 BD; Unit 919 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.658    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Germari Sharper                                                       Contingent
          416 E Tierra Dr.                                                      Unliquidated
          Florence, SC 29505                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7500
                                                                             Unit Type: STU; Unit 903 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.659    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          David Shaw                                                            Contingent
          7 Wildewood Downs Pt                                                  Unliquidated
          Columbia, SC 29223                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7501
                                                                             Unit Type: STU; Unit: 914 (Biannual Float)
                                                                             Unit Type: 1BR; Unit: 915 (Biannaul Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.660    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Phillip Shaw                                                          Contingent
          317 Snider St                                                         Unliquidated
          High Point, NC 27265                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7502
                                                                             Unit Type: 1 BD; Unit 1101 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.661    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Timothy Shaw                                                          Contingent
          4 Filly Trl                                                           Unliquidated
          Fairfield, PA 17320                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7503
                                                                             Unit Type: STU; Unit: 906 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.662    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Chad Shealy                                                           Contingent
          1989 Dr Bowers Road                                                   Unliquidated
          Little Mountain, SC 29075                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7504
                                                                             Unit Type: STU; Unit 903 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.663    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Harrison Shell                                                        Contingent
          1401 Altama Dr                                                        Unliquidated
          Raleigh, NC 27610                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7506
                                                                             Unit Type: STU; Unit: 902 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.664    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Brian Shelley                                                         Contingent
          302 Maple Avenue                                                      Unliquidated
          Horse Cave, KY 42749                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7508
                                                                             Unit Type: STU; Unit: 910 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.665    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Joanne Sher                                                           Contingent
          24 Amaron Ln                                                          Unliquidated
          Staten Island, NY 10307                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7509
                                                                             Unit Type: 1 BD; Unit 1101 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.666    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Sherry Williams Gee                                                   Contingent
          163 Highgrove Court                                                   Unliquidated
          Raeford, NC                                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7025
                                                                             Unit Type: STU; Unit 903 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.667    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Joshua Shirley                                                        Contingent
          9853 Friendship 7                                                     Unliquidated
          El Paso, TX 79924                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7510
                                                                             Unit Type: 1 BD; Unit: 1120 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.668    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Jessica Short                                                         Contingent
          90 Oak Ln                                                             Unliquidated
          Berwyn, PA 19355                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7511
                                                                             Unit Type: STU; Unit: 906 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.669    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Leslie Shultz                                                         Contingent
          580 Lakeview Dr                                                       Unliquidated
          Elkview, WV 25071                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7512
                                                                             Unit Type: STU; Unit: 1103 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.670    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Denis Silcock                                                         Contingent
          383 Main Street E                                                     Unliquidated
          Apatment 413                                                          Disputed
          Milton, OH L9T 8K8, Canada
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number       7513                         Unit Type: 1 BD; Unit: 920 (Annual Float)
                                                                             Unit Type: 1 BD; Unit: 919 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.671    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Dwayne Simmons                                                        Contingent
          61 E 2nd St                                                           Unliquidated
          Mount Vernon, NY 10550                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7514
                                                                             Unit Type: STU; Unit: 906 (Annual Float)
                                                                             Unit Type: 1 BD; Unit: 918 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.672    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Connie Slade                                                          Contingent
          511 Hodges Dairy Rd                                                   Unliquidated
          Yanceyville, NC 27379                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7516
                                                                             Unit Type: STU; Unit: 914 (Biannual Float)
                                                                             Unit Type: 1 BD; Unit: 915 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.673    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          William Slaughter                                                     Contingent
          1727 Parham Drive                                                     Unliquidated
          Graham, NC 27253                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7517
                                                                             Unit Type: 1BD; Unit: 918 (Annual Float)
                                                                             Unit Type: 1BD; Unit 917 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.674    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Anthony Smith                                                         Contingent
          4304 John Gardner Rd                                                  Unliquidated
          Kershaw, SC 29067                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7520
                                                                             Unit Type: 1 BD; Unit: 921 (Biannual Float)
                                                                             Unit Type: STU; Unit: 909 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.675    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Carla Smith                                                           Contingent
          449 Dorley Rd                                                         Unliquidated
          Spartanburg, SC 29307                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7521
                                                                             Unit Type: STU; Unit: 909 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.676    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Charles Smith                                                         Contingent
          104 Cotton Rd                                                         Unliquidated
          Shelby, NC 28150                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7522
                                                                             Unit Type: STU; Unit: 902 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.677    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Dorothy J. Smith                                                      Contingent
          4538 Bellingham Ct                                                    Unliquidated
          Evans, GA 30809                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7524
                                                                             Unit Type: 1 BD; Unit; 920 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.678    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Edwin Smith                                                           Contingent
          116 Winthrope Way                                                     Unliquidated
          Jacksonville, NC 28546                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7525
                                                                             Unit Type: STU; Unit 904 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.679    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Gordon Smith                                                          Contingent
          P.O. Box 395                                                          Unliquidated
          Kitscoty, AB, T0B 2P0, Canada                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7526
                                                                             Unit Type: 1 BD; Unit: 1116 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.680    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          James Smith, Jr.                                                      Contingent
          744 Douglas Road                                                      Unliquidated
          Gray Court, SC 29645                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7527
                                                                             Unit Type: STU; Unit 1114 (Biannual Float)
                                                                             Unit Type: 1BD; Unit 1115 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.681    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Kenneth Smith                                                         Contingent
          455 Sells Road                                                        Unliquidated
          Bluff City, TN 37618                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7528
                                                                             Unit Type: 1BD; Unit 917 (Annual Float)
                                                                             Unit Type: STU; Unit 909 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.682    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Sharron Smith                                                         Contingent
          3815 Atlas Drive                                                      Unliquidated
          Charlotte, NC 28269                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7529
                                                                             Unit Type: STU; Unit 902 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.683    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Stacey Smith                                                          Contingent
          2514 Edfeldt Dr                                                       Unliquidated
          District Heights, MD 20747                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7530
                                                                             Unit Type: 1 BD; Unit: 918 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.684    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Stephanie Smith                                                       Contingent
          5606 Birch Rd                                                         Unliquidated
          Fayetteville, NC 28304                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       0490
                                                                             Unit Type: STU; Unit 902 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.685    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Steven Smith                                                          Contingent
          303 Conley St                                                         Unliquidated
          Greenville, NC 27834                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7531
                                                                             Unit Type: 1 BD; Unit: 916 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.686    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Van Smith                                                             Contingent
          3088 Youngs Park Dr                                                   Unliquidated
          Westville, SC 29175                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7532
                                                                             Unit Type: 1 BD; Unit 1119 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.687    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Henry Smoke, III                                                      Contingent
          7825 Ginger Ln                                                        Unliquidated
          Charleston, SC 29420                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7533
                                                                             Unit Type: 1 BD; Unit 915 (Biannual Float)
                                                                             Unit Type: STU; Unit 914 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.688    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Nicky J. Smyre                                                        Contingent
          2407 33rd Ave NE                                                      Unliquidated
          Hickory, NC 28601                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7534
                                                                             Unit Type: STU; Unit: 907 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.689    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Alan Sneed                                                            Contingent
          PO Box 523                                                            Unliquidated
          Black Mountain, NC 28711                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7535
                                                                             Unit Type: 1 BD; Unit 1101 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.690    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Christopher Snider                                                    Contingent
          2224 Old Farmer Rd                                                    Unliquidated
          Asheboro, NC 27205                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7536
                                                                             Unit Type: STU; Unit: 904 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.691    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Wayne Snow                                                            Contingent
          782 Pembroke Way                                                      Unliquidated
          Charles Town, WV 25414                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7537
                                                                             Unit Type: 1 BD; Unit 1116 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.692    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Robert Solomon, Jr.                                                   Contingent
          8023 Old Philadelphia Rd                                              Unliquidated
          Baltimore, MD 21237                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7539
                                                                             Unit Type: STU; Unit: 907 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.693    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Terrace Solomon                                                       Contingent
          25 Vineland Lane                                                      Unliquidated
          Coatesville, PA 19320                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7540
                                                                             Unit Type: STU; Unit 914 (Annual Float)
                                                                             Unit Type: 1BD; Unit 915 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.694    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          David Sosa                                                            Contingent
          2538 Lillington Hwy                                                   Unliquidated
          Spring Lake, NC 28390-1848                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7542
                                                                             Unit Type: STU; Unit 1114 (Biannual Float)
                                                                             Unit Type: 1BD; Unit 1115 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.695    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Andrew Southerland                                                    Contingent
          513 E Pollock St                                                      Unliquidated
          Mount Olive, NC 28365                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7543
                                                                             Unit Type: STU; Unit: 911 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.696    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Charles Sparwasser                                                    Contingent
          7872 Saint Fabian Ln                                                  Unliquidated
          Dundalk, MD 21222                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7544
                                                                             Unit Type: STU; Unit: 904 (Biennial Points)
                                                                             Is the claim subject to offset?     No       Yes

 3.697    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          John Spears                                                           Contingent
          4072 Banbridge Drive                                                  Unliquidated
          High Point, NC 27260                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7545
                                                                             Unit Type: 1 BD; Unit: 901 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.698    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Spencer Boose                                                         Contingent
          9787 Old Mill Road                                                    Unliquidated
          Leland, NC 28451                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6787
                                                                             Unit Type: STU; Unit: 912 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.699    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Nora Squires                                                          Contingent
          7221 S Kipling Pl                                                     Unliquidated
          Painesville, OH 44077                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7547
                                                                             Unit Type: 1 BD; Unit 1121 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.700    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Joyce Stallings                                                       Contingent
          3885 Tower HIll Road                                                  Unliquidated
          Kinston, NC 28501                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7548
                                                                             Unit Type: STU; Unit: 907 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.701    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Margaret Steed                                                        Contingent
          120 E Watkins St                                                      Unliquidated
          Augusta, GA 30901                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7550
                                                                             Unit Type: 1 BD; Unit: 916 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.702    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Ashley Steen                                                          Contingent
          335 Richmond Dr                                                       Unliquidated
          Fayetteville, NC 28472                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7552
                                                                             Unit Type: STU; Unit 904 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.703    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Wendy Stein                                                           Contingent
          213 Princess Dr                                                       Unliquidated
          Garner, NC 27529                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7553
                                                                             Unit Type: STU; Unit 1103 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.704    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Marian Stepniewski                                                    Contingent
          40 Lacebark Ln                                                        Unliquidated
          Elgin, SC 29045                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7554
                                                                             Unit Type: STU; Unit 905 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.705    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          David Stewart                                                         Contingent
          c/o Klein & Sheridan, LC                                              Unliquidated
          3566 Teays Valley Rd                                                  Disputed
          Hurricane, WV 25526
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number       7557                         Unit Type: STU; Unit: 902 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.706    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Walter Stokes                                                         Contingent
          264 Pearson Hill Road                                                 Unliquidated
          Roanoke Rapids, NC 27870                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7560
                                                                             Unit Type: STU; Unit 908 (Annual Float)
                                                                             Unit Type: 1BD; Unit 916 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.707    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Jeffery Story                                                         Contingent
          250 Rivers Circle                                                     Unliquidated
          Thomson, GA 30824                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       6032
                                                                             Unit Type: STU; Unit: 906 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.708    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Stewart Strothers, III                                                Contingent
          5524 Berry Hill Rd                                                    Unliquidated
          Norfolk, VA 23502                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7565
                                                                             Unit Type: STU; Unit: 908 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.709    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Lawrence Stuckey, III                                                 Contingent
          2059 Spring Hill Rd                                                   Unliquidated
          Dalzell, SC 29040                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7566
                                                                             Unit Type: 1 BD; Unit: 901 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.710    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Curtis Suber                                                          Contingent
          10123 Broad River Rd                                                  Unliquidated
          Pomaria, SC 29126                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7568
                                                                             Unit Type: 1 BD; Unit 920 (Biannual Float)
                                                                             Unit Type: 1 BD; Unit 921 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.711    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $56,708.90
          Sun Hospitality Resort Services                                       Contingent
          4724 Hwy 17 Bypass South                                              Unliquidated
          Myrtle Beach, SC 29588                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services Provided, Housekeeping
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.712    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Eric Surratt                                                          Contingent
          8637 Danville Pike                                                    Unliquidated
          Hillsville, VA 24343                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7569
                                                                             Unit Type: STU; Unit 908 (Annual Float)
                                                                             Unit Type: 1 BD; Unit 918 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.713    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          James E. Sutton                                                       Contingent
          6464 Gold Dr.                                                         Unliquidated
          Battleboro, NC 27809                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7571
                                                                             Unit Type: STU; Unit: 901 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.714    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Lynn Swinney, Jr.                                                     Contingent
          9906 Hamilton Dr                                                      Unliquidated
          Douglasville, GA 30135                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7573
                                                                             Unit Type: 1 BD; Unit 1119 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.715    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Lillian Sydenstricker                                                 Contingent
          124 Township Rd 1290                                                  Unliquidated
          Chesapeake, OH 45619                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7574
                                                                             Unit Type: STU; Unit: 914 (Annual Float)
                                                                             Unit Type: 1 BD; Unit: 915 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.716    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Ruben Tacas                                                           Contingent
          8411 Morrell Ln                                                       Unliquidated
          Durham, NC 27713                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7576
                                                                             Unit Type: 1 BD; Unit: 918 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.717    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Gregory Tackett                                                       Contingent
          640 Mare Crk                                                          Unliquidated
          Stanville, KY 41659                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7577
                                                                             Unit Type: STU; Unit: 1114 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.718    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Eduardo Tanaka                                                        Contingent
          107 Banyon Tree Ln                                                    Unliquidated
          Cary, NC 27513                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7578
                                                                             Unit Type: 1BD; Unit: 918 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.719    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Michael Tanksley                                                      Contingent
          516 Hillwood Cir                                                      Unliquidated
          Augusta, GA 30909                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7579
                                                                             Unit Type: STU; Unit: 914 (Annual Float)
                                                                             Unit Type: 1 BD; Unit: 915 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.720    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Debra Taylor                                                          Contingent
          10 Taylor Rd                                                          Unliquidated
          Spring Lake, NC 28390                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7580
                                                                             Unit Type: STU; Unit: 905 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.721    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Dijon Taylor                                                          Contingent
          159 Kingsboro Road                                                    Unliquidated
          Rochester, NY 14619                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7581
                                                                             Unit Type: STU; Unit 1109 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.722    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Jeffrey Taylor                                                        Contingent
          11403 Vega Ct                                                         Unliquidated
          Upper Marlboro, MD 20774                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7582
                                                                             Unit Type: 1 BD; Unit: 901 (Annual Points)
                                                                             Is the claim subject to offset?     No       Yes

 3.723    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Lance Taylor                                                          Contingent
          45 Young Ave                                                          Unliquidated
          Cedar Grove, NJ 07009                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7583
                                                                             Unit Type: 1 BD; Unit: 915 (Biannual Float)
                                                                             Unit Type: STU; Unit: 914 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.724    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Sue Taylor                                                            Contingent
          455 New Churchmans Rd                                                 Unliquidated
          New Castle, DE 19720                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7584
                                                                             Unit Type: STU; Unit: 902 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.725    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Joseph Teague                                                         Contingent
          1716 Drew Allen Rd                                                    Unliquidated
          Williamson, GA 30292                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7585
                                                                             Unit Type: 1 BD; Unit: 916 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.726    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Alan Templeton                                                        Contingent
          2545 McLean Chapel Church Rd                                          Unliquidated
          Bunnlevel, NC 28323                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7586
                                                                             Unit Type: 1BD; Unit: 915 (Annual Float)
                                                                             Unit Type: STU; Unit 914 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.727    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Ronald Tharp                                                          Contingent
          2294 George Hayes Rd                                                  Unliquidated
          Boone, NC 28607                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7587
                                                                             Unit Type: 1 BD; Unit: 901 (Annual Float)
                                                                             Unit Type: 1 BD; Unit: 916 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.728    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Kendall Thomas                                                        Contingent
          55 Pleasant Ave, Apt 2FL                                              Unliquidated
          Johnson City, NY 13790                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7589
                                                                             Unit Type: STU; Unit: 911 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.729    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          William Thomas                                                        Contingent
          3032 Lake Rd                                                          Unliquidated
          Apt D                                                                 Disputed
          Elmira, NY 14903
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number       7590                         Unit Type: 1 BD; Unit: 915 (Annual Points)
                                                                             Is the claim subject to offset?     No       Yes

 3.730    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Anthony Thompkins                                                     Contingent
          632 Oats Street                                                       Unliquidated
          Johnsonville, SC 29555                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       0491
                                                                             Unit Type: STU; Unit 904 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.731    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Adam Thompson                                                         Contingent
          3102 Indigo Pl                                                        Unliquidated
          Seffner, FL 33584                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7591
                                                                             Unit Type: 1 BD; Unit 916 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.732    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Earl Thompson                                                         Contingent
          3735 Lystra Rd                                                        Unliquidated
          Chapel Hill, NC 27517                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7594
                                                                             Unit Type: STU; Unit: 909 (Annual Float)
                                                                             Unit Type: 1 BD; Unit: 917 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.733    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Buddy Thompson, Sr.                                                   Contingent
          1323 Bonlee Bennett Rd                                                Unliquidated
          Bonlee, NC 27213                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7592
                                                                             Unit Type: STU; Unit: 903 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.734    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          William Thornton                                                      Contingent
          PO Box 246                                                            Unliquidated
          Tobaccoville, NC 27050-0246                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7596
                                                                             Unit Type: 1BD; Unit: 1121 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.735    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Ryan Thurman                                                          Contingent
          2004 Waldner Ct                                                       Unliquidated
          Crestwood, KY 40014                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7597
                                                                             Unit Type: STU; Unit: 911 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.736    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Ervin Tisdale, Sr.                                                    Contingent
          4013 Chatham Rd                                                       Unliquidated
          Baltimore, MD 21207                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7598
                                                                             Unit Type: 1 BD; Unit: 1115 (Annual Float)
                                                                             Unit Type: STU; Unit: 1114 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.737    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Clarence Toliver, Jr.                                                 Contingent
          570 3rd St                                                            Unliquidated
          Albany, NY 12206                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7599
                                                                             Unit Type: STU; Unit 1111 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.738    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Deborah Tolles                                                        Contingent
          2327 Treescape Drive                                                  Unliquidated
          Apartment 7                                                           Disputed
          Charleston, SC 29414
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number       7600                         Unit Type: STU; Unit: 909 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.739    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Roland Tomah                                                          Contingent
          106 Ashbourne Rd                                                      Unliquidated
          Irmo, SC 29063                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7601
                                                                             Unit Type: 1 BD; Unit 1118 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.740    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Joseph Tonsel, Jr.                                                    Contingent
          2650 Lexington St                                                     Unliquidated
          Harrisburg, PA 17110                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7602
                                                                             Unit Type: 1 BD; Unit 1101 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.741    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Robert Torrisi                                                        Contingent
          3611 Melvin Dr S                                                      Unliquidated
          Baldwinsville, NY 13027                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7603
                                                                             Unit Type: STU; Unit: 1103 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.742    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Frank Tracy                                                           Contingent
          14343 Niezes Cir                                                      Unliquidated
          Winter Garden, FL 34787                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7604
                                                                             Unit Type: 1 BD; Unit: 918 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.743    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          James Treadaway                                                       Contingent
          548 Watts Ln                                                          Unliquidated
          Camden, SC 29020                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7605
                                                                             Unit Type: STU; Unit: 904 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.744    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Craig Treece                                                          Contingent
          1520 High Top Rd                                                      Unliquidated
          Knoxville, TN 37914                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7606
                                                                             Unit Type: 1 BD; Unit: 901 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.745    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Maria Tressler                                                        Contingent
          PO Box 145                                                            Unliquidated
          Milligan College, TN 37682                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7607
                                                                             Unit Type: STU; Unit: 908 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.746    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Thomas Tricka                                                         Contingent
          9716 Alvin Drive                                                      Unliquidated
          Shippensburg, PA 17257                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7608
                                                                             Unit Type: STU; Unit: 904 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.747    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Stacey Trotman                                                        Contingent
          947 Renfrew St                                                        Unliquidated
          Essex, MD 21221                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7609
                                                                             Unit Type: 1 BD; Unit: 916 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.748    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $333.47
          TSA Choice                                                            Contingent
          108 Asheville Comerce Pkwy                                            Unliquidated
          Candler, NC 28715                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.749    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Dennis D. Tucholski                                                   Contingent
          Taylor Moore Law, LLC                                                 Unliquidated
          Taylor Charles Moore                                                  Disputed
          431 S. Jefferson, Suite 116B
          Springfield, MO 65806                                              Basis for the claim:    NOTICE PURPOSES ONLY
          Date(s) debt was incurred
                                                                             Unit Type: STU; Unit: 905 (Annual Fixed)
          Last 4 digits of account number       7610
                                                                             Is the claim subject to offset?     No       Yes

 3.750    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Michael Tucker                                                        Contingent
          64 Larned Road                                                        Unliquidated
          Pennellville, NY 13132                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7611
                                                                             Unit Type: 1BD; Unit 1117 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.751    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Clifton Turner                                                        Contingent
          2641 Vienna Dozier Rd                                                 Unliquidated
          Pfafftown, NC 27040                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7612
                                                                             Unit Type: 1 BD; Unit: 901 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.752    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Earnest Turner                                                        Contingent
          3924 Grape Avenue                                                     Unliquidated
          Augusta, GA 30909                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7613
                                                                             Unit Type: STU; Unit 908 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.753    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Darrien S. Tutt                                                       Contingent
          323 W Champlost St                                                    Unliquidated
          Philadelphia, PA 19120                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7614
                                                                             Unit Type: STU; Unit: 908 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.754    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Mary Tutterow                                                         Contingent
          1251 Bethune Way                                                      Unliquidated
          The Villages, FL 32162                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7615
                                                                             Unit Type: STU; Unit: 908 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.755    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          April Tyler                                                           Contingent
          1505 Joy Anne Ct                                                      Unliquidated
          Mount Holly, NC 28120                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7616
                                                                             Unit Type: 1 BD; Unit 1119 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.756    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Jerry Uadiski                                                         Contingent
          5699 Route 259 Hwy                                                    Unliquidated
          Homer City, PA 15748                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7617
                                                                             Unit Type: STU; Unit 906 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.757    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Rex Uhl                                                               Contingent
          4221 Henderson Rd                                                     Unliquidated
          Greensboro, NC 27410                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7618
                                                                             Unit Type: STU; Unit: 907 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.758    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Sandra Utria                                                          Contingent
          131 Kensington Ave, Apt B6                                            Unliquidated
          Jersey City, NJ 07304                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7620
                                                                             Unit Type: STU; Unit 910 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.759    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $67,979.85
          Vacation Weeks, LLC a/k/a Blue Water                                  Contingent
          One Vance Gap Road                                                    Unliquidated
          Asheville, NC 28805                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Payroll Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.760    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Rejimon Varghese                                                      Contingent
          3651 Cherry Hill Dr                                                   Unliquidated
          Greensboro, NC 27410                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7623
                                                                             Unit Type: STU; Unit: 906 (Annual Float)
                                                                             Unit Type: 1 BD; Unit: 920 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.761    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Ruben Vasquez                                                         Contingent
          127B S Rosewell Ave                                                   Unliquidated
          South Amboy, NJ 08879                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7624
                                                                             Unit Type: 1 BD; Unit: 901 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.762    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Robert Vaughan                                                        Contingent
          2341 Fishing Creek Rd                                                 Unliquidated
          North Wilkesboro, NC 28659                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7625
                                                                             Unit Type: STU; Unit: 903 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.763    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Karen Vaught                                                          Contingent
          3409 Buckwood Trl                                                     Unliquidated
          Salem, VA 24153                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7627
                                                                             Unit Type: STU; Unit: 914 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.764    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Arturo Vazquez                                                        Contingent
          1712 S Alston Ave                                                     Unliquidated
          Durham, NC 27707                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7628
                                                                             Unit Type: STU; Unit: 902 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.765    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Nancy Vazquez                                                         Contingent
          59 Wilson St                                                          Unliquidated
          New Haven, CT 06519                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7629
                                                                             Unit Type: STU; Unit: 903 (Biennial Points)
                                                                             Is the claim subject to offset?     No       Yes

 3.766    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Mark Venable                                                          Contingent
          102 Parkway Dr                                                        Unliquidated
          Easley, SC 29640                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7630
                                                                             Unit Type: 1 BD; Unit 920 (Biannual Float)
                                                                             Unit Type: 1 BD; Unit 921 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.767    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Anna Viers                                                            Contingent
          238 Westwood Dr                                                       Unliquidated
          Columbia, KY 42728                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7631
                                                                             Unit Type: 1 BD; Unit: 1101 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.768    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Robert Vittitoe                                                       Contingent
          17101 Mallett Dr                                                      Unliquidated
          Louisville, KY 40245                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7632
                                                                             Unit Type: 1 BD; Unit: 917 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.769    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Charles Wagner                                                        Contingent
          42 Moyer Avenue                                                       Unliquidated
          Charleroi, PA 15022                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7633
                                                                             Unit Type: 1BD; Unit: 915 (Annual Float)
                                                                             Unit Type: STU: Unit 912 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.770    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          James Wagner, Jr.                                                     Contingent
          5360 Altenwald Rd                                                     Unliquidated
          Waynesboro, PA 17268                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7634
                                                                             Unit Type: 1 BD; Unit: 901 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.771    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Albert Walker                                                         Contingent
          c/o Beverly Mayes                                                     Unliquidated
          5964 Stanleyville Dr                                                  Disputed
          Rural Hall, NC 27045
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Date(s) debt was incurred
          Last 4 digits of account number       7635                         Unit Type: STU; Unit: 1114 (Annual Float)
                                                                             Unit Type: 1 BD; Unit: 1115 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.772    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Kenneth Walker                                                        Contingent
          6508 Century Ln                                                       Unliquidated
          Burton, MI 48509-2380                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7637
                                                                             Unit Type: STU; Unit 906 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.773    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Maurice Walker, Sr.                                                   Contingent
          468 Julia Dr                                                          Unliquidated
          Romeoville, IL 60446                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7638
                                                                             Unit Type: STU; Unit: 904 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.774    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Sherman Wallace, Jr.                                                  Contingent
          420 Folkstone Rd                                                      Unliquidated
          Columbia, SC 29223                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7639
                                                                             Unit Type: STU; Unit: 903 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.775    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Nakesha Walton                                                        Contingent
          709 Kings Crest Dr                                                    Unliquidated
          Stafford, VA 22554                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7641
                                                                             Unit Type: STU; Unit 906 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.776    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Robert Walton                                                         Contingent
          514 Rocky Creek Rd                                                    Unliquidated
          Johnston, SC 29832                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7642
                                                                             Unit Type: 1 BD; Unit: 901 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.777    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Paul Wassell                                                          Contingent
          4021 Westernport Rd                                                   Unliquidated
          Westernport, MD 21562                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7644
                                                                             Unit Type: 1 BD; Unit 920 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.778    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Dallas Waters                                                         Contingent
          1112 Williams Ln                                                      Unliquidated
          Elberton, GA 30635                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7645
                                                                             Unit Type: STU; Unit: 903 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.779    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Kenneth Watson                                                        Contingent
          3915 Northrop Drive                                                   Unliquidated
          Haw River, NC 27258                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7649
                                                                             Unit Type: 1BR; Unit: 1115 (Biannual Float)
                                                                             Unit Type: STU; Unit: 1114 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.780    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Warrell Watson                                                        Contingent
          10312 Millarden Rd                                                    Unliquidated
          Woodbury, GA 30293                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       0492
                                                                             Unit Type: STU; Unit 905 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.781    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Robyn Weatherford                                                     Contingent
          810 Simpson Ln                                                        Unliquidated
          Hartsville, SC 29550                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7651
                                                                             Unit Type: 1BD; Unit: 920 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.782    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          John Welborn                                                          Contingent
          PO Box 284                                                            Unliquidated
          Glen Alpine, NC 28628                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7652
                                                                             Unit Type: 1 BD; Unit: 919 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.783    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Zereda M. Wells                                                       Contingent
          8400 Reed Rd                                                          Unliquidated
          Stony Creek, VA 23882                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7653
                                                                             Unit Type: 1 BD; Unit: 917 (Annual Points)
                                                                             Is the claim subject to offset?     No       Yes



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 3.784    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Robert Wert, Jr.                                                      Contingent
          2829 Meade Dr                                                         Unliquidated
          Grand Prairie, TX 75052                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7654
                                                                             Unit Type: 1 BD; Unit: 920 (Annual Float)
                                                                             Unit Type: 1 BD; Unit: 921 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.785    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Cameron Wesley, Sr.                                                   Contingent
          116 Melstone Dr                                                       Unliquidated
          Hopkins, SC 29061                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7655
                                                                             Unit Type: STU; Unit: 906 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.786    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Tyronza Wesley                                                        Contingent
          2 Culupa Ct                                                           Unliquidated
          Blythewood, SC 29016                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7656
                                                                             Unit Type: STU; Unit: 908 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.787    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Chet West                                                             Contingent
          3209 Gresham Lake Rd                                                  Unliquidated
          Raleigh, NC 27615                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7657
                                                                             Unit Type: STU; Unit: 902 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.788    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Charles Wetmore, II                                                   Contingent
          232 University Pkwy                                                   Unliquidated
          Okatie, SC 29909                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       4209
                                                                             Unit Type: 1 BD; Unit 917 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.789    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Thomas Whalen                                                         Contingent
          45 Davis St                                                           Unliquidated
          Meriden, CT 06450                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7658
                                                                             Unit Type: 1 BD; Unit: 1115 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.790    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Rodney White                                                          Contingent
          1314 Shirebourn                                                       Unliquidated
          Hickory, NC 28602                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7659
                                                                             Unit Type: 1 BD; Unit: 916 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.791    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Wayne White                                                           Contingent
          10 Twin Springs Dr                                                    Unliquidated
          Fredericksburg, VA 22407                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7660
                                                                             Unit Type: 1 BD; Unit: 902 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.792    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Hugh Whitley                                                          Contingent
          219 Franklin St                                                       Unliquidated
          Albemarle, NC 28001                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7661
                                                                             Unit Type: STU; Unit: 905 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.793    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          John Whitworth                                                        Contingent
          1140 Longbranch Rd                                                    Unliquidated
          Grover, NC 28073                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7663
                                                                             Unit Type: 1 BD; Unit 1119 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.794    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Robert Wiggins                                                        Contingent
          90 Conklin Avenue                                                     Unliquidated
          Binghamton, NY 13903                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7665
                                                                             Unit Type: 1-BD; Unit: 916 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.795    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Christopher Wilcken                                                   Contingent
          23 Oriole Path                                                        Unliquidated
          Liverpool, NY 13090                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7667
                                                                             Unit Type: STU; Unit 905 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.796    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Arnold Wilkerson                                                      Contingent
          793 Lester Rd                                                         Unliquidated
          Chatham, VA 24531                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7669
                                                                             Unit Type: 1 BD; Unit: 919 (Annual Float)
                                                                             Unit Type: STU; Unit 914 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.797    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Robert Wilks, Sr.                                                     Contingent
          6014 Surrey Square Ln, Apt. T3                                        Unliquidated
          District Heights, MD 20747                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7670
                                                                             Unit Type: 1 BD; Unit 920 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.798    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Westley Williams, Jr.                                                 Contingent
          1300 Ridgeway Rd                                                      Unliquidated
          Lugoff, SC 29078                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7673
                                                                             Unit Type: STU; Unit: 903 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.799    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Keith Williams                                                        Contingent
          8114 Solace Ct                                                        Unliquidated
          Charlotte, NC 28269                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7674
                                                                             Unit Type: 1 BD; Unit: 901 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.800    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Leatha Williams                                                       Contingent
          366 Ridenour Ln                                                       Unliquidated
          Jacksboro, TN 37757                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7675
                                                                             Unit Type: 1 BD; Unit: 916 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.801    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Lisa L. Williams                                                      Contingent
          7209 Stuart Dr                                                        Unliquidated
          Raleigh, NC 27615                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7676
                                                                             Unit Type: STU; Unit: 903 (Biannual Float)
                                                                             Unit Type: 1 BD; Unit: 918 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.802    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Mark Williams                                                         Contingent
          2930 NE Gilmer Avenue                                                 Unliquidated
          Winston Salem, NC 27105                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7677
                                                                             Unit Type: 1BD; Unit 921 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.803    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Reamus Williams                                                       Contingent
          177 Hitchcock Rd                                                      Unliquidated
          Aiken, SC 29803                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7678
                                                                             Unit Type: STU; Unit: 902 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.804    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Douglas L. Williamson                                                 Contingent
          PO Box 1253                                                           Unliquidated
          Hartsville, SC 29551                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7680
                                                                             Unit Type: STU; Unit: 905 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.805    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          John Williford                                                        Contingent
          386 Yesebehena Cir                                                    Unliquidated
          Rock Hill, SC 29730                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7681
                                                                             Unit Type: STU; Unit: 905 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.806    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Betty Wilson                                                          Contingent
          346 Clark Ct                                                          Unliquidated
          Dillon, SC 29536                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7682
                                                                             Unit Type: 1 BD; Unit 1101 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.807    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Gerry Wilson                                                          Contingent
          1873 Bethel New Hope Rd                                               Unliquidated
          Bethel, OH 45106                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7684
                                                                             Unit Type: 1 BD; Unit: 1115 (Biannual Float)
                                                                             Unit Type: STU; Unit 1114 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.808    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          James Wilson                                                          Contingent
          2675 Maidenhair Ln                                                    Unliquidated
          Sumter, SC 29153                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7685
                                                                             Unit Type: STU; Unit: 903 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.809    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Layden Wilson                                                         Contingent
          106 Oak St                                                            Unliquidated
          Spring Church, PA 15686                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7686
                                                                             Unit Type: STU; Unit: 1114 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.810    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Charles Witherspoon, Jr.                                              Contingent
          135 W Morehead Street                                                 Unliquidated
          Charlotte, NC 28202                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7687
                                                                             Unit Type: 1 BD; Unit: 901 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.811    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Withumsmith+Brown, PC                                                 Contingent
          PO Box 5340                                                           Unliquidated
          Princeton, NJ 08543                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.812    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Michael Wolf                                                          Contingent
          12925 Hwy 902 NC                                                      Unliquidated
          Bear Creek, NC 27207                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7688
                                                                             Unit Type: 1 BD; Unit: 915 (Biannual Float)
                                                                             Unit Type: STU; Unit: 914 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.813    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          William Wolf                                                          Contingent
          4165 Saddlehorn Dr                                                    Unliquidated
          Evans, GA 30809                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7689
                                                                             Unit Type: 1BD; Unit: 916 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.814    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Madeline Wood                                                         Contingent
          400 Avinger Lane, #905                                                Unliquidated
          Davidson, NC 28036                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7691
                                                                             Unit Type: 1 BD; Unit: 915 (Annual Points)
                                                                             Unit Type: STU; Unit: 914 (Annual Points)
                                                                             Is the claim subject to offset?     No       Yes

 3.815    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Virginia Woodcock                                                     Contingent
          13588 Greenwood Rd                                                    Unliquidated
          Glen Allen, VA 23059                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7693
                                                                             Unit Type: 1 BD; Unit: 921 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.816    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Robert Woods                                                          Contingent
          11 Arnold Rd SE                                                       Unliquidated
          Statham, GA 30666                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7692
                                                                             Unit Type: STU; Unit: 905 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.817    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Ronald Worsham                                                        Contingent
          401 E Main St                                                         Unliquidated
          Mount Orab, OH 45154                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7694
                                                                             Unit Type: 1 BD; Unit 1101 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.818    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Angele Wright                                                         Contingent
          2629 Lake Capri Dr                                                    Unliquidated
          Conyers, GA 30012                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7695
                                                                             Unit Type: STU; Unit: 902 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes



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 3.819    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Dennis Wright                                                         Contingent
          10849 W Oak Hill Rd                                                   Unliquidated
          Birdseye, IN 47513                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7696
                                                                             Unit Type: STU; Unit: 1103 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.820    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Joseph Wright, Sr.                                                    Contingent
          4512 Biesterfield Dr                                                  Unliquidated
          Charlotte, NC 28216                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7697
                                                                             Unit Type: STU; Unit 904 (Annual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.821    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Gary Wynn                                                             Contingent
          3846 Belair Rd                                                        Unliquidated
          Augusta, GA 30909                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7698
                                                                             Unit Type: STU; Unit 1114 (Biannual Float)
                                                                             Unit Type: 1 BD; Unit 1115 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.822    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Henry Yeldell                                                         Contingent
          268 Plum Branch Rd                                                    Unliquidated
          Edgefield, SC 29824                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7699
                                                                             Unit Type: 1 BD; Unit 918 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes

 3.823    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Douglas Young                                                         Contingent
          987 Hiles Rd                                                          Unliquidated
          Lucasville, OH 45648                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
          Last 4 digits of account number       7701
                                                                             Unit Type: STU; Unit 1103 (Biannual Float)
                                                                             Is the claim subject to offset?     No       Yes




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 3.824     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                       $0.00
           Doye Young                                                           Contingent
           122 Country Ln                                                       Unliquidated
           Easley, SC 29642                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
           Last 4 digits of account number      7702
                                                                             Unit Type: 1BD; Unit 1115 (Annual Float)
                                                                             Unit Type: STU; Unit 1114 (Annual Float)
                                                                             Is the claim subject to offset?       No     Yes

 3.825     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                       $0.00
           Jennifer Young                                                       Contingent
           PO Box 169                                                           Unliquidated
           Downs, IL 61736                                                      Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
           Last 4 digits of account number      7703
                                                                             Unit Type: 1BD; Unit: 1121 (Biannual Float)
                                                                             Is the claim subject to offset?       No     Yes

 3.826     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                       $0.00
           John Zimmerman                                                       Contingent
           68 Sandra Dr                                                         Unliquidated
           Newport News, VA 23608                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
           Last 4 digits of account number      7706
                                                                             Unit Type: STU; Unit: 1114 (Biannual Float)
                                                                             Unit Type: 1 BD; Unit: 1115 (Biannual Float)
                                                                             Is the claim subject to offset?       No     Yes

 3.827     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                       $0.00
           Edward Zywczok                                                       Contingent
           13 Brant Ave                                                         Unliquidated
           St Thomas ON N5R1Z4                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE PURPOSES ONLY
           Last 4 digits of account number      7707
                                                                             Unit Type: 1 BD; Unit 919 (Annual Float)
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                        42,585.81
 5b. Total claims from Part 2                                                                            5b.   +    $                       783,925.24

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                          826,511.05



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 144 of 144
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 Fill in this information to identify the case:

 Debtor name         Sand Castle South Timeshare Owners Association, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF SOUTH CAROLINA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired
                                                                                lease

 2.1.        State what the contract or                   Maintenance for the
             lease is for and the nature of               timeshare units.
             the debtor's interest

                  State the term remaining
                                                                                    CRM of the Carolinas, LLC
             List the contract number of any                                        3660 Old Kings Hwy
                   government contract                                              Murrells Inlet, SC 29576


 2.2.        State what the contract or                   Management Company
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                    LaTour Hotels and Resorts, Inc.
             List the contract number of any                                        One Vance Gap Road
                   government contract                                              Asheville, NC 28805


 2.3.        State what the contract or                   Timeshare exchange
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                    Resort Travel and Xchange, Inc.
             List the contract number of any                                        One Vance Gap Road
                   government contract                                              Asheville, NC 28805


 2.4.        State what the contract or                   Collection and loan
             lease is for and the nature of               services
             the debtor's interest

                  State the term remaining
                                                                                    Zealandia Capital, Inc
             List the contract number of any                                        One Vance Gap Road
                   government contract                                              Asheville, NC 28805




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Sand Castle South Timeshare Owners Association, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF SOUTH CAROLINA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Sand Castle South Timeshare Owners Association, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF SOUTH CAROLINA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                               $117,614.22
       From 1/01/2019 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                             $1,037,000.74
       From 1/01/2018 to 12/31/2018
                                                                                                   Other


       For year before that:                                                                       Operating a business                               $939,758.62
       From 1/01/2017 to 12/31/2017
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




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       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               Cherokee Motels, Inc.                                                                        $40,000.00                Secured debt
               PO Box 1362                                                                                                            Unsecured loan repayments
               Myrtle Beach, SC 29578
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other


       3.2.
               The Debtor made payments to other                                                              Unknown                 Secured debt
               creditors within the 90 days before                                                                                    Unsecured loan repayments
               filing; however, the aggregate to each                                                                                 Suppliers or vendors
               of these creditors was less than $6,825.                                                                               Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                  Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case             Court or agency's name and                  Status of case
               Case number                                                                 address




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               Case title                                       Nature of case               Court or agency's name and             Status of case
               Case number                                                                   address
       7.1.    Michael Gerber vs. Sand                          The Debtor has               Horry County Circuit Court                  Pending
               Castle Southbeach, LLC,                          been dismissed                                                           On appeal
               Sand Castle South Beach                          from this action.                                                        Concluded
               Rental Management
               Company, LLC, Sand Castle
               South Condo, LLC, Sand
               Castle South Homeowners'
               Association, Inc., and Sand
               Castle South Timeshare
               Owners Association, Inc.
               2018-CP-26-02536

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                     Description of the gifts or contributions                  Dates given                            Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss             Value of property
       how the loss occurred                                                                                                                                      lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 3
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                 Who was paid or who received                        If not money, describe any property transferred           Dates                Total amount or
                 the transfer?                                                                                                                               value
                 Address
       11.1.     Nexsen Pruet, LLC
                 1230 Main Street, Suite 700
                 (29201)
                 PO Box 2426                                         Retainer for bankruptcy consultation,                     March 18,
                 Columbia, SC 29202                                  preparation and filing.                                   2019                     $75,000.00

                 Email or website address
                 rmendoza@nexsenpruet.com

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers               Total amount or
                                                                                                                      were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                           Description of property transferred or                   Date transfer              Total amount or
               Address                                          payments received or debts paid in exchange              was made                            value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                      Nature of the business operation, including type of services               If debtor provides meals
                                                                the debtor provides                                                        and housing, number of
                                                                                                                                           patients in debtor’s care

 Part 9:       Personally Identifiable Information




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16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

                  Name and contact information
                  Does the debtor have a privacy policy about that information?
                    No
                      Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                    Last 4 digits of          Type of account or          Date account was           Last balance
              Address                                           account number            instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred
       18.1.    Bank of America                                 XXXX-4356                    Checking                                                      $0.00
                                                                                             Savings
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own




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21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 6
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       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26a.1.       LaTour Hotels & Resorts, Inc.                                                                                        From January 1,
                    One Vance Gap Road                                                                                                   2018 to present.
                    Asheville, NC 28805
       26a.2.       Patton Hospitality Management                                                                                        Prior to January 1,
                    One Vance Gap Road                                                                                                   2018
                    Asheville, NC 28805

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26b.1.       Withumsmith+Brown, PC
                    200 South Orange Ave, Suite 1200
                    Orlando, FL 32801

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       LaTour Hotels & Resorts, Inc.
                    One Vance Gap Road
                    Asheville, NC 28805

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Herbert H. Patrick, Jr.                        One Vance Gap Road                                  President and Director
                                                      Asheville, NC 28805

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Kyle Smith                                     One Vance Gap Road                                  Secretary, Treasurer and
                                                      Asheville, NC 28805                                 Director




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       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Mike Pawlowski                                 One Vance Gap Road                                  Vice President
                                                      Asheville, NC 28805



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Barney Barber                                  3354 Reed Street, Apt. 101                          Former President and             Resigned as of
                                                      Myrtle Beach, SC 29577                              Director                         August 7, 2018

       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Roger Bennett                                  One Vance Gap Road                                  Former Secretary,                Resigned as of
                                                      Asheville, NC 28805                                 Treasurer and Director           August 7, 2018


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




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 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         May 22, 2019

 /s/ Herbert H. Patrick, Jr.                                            Herbert H. Patrick, Jr.
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                         page 9
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     District of South Carolina
    In re       Sand Castle South Timeshare Owners Association, Inc.                                             Case No.
                                                                  Debtor(s)                                      Chapter       11

                           DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
        be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
                For legal services, I have agreed to accept                                                  $     To be billed hourly,
                                                                                                                       and paid upon
                                                                                                                      approval by the
                                                                                                                                 Court
                Prior to the filing of this statement I have received                                        $                75,000.001
                Balance Due                                                                                  $     To be billed hourly,
                                                                                                                       and paid upon
                                                                                                                      approval by the
                                                                                                                                 Court

2.      $      1,717.00       of the filing fee has been paid.

3.      The source of the compensation paid to me was:
                     Debtor               Other (specify):

4.      The source of compensation to be paid to me is:
                     Debtor               Other (specify):

5.             I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

               I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
               copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.          In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
        b.     Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
        c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
        d.     Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
        e.     [Other provisions as needed]




1
     Nexsen Pruet, LLC received a $75,000.00 retainer from the Debtor on March 18, 2019. From this amount, Nexsen Pruet has been paid
    $37,174.30 in compensation for its pre-petition services and for reimbursement of costs. In addition, the $1,717.00 Chapter 11 filing fee has
    been deducted from the retainer. The remaining funds of $36,108.70 will be held in escrow by Nexsen Pruet, pending approval of its fee
    application(s) by the Court.

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             Sand Castle South Timeshare Owners Association,
 In re       Inc.                                                                                    Case No.
                                                               Debtor(s)

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                             (Continuation Sheet)

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
                                                                 CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     May 22, 2019                                                            /s/ Julio E. Mendoza, Jr.
     Date                                                                    Julio E. Mendoza, Jr. 3365
                                                                             Signature of Attorney
                                                                             Nexsen Pruet, LLC
                                                                             1230 Main Street, Suite 700 (29201)
                                                                             PO Box 2426
                                                                             Columbia, SC 29202
                                                                             803-540-2026 Fax: 803-727-1478
                                                                             rmendoza@nexsenpruet.com
                                                                             Name of law firm




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                                                               United States Bankruptcy Court
                                                                       District of South Carolina
 In re      Sand Castle South Timeshare Owners Association, Inc.                                                      Case No.
                                                              Debtor(s)                                               Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 None



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date May 22, 2019                                                           Signature /s/ Herbert H. Patrick, Jr.
                                                                                            Herbert H. Patrick, Jr.

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                   LOCAL OFFICIAL FORM 1007-1(b) TO SC LBR 1007-1

                                                               United States Bankruptcy Court
                                                                     District of South Carolina
 In re      Sand Castle South Timeshare Owners Association, Inc.                                            Case No.
                                                              Debtor(s)                                     Chapter    11


                                           CERTIFICATION VERIFYING CREDITOR MATRIX
         The above named debtor, or attorney for the debtor if applicable, hereby certifies pursuant to South Carolina Local
Bankruptcy Rule 1007-1 that the master mailing list of creditors submitted either on computer diskette, electronically filed via
CM/ECF, or conventionally filed in a typed hard copy scannable format which has been compared to, and contains identical
information to, the debtor's schedules, statements and lists which are being filed at this time or as they currently exist in draft form.

            Master mailing list of creditors submitted via:

                        (a)                  computer diskette

                        (b)           scannable hard copy
                        (number of sheets submitted       )

                        (c)         X     electronic version filed via CM/ECF




 Date:       May 22, 2019                                             /s/ Herbert H. Patrick, Jr.
                                                                      Herbert H. Patrick, Jr./President
                                                                      Signer/Title

 Date: May 22, 2019                                                   /s/ Julio E. Mendoza, Jr.
                                                                      Signature of Attorney
                                                                      Julio E. Mendoza, Jr. 3365
                                                                      Nexsen Pruet, LLC
                                                                      1230 Main Street, Suite 700 (29201)
                                                                      PO Box 2426
                                                                      Columbia, SC 29202
                                                                      803-540-2026 Fax: 803-727-1478
                                                                      Typed/Printed Name/Address/Telephone

                                                                      3365 SC
                                                                      District Court I.D. Number




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                        CELSO AABANO
                        1658 MILWAUKEE AVE #100-8053
                        CHICAGO IL 60647


                        JAMES ADAMS
                        3730 MEADOWVIEW RD
                        KERSHAW SC 29067


                        JOSHUA ADAMS
                        PO BOX 382
                        CHAPMANVILLE NC 28133


                        SAMUEL ADAMS
                        5513 ACKLEY LN
                        HOPE MILLS NC 28348


                        WILLIAM ADDISON
                        1722 MCFARLIN BRIDGE RD
                        CARNESVILLE GA 30521


                        JAE ADLE
                        PO BOX 52
                        LYONS NY 14489


                        DENORISE ALLEN
                        2543 OLD MILL ROAD
                        HIGH POINT NC 27265


                        PAMELA ALLEN
                        1261 MCPHERSON RD
                        VASS NC 28327


                        VERNON ALLISON
                        7700 BOYER FARM RD
                        WALNUT COVE NC 27052


                        RONALD ALTHENN, II
                        3905 HEARN DRIVE
                        COLUMBIA SC 29223


                        MICHAEL AMMONS
                        2645 MOZELLE SHERRILL LN
                        DENVER NC 28037
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                    HOWARD ANDERSON
                    1000 LOUIS GARDNER RD
                    UPTON KY 42784


                    JEFFREY ANDERSON
                    2641 SUDIE DR
                    BURLINGTON NC 27217


                    SHAWNTAY ANTHONY
                    911 BELTON STREET
                    MONROE NC 28110


                    KALYAN ANUMULA
                    1278 TURNBURY LANE
                    NORTH WALES PA 19454


                    DIANE ARTIS
                    31230 SMITHS FERRY ROAD
                    FRANKLIN VA 23851


                    SAM ATKINS, JR.
                    732 INDIAN TRL
                    MARTINSVILLE VA 24112


                    ROBBIE ATKINS
                    228 CHARLES AVE
                    HIGH POINT NC 27260


                    LARRY ATKINSON
                    3840 HEDGEWOOD DR
                    SUMTER SC 29154


                    LINDA ATKINSON
                    1201 MILL ST
                    CAMDEN SC 29020


                    ROY AYERS
                    2007 WESTFIELD RD
                    MOUNT AIRY NC 27030


                    ISAAC BACOAT
                    1904 CARRIAGE HOUSE ROAD
                    FAYETTEVILLE NC 28312-3401
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                    RICHARD BAILEY, JR.
                    135 DOGWOOD LN
                    FAYETTEVILLE WV 25840


                    NICHOLAS BAILEY
                    1920 OLD HICKORY GROVE RD
                    MOUNT HOLLY NC 28120


                    LUIS BAIRES
                    3407 SKYBROOK LN
                    DURHAM NC 27703


                    ZAKIYA Y. BAKARI-GRIFFIN
                    192 CLAYTON AVE
                    FRANKFORD DE 19945


                    TAMMY BAKER
                    397 SIMMS ST
                    MAYSVILLE GA 30558


                    SHIRLEY BALLARD
                    17605 HIGHWAY 101 S
                    GRAY COURT SC 29645


                    JAMES BALTZELL
                    32 NEWTON ST.
                    NORWICH CT 06360


                    LINDA BANGS
                    100 FOREST PARK DR
                    NORTH KINGSTOWN RI 02852


                    LEONARD BANKS
                    713 BUFFALO VIEW RD
                    HILLSVILLE VA 24343


                    BRYAN BARBER
                    134 DEERFIELD RD
                    ROCKINGHAM NC 28379


                    CONNIE BARRINGTON
                    3166 MAGNOLIA RD
                    BENNETTSVILLE SC 29512
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                    ROBERT BEATTY
                    884 HILLS RD
                    BELMONT NC 28012


                    ARLEATHIA BEAVERS
                    PO BOX 314
                    GREELEYVILLE SC 29056


                    ERICA RENEE BECKETT
                    129 WILLOW BEND DR
                    APT 3C
                    OWINGS MILLS MD 21117


                    PAUL BEESON
                    110 ENGLISH COURT
                    TRINITY NC 27370


                    ANDRE BELISLE
                    145 CHAPLIN ST
                    CHAPLIN CT 06235


                    DANIEL BELL
                    376 HOLLYWOOD FARM RD
                    FREDERICKSBURG VA 22405


                    ALEXIS BENNETT
                    541 APPLE RIDGE ROAD
                    GREENSBORO NC 27406


                    CHRISTOPHER BENNETT
                    116 COPES CT
                    ROCK HILL SC 29732


                    GARY BERRY
                    114 ZOE CIR
                    JACKSBORO TN 37757


                    LEVENTE BERRY
                    7521 BLACKLICK RIDGE BLVD
                    BLACKLICK OH 43004


                    RICHARD BERRY
                    131 OLD TURNPIKE RD
                    BECKLEY WV 25801
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                    BARBARA BIELAWSKI
                    12645 W EDEN CT
                    NEW BERLIN WI 53151


                    CYNTHIA BILLINGTON
                    2044 HALIFAX RD
                    CHATHAM VA 24531


                    CHERYL ANN BLACK
                    178 LANCER DR
                    RINGGOLD GA 30736


                    WILLIAM BLACK
                    210 VERNON ST
                    CHERRYVILLE NC 28021


                    WILLIAM BLACKWELL
                    4107 SE SCHOOL RD
                    GREENSBORO NC 27406


                    LATOYA BLAIR
                    15 KAY LN, APT J
                    WATERBURY CT 06708


                    LOUIS BLAKE, JR.
                    PO BOX 1516
                    SAINT STEPHEN SC 29479


                    CASSANDRA BLAND
                    PO BOX 17612
                    GREENVILLE SC 29606


                    JIMMIE BLANKENSHIP, JR.
                    2525 STROUD RD
                    JACKSON GA 30233


                    SUSAN BLEVINS
                    1204 OSBORNE RD
                    MOUNT STERLING KY 40353


                    TRACY BODKIN
                    119 WIMBLEDON WAY
                    MURRELLS INLET SC 29576
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                    NORMAN BOGARD
                    14362 US HIGHWAY 42 E
                    VERONA KY 41092


                    JAMES BOGART
                    5707 DOGWOOD RD
                    KNOXVILLE TN 37978


                    JASON BOLIN
                    3995 MEADOW RUN RD
                    WAVERLY OH 45690


                    RALPH BOLT
                    3713 BLACKBURN AVE
                    ASHLAND KY 41101


                    TRACY BOONE
                    1222 JAMES ST
                    MACON GA 31204


                    WALTRAUD BOOTH
                    234 WINTERS DR
                    WINTERSVILLE OH 43953


                    TIMOTHY BORCHARDT
                    2395 STATE HIGHWAY 12
                    GREENE NY 13778


                    CHESTER BOROSKI, SR.
                    28865 MORGAN LN
                    RICHFIELD NC 28137


                    RICHARD BOWLING
                    117B VALLEY DR
                    NITRO WV 25303


                    ANDY BOYETTE
                    891 SCOTT RD
                    KENLY NC 27542


                    LISA BOYKIN
                    1952 LUCKNOW RD
                    CAMDEN SC 29020
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                    JERI BRANNEN
                    9464 US 52
                    MANCHESTER OH 45144


                    ANTHONY BREEDEN
                    4922 BIG CREEK RD
                    HARTFORD TN 37753


                    SHAWN BREHM
                    405 EAST MARKET STREET
                    BALTIMORE OH 43105


                    WILLIAM BRISSON
                    10405 ROCKINHAM RD
                    LAUREL HILL NC 28351


                    ROBERT BRONSON
                    1364 DOC BROWN RD
                    RAEFORD NC 28376


                    H. BROOKS
                    205 W ALTON ST
                    DURHAM NC 27707


                    KAREN BROOKS
                    1790 AVENUE S NW
                    WINTER HAVEN FL 33881


                    EDWARD BROWN
                    508 KATONAH AVE
                    CHARLOTTE NC 28208


                    KENWICK BROWN
                    1804 WINTHROP DR
                    FLORENCE SC 29501


                    TIMOTHY BROWN
                    1433 HILLSBORO RD
                    ORANGEBURG SC 29115


                    HUGH BRUNNER
                    501 N HIGH ST
                    DUNCANNON PA 17020
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                    RODNEY BRUNSON
                    140 TRAILWOOD DRIVE
                    SUMTER SC 29154


                    DANNY BRYANT
                    103 WILHOWIE DR, #A
                    LEXINGTON SC 29073


                    RONNIE BRYANT
                    2331 GRANTHAM SCHOOL RD
                    MOUNT OLIVE NC 28365


                    ROSENDO BRYDEN
                    4576 VERNON FARMS BLVD
                    KERNERSVILLE NC 27284


                    NICOLE BUBB
                    247 HARPER DR
                    SNOW HILL NC 28580


                    BRIAN M. BUCH
                    4711 POPLAR LANE
                    DORAL FL 33178


                    EDWARD J. BUCIA
                    701 BENT HICKORY ROAD
                    CHARLESTON SC 29414


                    BURCHFIELD VACATION RENTALS, LLC
                    C/O JAMES FRANKLIN BURCHFIELD
                    PO BOX 18322
                    KNOXVILLE TN 37928


                    JEFFREY BURDICK
                    4046 OLD TRAIL RD
                    MARTINEZ GA 30907


                    GEORGE P. BURFEIND
                    172 BUNKER RD
                    ROTONDA WEST FL 33947


                    NANNIE BURTON
                    1020 GRAND CONCOURSE
                    BRONX NY 10451
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                    JAMES BYKER
                    134 W CENTRAL AVE
                    ZEELAND MI 49464


                    AUDREY B. CAHILL
                    4 GEORGE ST
                    SHARON, ON LOG 1VO


                    WILLIAM CALLAHAN
                    131 KENNETH COOPER ROAD
                    WHITTIER NC 28789


                    YOLANDA LEON CAMACHO
                    7200 AMSTER RD
                    N. CHESTERFIELD VA 23225


                    JIMMY CAMP
                    19 OAK GROVE RD
                    LANDRUM SC 29356


                    ALBERT L. CAMPBELL
                    5128 DORCHESTER RD
                    NORTH CHARLESTON SC 29403


                    ROBERT CAMPBELL, JR.
                    164 WINDSOR WAY
                    MOUNT ROYAL NJ 08061


                    KATIE CAMPBELL
                    32 RAILROAD AVE
                    PO BOX 586
                    CRAIGSVILLE VA 24430


                    PATRICIA CANTON
                    7749 RED MAPLE PL
                    WESTERVILLE OH 43082


                    PATRICIA CAREY
                    6070 HIGHWAY 145
                    CARNESVILLE GA 30521


                    BENJAMIN CARROLL
                    1160 N 17TH E
                    MOUNTAIN HOME ID 83647
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                    ROBERT CARROLL
                    1203 CHEROKEE TRAIL
                    COVINGTON VA 24426


                    THOMAS G. CARSLAY
                    13507 EAST 43RD DR.
                    YUMA AZ 85367


                    JERRY CARTER
                    1050 RIVER RD
                    STONEVILLE NC 27048


                    RONALD CARTER
                    1531 BLAIN HWY
                    WAVERLY OH 45690


                    AMY CASE
                    804 DRIFTWOOD LANE
                    NORTH SC 29112


                    GARY CASTERLINE, JR.
                    259 N VINE AVE
                    RIALTO CA 92376


                    RALPH CASTRO
                    7001 CANNON DR
                    CANAL WINCHESTER OH 43110


                    BRAD CAUDILL
                    1500 CEDAR LN
                    WILKESBORO NC 28697


                    CLYDE CAUDLE
                    301 WOODBERRY DR
                    WINGATE NC 28174


                    KIWANNA CHAPMAN
                    1200 E HOLLY ST
                    ROCKY MOUNT SC 29461


                    THOMAS CHAPMAN
                    116 CREST AVE
                    EAST HAVEN CT 06513
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                    RAOUL CHASSE
                    130 LOPES CIR
                    FRANKLIN NC 28734


                    EDWARD CHAVIS
                    PO BOX 462
                    PEMBROKE NC 28372


                    CHEROKEE MOTELS, INC.
                    PO BOX 1362
                    MYRTLE BEACH SC 29578


                    VERNELL CHERRY
                    2402 HUNTWOOD CT.
                    FREDERICK MD 21702


                    WIESLAW CIERPKA
                    42 NANTUCKET DR
                    RICHMOND HILL, ON, L4E 3V8, CANADA


                    JOHN CINDEA
                    6314 EWE DR
                    CLINTON OH 44216


                    BARBARA CLARK
                    290 CLUBFOOT CREEK RD
                    HAVELOCK NC 28532


                    DONNA CLARK
                    7204 CLOVERFIELD CT
                    WILMINGTON NC 28411


                    JOYCE CLARK
                    3830 PINELEAF CIR
                    MIDLAND NC 28107


                    LEONARD CLARK
                    1008 DOUBLE BRIDGES DRIVE
                    FANCY GAP VA 24328


                    WINSTON CLARKE
                    PSC 557 BOX 386
                    FPO AP 96379-0004
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                    WILLIAM CLAY
                    4201 BROAD RUN CHURCH RD
                    NEW BALTIMORE VA 20187


                    NELSON CLAYTON
                    167 FLOSSIE LN
                    LEXINGTON NC 27295


                    JAMES CLONTZ
                    3003 CAMDEN ROAD
                    MARSHVILLE NC 28103


                    CLUB RESORTS
                    1093 STATE HIGHWAY 176
                    WALNUT SHADE MO 65771


                    MICHAEL COATS
                    100 NAVIGATOR LN
                    LAURENS SC 29360


                    ADELBERT COBBIN
                    244 LINCOLN ST
                    RAVENNA OH 44266


                    ROBERT COFFEY
                    9602 NORWICK LN
                    FREDERICKSBURG VA 22408


                    DARA COHEN
                    3621 KELLY WAY
                    LOUISVILLE KY 40220


                    TIMOTHY COLBY
                    7613 WHIRLAWAY DR
                    MIDLOTHIAN VA 23112


                    SHAWN COLE
                    2 HARVARD DRIVE
                    GREENVILLE SC 29605


                    DAVID COLLINS, JR.
                    129 QUINCY DR
                    LANDRUM SC 29356
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                    CHARLES COMPTON, JR.
                    6501 WILTON RD
                    CHESTERFIELD VA 23832


                    JOSHUA CONERLY
                    1600 MANCHESTER DR SW
                    CONYERS GA 30094


                    KENNETH CONLEY
                    612 CHINA GROVE HWY
                    ROCKWELL NC 28138


                    JOANN COOK
                    PO BOX 422
                    KERSHAW SC 29067


                    SAMANTHA COOLEY
                    1055 OLD PLANTATION RD
                    WALNUT COVE NC 27052


                    ESTATE OF SANDRA COOMBES
                    C/O CARL RYAN
                    282 ROACH AVE
                    WELLAND, ONTARIO L3C2W4


                    ALVIN COOPER
                    426 GLACIER PLACE
                    WINTERVILLE NC 28590


                    FRANCES COOPER
                    3407 BLANCH RD
                    BLANCH NC 27212


                    SANDRA COOPER
                    552 HOME AVE NW
                    CONCORD NC 28025


                    JAMES CORBIN
                    1480 WO EZELL BLVD., APT L95
                    SPARTANBURG SC 29301


                    JOHN CORTINA
                    2 BAJALA DR E
                    BEAUFORT SC 29907
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                    DAVID COX
                    12166 RAIN HOLLOW CT
                    MARYLAND HEIGHTS MO 63043


                    STEPHEN COYLE
                    12003 PRAIRIE MEADOW DR
                    ORLANDO FL 32837


                    ROBERT CRAIG, JR.
                    7012 IDLEWOOD RD
                    CHARLOTTE NC 28212


                    ROBERT CRAIG
                    7303 ROURKE CV
                    MEMPHIS TN 38125


                    SCOTT CRANE
                    1620 WAGON WHEEL DR
                    BLACKFOOT ID 83221


                    JOHNNY CRAWFORD
                    9203 WILKINSON BLVD.
                    CHARLOTTE NC 28214


                    RONNIE CRIMES, SR.
                    PO BOX 208
                    PRESTON GA 31824


                    JUDITH CRIPE
                    3104 N BROADWAY ST APT A3
                    KNOXVILLE TN 37917


                    CRM OF THE CAROLINAS, LLC
                    3660 OLD KINGS HWY
                    MURRELLS INLET SC 29576


                    CHRISTOPHER CROUSSER
                    15913 STATE ROUTE 550
                    FLEMING OH 45729


                    TOMESHA CROWDER
                    2704 WALKUP AVE
                    MONROE NC 28110
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                    ROBERT CRUM
                    5785 TYRO ST NE
                    CANTON OH 44721


                    JENNIFER DAGENHART
                    7821 PEBBLERIDGE DR
                    CHARLOTTE NC 28212


                    GROVER DAMRON
                    1932 PINEVIEW RD
                    RANDLEMAN NC 27317


                    JAMES DANFORD, JR.
                    3931 SPRING GARDEN LN
                    ESTERO FL 33928


                    KAREN DANIEL
                    308 FULLER DR #21
                    EASLEY SC 29640


                    CHRISTOPHER DANIELS
                    10 GLEN OAK RD
                    FREDERICKSBURG VA 22405


                    FLOYD DANIELS
                    1401 S. SLOCUMB STREET
                    GOLDSBORO NC 27530


                    DJANI DARMANOVIC
                    9406 DEER SPRING LANE
                    CHARLOTTE NC 28210


                    PATRICK DAUGHERTY
                    431 FAIRWAY DR
                    ABINGDON VA 24266


                    JOHN DAVENPORT
                    228 AURORA BLVD
                    MATTHEWS NC 28105


                    ALMOND DAVIS
                    292 TREVOR DRIVE
                    WALTERBORO SC 29488
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                    GEORGE DAVIS
                    311 WYTHE RD
                    EGG HARBOR TOWNSHIP NJ 08234


                    GRAHAM DAVIS, JR.
                    1129 HAZELWOOD RD
                    COLUMBIA SC 29209


                    RUDOLPH DAVIS
                    3207 SOUTHGREEN RD
                    WINDSOR MILL MD 21244


                    NORMAN DEAL
                    3040 SALEM ROAD
                    PARROTTSVILLE TN 37843-2207


                    DORCAS DELGADO
                    7348 VAN GRAYSON LOOP
                    FAYETTEVILLE NC 28314


                    BELINDA DELINE
                    113 PARSONS MILL LANE
                    COLUMBIA SC 29229


                    MATTHEW DELL'ORSO
                    1907 BELLEVILLE DRIVE, NE
                    LEESBURG VA 20176


                    REX DELPH
                    6514 TAZEWELL PIKE
                    KNOXVILLE TN 37918


                    ROBERT DEMAREST, JR.
                    8028 LONG DRIVE DR.
                    PORT SAINT LUCIE FL 34952


                    ETTA DERIZZIO
                    335 S 10TH AVENUE
                    MOUNT VERNON NY 10550


                    NORRIS DETTER
                    4761 SAND CLAY RD
                    HICKORY NC 28602
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                    JANA DEW
                    127 WOODLAND DR
                    CHESTER SC 29706


                    WILLIE DEXTER
                    2823 RIDGEVIEW DR
                    AUGUSTA GA 30909


                    VICTOR DIAZ, III
                    7534 DR. HECTOR P GARCIA DR
                    CORPUS CHRISTI TX 78414


                    BARBIE DILLARD
                    153 ARROW POINT RD
                    JACKSON GA 30233


                    MELVIN DIXON
                    165 BOYD ST
                    WINTERVILLE NC 28590


                    RONALD DOBBINS
                    PO BOX 1071
                    POCONO PINES PA 18350


                    SOKPHEAK DOEUNG
                    4608 BOLEN HUSE ROAD
                    MEMPHIS TN 38128


                    DENNIS DONNELLY
                    633 GARFIELD ST
                    HEIDELBERG PA 15106


                    JOCELYN DOYON
                    901 DES MERISES
                    LEVIS, QC


                    GLORIA DRAUGHON
                    1105 ATHENS DR
                    RALEIGH NC 27606


                    DONNA DRENNEN
                    104 POPLIN PLACE
                    CLOVER SC 29710
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                    GEORGE DRY, IV
                    20829 RIDGECREST RD
                    LOCUST NC 28097


                    KRISTIN DUNCAN
                    C/O US CONSUMER ATTORNEYS-HENRY PORTNER
                    1300 N JOHNSON AVE, STE 107
                    EL CAJON CA 92020


                    RUSSELL DUNCAN
                    294 GREENLEE RD
                    MARION NC 28752


                    STEVEN DURHAM
                    1123 BLUE STEM DR
                    UNIT 30A
                    PAWLEYS ISLAND SC 29585


                    HARRIET DURRWACHTER
                    16839 PETMAR CIR
                    HAGERSTOWN MD 21742


                    TERRY DURST
                    4190 E PALM CYN DRIVE
                    PALM SPRINGS CA 92264


                    E. DUSIN
                    3 COREY PL
                    MANHATTAN KS 66502


                    LAURA DYAL
                    1060 SALUDA RIVER RD
                    SILVERSTREET SC 29145


                    ANN DYJAK
                    77 STEVEN PL
                    SMITHTOWN NY 11787


                    GREGORY DYKES
                    6310 HIGH DR
                    KNOXVILLE TN 37921


                    HERMAN EAGLE
                    213W W 21ST STREET
                    KANNAPOLIS NC 28081
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                    JOHN EARNSHAW
                    255 TAIPEI ISLAND LN
                    LEESBURG FL 34788


                    KIMBERLY EATON
                    C/O MITCHELL REED SUSSMAN
                    1053 S. PALM CANYON DR
                    PALM SPRINGS CA 92264


                    CRYSTAL EDDY
                    PO BOX 8264
                    SPRINGFIELD MO 65801


                    OJOMA EDEH HERR
                    6 LEAMAN RD
                    LANCASTER PA 17603


                    MICHAEL EDMUNDS
                    1915 PARLOW DRIVE
                    RICHMOND VA 23222


                    CHRISTOPHER EDWARDS
                    PO BOX 207
                    CMR 411, BOX 5891
                    APO AE 09112


                    RICHARD EDWARDS
                    138 BRANSETTER RD
                    CAVE CITY KY 42127


                    SHEILA EDWARDS
                    1695 SILVER MEADOW CIR
                    COLORADO SPRINGS CO 80951


                    SUZANNE ELLERS
                    56 CRAWFORD MANOR DR
                    TOCCOA GA 30577


                    ROY ELLISON
                    80 VERMONT AVE
                    NEWARK NJ 07106


                    KENNETH ELMORE
                    2615 TRUFIELD DR
                    SUMTER SC 29153
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                    DANIEL ELYARD
                    11788 MELROSE AVE
                    GREENCASTLE PA 17225


                    RYAN ENGLAND
                    801 AVENUE F
                    EL CAMPO TX 77437


                    CHARLES EVANS
                    20 GERRU CT
                    TAYLORS SC 29687


                    NIKKIE EVANS
                    1640 DINWIDDIE CT
                    PETERSBURG VA 23803


                    RICH EVANS
                    PO BOX 95
                    GRAYSON KY 41143


                    ERICA EVERETTE
                    124 POLLY CIR
                    ANGIER NC 27501


                    MICHAEL EVOLA
                    3101 BLACKBURN DR
                    WAXHAW NC 28173


                    CLAIR FAIRBROTHER
                    10650 DAVIS HOLLOW RD
                    COHOCTON NY 14826


                    ANGEL FAIRLEY
                    622 SARATOGA DRIVE
                    ALPHARETTA GA 30096


                    SANDERS FAIRLEY
                    333 W ROCKINGHAM RD
                    MAXTON NC 28364


                    FRANK FAITH
                    6072 E 1550 N
                    ELNORA IN 47529
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                    JAMES FARRIS
                    5794 HIGHWAY 9
                    NICHOLS SC 29581


                    NEHEMIAH FEDD
                    1919 W HIGHLAND AVE
                    ALBANY GA 31707


                    YUSHANDA FELDER
                    917 PRESIDENTIAL DRIVE
                    ORANGEBURG SC 29115


                    DELPHINE FERGUSON
                    111 N 3RD AVENUE
                    APT 4P
                    MOUNT VERNON NY 10550


                    DANIEL FETT
                    714 LOVECHIO DR
                    MISHAWAKA IN 46544


                    JASON FIELDS
                    11336 MCCAULIFF CT
                    RICHMOND VA 23236


                    LISA FIELDS
                    PO BOX 24
                    NORTON VA 24273


                    BILLY FIFE, JR.
                    109 HOLLINGSWORTH DR
                    GROVETOWN GA 30813


                    PAUL FINCH
                    181 PAOLI RD
                    CARLTON GA 30627


                    RANDY FINDLEY
                    5841 REDHAWK DR
                    NEW PORT RICHEY FL 34655


                    ERICA FISHER
                    308 WRAYHILL DR
                    CHARLOTTE NC 28262
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                    CALVIN FLEMING
                    PO BOX 1039
                    MATTHEWS NC 28104


                    RAYMOND FLETCHER
                    407 FLETCHER RD
                    BOILING SPRINGS SC 29316


                    JOE FLOWERS
                    5420 DANBY AVE
                    OXON HILL MD 20745


                    DAVID FOLTZ
                    PO BOX 513
                    STANLEY VA 22851


                    JOSHUA FORD
                    234 WESLO DR
                    KERNERSVILLE NC 27284


                    MONTE FORTE
                    PO BOX 574
                    ROSEBORO NC 28382


                    JE'RENIA FOSTER
                    2015 GREAT BEND DR
                    DURHAM NC 27704


                    FELICIA FOULKS
                    142 PACIFIC BLVD
                    MONESSEN PA 15062


                    AARON FOWLER
                    4421 US HIGHWAY 64 W
                    MOCKSVILLE NC 27028


                    NELSON FOWLER
                    1800 ROUNDHILL RD
                    APT 1601
                    CHARLESTON WV 25314


                    MELVIN FOX
                    5213 PATRICK LN
                    WILSON NC 27893
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                    PATRICK FRONCEK
                    P.O. BOX 178
                    NORTH APOLLO PA 15673


                    CHRISTEN FRYE
                    8170 TWO MILE RD
                    LYNCHBURG SC 29080


                    JESSICA FULLER
                    326 DALTON GANG ALY
                    TOWNVILLE SC 29689


                    TED FURR, JR.
                    2426 OLD CAMDEN MONROE HWY
                    LANCASTER SC 29720


                    EVELYN GADDY
                    3249 MAPLE GROVE CHURCH RD
                    RESACA GA 30735


                    AMY GAGE
                    309 VALLEY ROAD
                    EAST BEND NC 27018


                    STANLEY GALES
                    5201 PEPPERCORN ST
                    DURHAM NC 27704


                    SUSAN GANSON
                    4330 WITHEROW RD
                    WINSTON SALEM NC 27106


                    DONNA GANZA
                    1944 FARGO
                    DES PLAINES IL 60018


                    ALLEN GARNER
                    1626 WHITE RD
                    WILMINGTON NC 28405


                    CHRISTY GARRETT
                    7757 MORGAN CREEK RD SE
                    LELAND NC 28451
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                    JAMES GAULDING
                    59 CLUB HOUSE RD
                    ENIGMA GA 31749


                    TED GEAN
                    11903 BROADMOOR LN
                    UPPER MARLBORO MD 20772


                    JERRY GEE, III
                    802 HIGHWAY 212
                    COVINGTON GA 30016


                    SHERRY WILLIAMS GEE
                    163 HIGHGROVE COURT
                    RAEFORD NC 28376


                    CHARLES GEORGE
                    5727 JUBILANT DR
                    REX GA 30273


                    TINA GERBINO
                    821 ERIE ST
                    RONKONKOMA NY 11779


                    BONNIE GOARD
                    154 VIA MOUNTAIN LN
                    PATRICK SPRINGS VA 24133


                    CARLISLE GOFORTH, JR.
                    231 SMITHFIELD CIR
                    ELGIN SC 29045


                    RICHARD GOODWIN
                    236 PAYNETOWN RD
                    MOUNT AIRY NC 27030


                    CHRISTOPHER GORDON
                    10317 MAHONIA ST, UNIT 102
                    CHARLOTTE NC 28277


                    BENNY GRAHAM
                    352 WOODLAND MEADOWS DR
                    MILLS RIVER NC 28759
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                    JOSY GRAHAM
                    C/O US CONSUMER ATTORNEYS-HENRY PORTNER
                    1300 N. JOHNSON AVE, STE 107
                    EL CAJON CA 92020


                    JOHN GRAVES
                    2345 E 900 N
                    DECATUR IN 46733


                    JACQUELINE GREEN
                    PO BOX 1061
                    HOLLY SPRINGS NC 27519


                    DERRICK GREENE
                    3849 WOLVERTON CIRCLE
                    LITHONIA GA 30038


                    JOSEPH GREGORY



                    MONIQUE GREGORY
                    PO BOX 1403
                    SAINT STEPHEN SC 29479


                    STANLEY GRIFFIN
                    1192 SLATE RD
                    KING NC 27021


                    SUSAN GRIFFIN
                    4497 HIGHWAY 382 W
                    ELLIJAY GA 30540


                    WILLIAM GRIFFITH
                    2221 MENDOTA RD
                    HILTONS VA 24258


                    JOHN GROCE, JR.
                    43 EDEN GLEN RD
                    BLACK MOUNTAIN NC 28711


                    TERRY GROVE
                    C/O MITCHELL REE SUSSMAN & ASSOCIATES
                    1053 S. PALM CANYON DRIVE
                    PALM SPRINGS CA 92264
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                    JOHN GUADALUPE
                    16411 N 170TH LN
                    SURPRISE AZ 85388


                    LEONARD GUNN, JR.
                    929 S WOODSTONE LN
                    NASHVILLE TN 37211


                    NICK GURICK
                    7207 FLOWER TUFT CT
                    SPRINGFIELD VA 22153


                    MELISSA LATORIA HAIRSTON
                    226 PARKLAND DR
                    DANVILLE VA 24540


                    TIMOTHY HAIRSTON
                    145 VERNON LN
                    AXTON VA 24054


                    GARY HALL
                    RR 1 BOX 150-5
                    BLUEFIELD WV 24701


                    WANDA HALL
                    PO BOX 824
                    339 COUNTRY HAVEN DR
                    RIDGEWAY VA 24148


                    KEVIN HAMMOND
                    18703 MCLIN RD
                    LIVINGSTON LA 70754


                    MARION HAMMOND
                    C/O NEALLY LAW
                    122 PARK CENTRAL SQUARE
                    SPRINGFIELD MO 65806


                    DAVID HANNER
                    760 SALEM RD
                    SCRANTON SC 29591


                    EARL HANVEY, JR.
                    2200 STUART AVENUE
                    SUFFOLK VA 23434
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                    JEROME HARDY
                    1601 4TH ST NE APT. 31
                    HICKORY NC 28601


                    LISA HARGRAVES
                    7681 N. MAIN ST
                    PO BOX 156
                    KANONA NY 14856


                    JOHN HARKNESS
                    12216 SAINT ANDREW'S WAY
                    FENTON MI 48430


                    GRADY HARMON
                    5007 SHAUN CIR
                    HUNTSVILLE AL 35811


                    DANIEL HARRIS
                    100 CARNATION DR
                    ANDREWS SC 29510


                    ERNEST HARRIS
                    110 CONCORD DR APT 10
                    GREENVILLE NC 27834


                    LATEASHA HARRIS
                    PO BOX 3572
                    SUMTER SC 29151


                    STEPHEN HARVILLA
                    1611 ANTLER AVE
                    OWENSBORO KY 42303


                    CHARLES HATCHER, SR.
                    72 HILENDALE STREET
                    ROCHESTER NY 14619


                    LARRY HATLEY
                    22461 OAKWOOD RD
                    ALBEMARLE NC 28001


                    FRANK HAWKINS
                    248 WALCOTT DRIVE
                    LYMAN SC 29365
Case 19-02764-jw   Doc 1    Filed 05/22/19 Entered 05/22/19 17:23:31   Desc Main
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                    ELIZABETH HAWKS
                    166 JILL FARM RD
                    MOUNT AIRY NC 27030


                    TARA HAWTHORNE
                    3204 LAWNDLE DR APT K
                    GREENSBORO NC 27408


                    CHRISTINE HAYNES
                    118 HARVEST HILL TRAIL
                    LEXINGTON SC 29072


                    LANCE HEASLEY
                    516 N MAIN ST
                    NEW MARTINSVILLE WV 26155


                    DORIS HEATH
                    1911 CANAL DR NW
                    WILSON NC 27896


                    NEIL HEDDON
                    38105 SPRINGWOOD AVE
                    PRAIRIEVILLE LA 70769


                    TERRY HELMS
                    28025 HARWOOD RD
                    NEW LONDON NC 28127


                    PAMELA HELTON
                    4526 MINERAL SPGS MOUNTAIN RD
                    CONNELLYS SPRINGS NC 28612


                    GREGORY HENDERSON
                    3505 COLEMAN DR, APT. 10
                    KINSTON NC 28504


                    JARED HENDRICK
                    159 MERIDIAN LN
                    HILLSVILLE VA 24343


                    CHARLES HENKEY
                    224 APOLLO DR
                    SENECA SC 29672
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                    BERTRAM HENRY
                    14212 PEAR TREE LANE
                    APT 41
                    SILVER SPRING MD 20906


                    RICHARD HENRY
                    6217 SAYBROOKE DR
                    RALEIGH NC 27616


                    SHANE HEWITT
                    61 PECAN AVE
                    CHERAW SC 29520


                    THOMAS HICKLE
                    1006 WOODRIDGE LN
                    YADKINVILLE NC 27055


                    CHARLES HIGH
                    1201 AMBER PINES DR
                    LELAND NC 28451


                    FALLON HILL
                    10 BRITTLE CREEK LN
                    SIMPSONVILLE SC 29544


                    JAMES HILL
                    7314 THORNGROVE PIKE
                    KNOXVILLE TN 37914


                    MICHELLE HILLMAN
                    1171 CATTAIL POINT
                    JOHNSON CITY TN 37601


                    DEVONUE HINSON
                    3685 LONGTOWN RD
                    RIDGEWAY SC 29130


                    KENNETH HOBSON
                    2700 LINDA LN
                    EAST BEND NC 27018


                    ANTHONY HODGES
                    2000 WYNNTON RD, APT F47
                    COLUMBUS GA 31906
Case 19-02764-jw   Doc 1    Filed 05/22/19 Entered 05/22/19 17:23:31   Desc Main
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                    CHRISTINE M. HODGES
                    512 E LAKE CT
                    WOODSTOCK GA 30188


                    JOYCE HOFFMAN
                    8405 DUNMORE DR, APT. A
                    HUNTERSVILLE NC 28025


                    CYNTHIA HOLDER
                    27 FRANCIS ST
                    WESTFIELD MA 01085


                    SEGEE HOLLEY
                    111 COCKFIELD ST
                    PAMPLICO SC 29583


                    AZEEM HOLMAN
                    624 2ND ST. PL. SW
                    CONOVER NC 28613


                    JACQUELYNE HOLMAN
                    1000 BELMONT PARK DR
                    UNION KY 41091


                    MELISSA HOOTS
                    2180 WATERVIEW DR
                    UNIT 133
                    NORTH MYRTLE BEACH SC 29582-9450


                    ELDON HOPKINS, III
                    57 BURR AVE
                    ACUSHNET MA 02743


                    REGINALD HOPKINS
                    6651 TERRACE PARK CT
                    RALEIGH NC 27616


                    TARRIN HORNE
                    1665 W WALL ST
                    WADESBORO NC 28170


                    HORRY COUNTY TREASURER'S OFFICE
                    PO BOX 1237
                    CONWAY SC 29528
Case 19-02764-jw   Doc 1    Filed 05/22/19 Entered 05/22/19 17:23:31   Desc Main
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                    JOHN HOWELL
                    64 HIGH ST
                    PORTSMOUTH OH 45662


                    JUANITA HOWELL
                    200 DOG POND ROAD
                    SEVEN SPRINGS NC 28578


                    MICHAEL HUDSON
                    796 TULLS CREEK RD
                    MOYOCK NC 27958


                    SANDY HUGGINS
                    16084 LAPPIN ST
                    DETROIT MI 48205


                    GARY HUGHES
                    437 FAIRFAX DR
                    GASTONIA NC 28056


                    MICHELLE HUGHEY
                    535 OLD IRONWORKS RD
                    SPARTANBURG SC 29302


                    DARRELL HUNT
                    309 CATAWBA AVE
                    HICKORY NC 28601


                    JAMES HUNTER
                    1260 WOODVALE DR
                    GALLATIN TN 37066


                    RONALD HUNTER
                    6 JORDAN CREST CT
                    SIMPSONVILLE SC 29681


                    DOROTHY HURST
                    3853 PARWOOD RD
                    BLYTHE GA 30805


                    PEARLINE HUTTO
                    PO BOX 172
                    PAGELAND SC 29728
Case 19-02764-jw   Doc 1    Filed 05/22/19 Entered 05/22/19 17:23:31   Desc Main
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                    JANIS IKAUNIEKS
                    415 N LEXINGTON PKWY
                    DE FOREST WI 53532


                    CHARLES ISAAC
                    333 WEXFORD DR
                    HINESVILLE GA 31313


                    SANDRA ISENHOUR
                    98 MOSEBROOK DRIVE
                    GLADYS VA 24554


                    JAMES JACKS
                    354 CHIME BELL CHURCH RD
                    AIKEN SC 29803


                    ALLEN JACKSON
                    185 JONES POND RD
                    POLKTON NC 28135


                    CHARLES JACKSON
                    8000 ROBINCREST CT, # C
                    FUQUAY VARINA NC 27526


                    JERRY JACKSON, JR.
                    205 TUSCON DR
                    SUMTER SC 29150


                    MARY JACKSON
                    C/O SHELBY LAW P.C.
                    116 N WEST STREET
                    LEBANON IN 46052


                    HUBERT JACOBS
                    135 MONICA RD
                    ORANGEBURG SC 29118


                    KISMITH JAMES
                    2843 COBBLESTONE ST
                    FLORENCE SC 29506


                    KIMBERLY JARRELL
                    678 CITRUS PETAL RD
                    FUQUAY VARINA NC 27526
Case 19-02764-jw   Doc 1    Filed 05/22/19 Entered 05/22/19 17:23:31   Desc Main
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                    OMAR JENKINS
                    337 LYNN SHORES DR
                    VIRGINIA BEACH VA 23452


                    JOHNSON'S FURNITURE CO.
                    3015 BASHOR ROAD
                    CONWAY SC 29526


                    ALICE JOHNSON
                    96 JERUSALEM DR
                    KINGSTREE SC 29556


                    BETH JOHNSON
                    406 CRYSTAL SPRINGS RD
                    GRANITEVILLE SC 29829


                    CHERYL JOHNSON
                    7501 RIDING TRAIL RD
                    CHARLOTTE NC 28212


                    ELVIS JOHNSON
                    110 LYNDHURST ST
                    SPARTANBURG SC 29307


                    JOHN JOHNSON
                    721 MILBY DR
                    CHESAPEAKE VA 23325


                    WANDA JOHNSON
                    5470 CAMP CREEK RD
                    LANCASTER SC 29720


                    WILLIAM JOHNSON
                    205 CLONIGER DR
                    THOMASVILLE NC 27360


                    AARON JOLLY
                    1001 COUNTY HOME RD
                    TAYLORSVILLE NC 28681


                    GARY JONES
                    PO BOX 15483
                    SURFSIDE SC 29587
Case 19-02764-jw   Doc 1    Filed 05/22/19 Entered 05/22/19 17:23:31   Desc Main
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                    MELONDY JONES
                    1013 MEADOW OAKS DR
                    HARTSVILLE SC 29550


                    MICHAEL JONES
                    140 PARKVIEW TER
                    ATHENS WV 24712


                    MICHAEL JONES
                    4823 CEDAR AVE
                    PHILADELPHIA PA 19143


                    RODRIDGUS JONES
                    2665 GLENROSE HILL
                    ATLANTA GA 30341


                    SANFORD JONES
                    155 COUNTY LINE CT
                    FAYETTEVILLE GA 30215


                    TROY JONES
                    5500 WESTCOTT CIR
                    FREDERICK MD 21703


                    EMILY JORDAN
                    2903 FOREST HILL DR
                    COLUMBUS GA 31907


                    KIMBERLY JORDAN
                    1024 BENNETT ROAD
                    ELLERBE NC 28338


                    ROBERT JOYNER, JR.
                    1095 REYNOLDS MANOR DR
                    WINSTON SALEM NC 27107


                    KABA LLCO INC.
                    PO BOX 896502
                    CHARLOTTE NC 28289


                    CHRISTINE KAYS
                    1342 OLD PRINCETON RD
                    NEW CASTLE PA 16101
Case 19-02764-jw   Doc 1    Filed 05/22/19 Entered 05/22/19 17:23:31   Desc Main
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                    VENTURA KEELS
                    4120 WINDMILL CIR
                    RANDALLSTOWN MD 21133


                    LUCIA KEIGER
                    147 MCKENDREE RD
                    MOORESVILLE NC 28117


                    BENJIE KEITH
                    2340 SEATTLE BRIDGES RD
                    STONEVILLE NC 27048


                    DAVID KEITH
                    1775 WESTCHESTER DR
                    APT # 116
                    HIGH POINT NC 27262


                    DONALD KELLEY
                    PO BOX 58183
                    CHARLESTON WV 25358


                    INEZ KELLY
                    13728 MARVEN DRIVE
                    NORTH HUNTINGTOR PA 15642


                    MARVIN KEMMERER
                    1774 PERTL RD
                    ODESSA NY 14869


                    JOSHUA KENYON
                    PO BOX 2504
                    ACWORTH GA 30083


                    PHIL KESTERSON, SR.
                    6481 LEEPERS FERRY RD
                    WHITE PINE TN 37890


                    BRENDA KEY
                    1046 OUTAWAYS RD
                    AIKEN SC 29803


                    DONALD KEY
                    5559 LEESVILLE ST
                    TRINITY NC 27370
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                    ELOISE KIAKU
                    2005 BOWMAN LN
                    RALEIGH NC 27610


                    JESSE KIGER, II
                    110 WORK ST
                    PADEN CITY WV 26159


                    KENNETH KIMBER
                    5518 PEBBLE GARDEN CT
                    GREENSBORO NC 27407


                    SHONDA KING
                    2057 SHELL ROAD
                    RICEBORO GA 31323


                    DAVID KINNEY
                    1340 JACKSONVILLE SMITHVILLE RD
                    BORDENTOWN NJ 08505


                    GEORGE KIRBY
                    1203 CANNON BRIDGE RD
                    CORDOVA SC 29039


                    NICHOLAS KLEIFGEN
                    930 21ST AVE SOUTH
                    WISCONSIN RAPIDS WI 54495


                    RONALD KNIPP
                    38 AMICUS ST
                    TANEYTOWN MD 21787


                    L. KOCHER
                    459 ROSS ROAD
                    COLUMBUS OH 43213


                    JOHN KOHN
                    PO BOX 178
                    GORHAM NY 14461


                    GREGORY KRANEFUSS
                    4917 MIRANDA DR
                    HOPE MILLS NC 28348
Case 19-02764-jw   Doc 1    Filed 05/22/19 Entered 05/22/19 17:23:31   Desc Main
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                    LARRY KRAUSE
                    1076 SPIERS LANDING RD
                    CROSS SC 29436


                    KEVIN KUBE
                    70 TOBACCO FARM WAY
                    CHAPEL HILL NC 27516


                    LISA KUROWSKI
                    8071 ROUTE 16
                    FRANKLINVILLE NY 14737


                    JAMES LAJSIC
                    8756 W MALLARD CT
                    FRANKLIN WI 53132


                    AARON LAMBERT
                    2521 S 68TH ST
                    PHILADELPHIA PA 19142


                    DANIEL LAMBO, JR.
                    8715 KY 1304
                    GIRDLER KY 40943


                    PATRICK LANDRY
                    1308 CLAN CAMPBELL DR
                    RAEFORD NC 28376


                    GREGORY LANE
                    379 NATHAN DR
                    LUMBERTON NC 28358


                    MORGAN LANE
                    284 COLLEGE AVENUE
                    OSHAWA ON


                    LATOUR HOTELS & RESORTS, INC.
                    ONE VANCE GAP ROAD
                    ASHEVILLE NC 28805


                    LATOUR HOTELS AND RESORTS, INC.
                    ONE VANCE GAP ROAD
                    ASHEVILLE NC 28805
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                    FELICIA LAWRENCE
                    292 PARTRIDGE RD
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                    JOHN LE
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                    HILLSBOROUGH NC 27278


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                    DURHAM NC 27712


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                    RICHMOND KY 40475


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                    ELYRIA OH 44035


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                    BOCA RATON FL 33445


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                    STOCKBRIDGE GA 30281


                    LETITIA LEONARD
                    143 MORTON RD
                    SIMPSONVILLE SC 29681
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                    CALVIN LESTER
                    530 BEACON ST
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                    2915 HIGH PEAK RD
                    VALDESE NC 28690


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                    GROVE CITY PA 16127


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                    103 LONGPINE PL, APT 2A
                    WINDSOR MILL MD 21244


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                    AUGUSTA GA 30909


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                    4618 COLONIAL CIR
                    TRINITY NC 27292


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                    4103 LAUREL CREEK DR
                    GREENSBORO NC 27405


                    BILLIE LOCKLEAR
                    7323 WALTERS RD
                    LAUREL HILL NC 28351


                    JAMES LONG
                    11 MAINEE CT
                    OWINGS MILLS MD 21117
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                    STEVEN LOWDER
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                    GRAHAM NC 27253


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                    2 E CROTON DR
                    LAKE CARMEL NY 10512


                    ROSEMARY LYNCH
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                    THE VILLAGES FL 32163-4043


                    JAMES LYND
                    11 SEILER RD
                    PORTSMOUTH OH 45662


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                    206 CLOVERDALE DR
                    DURHAM NC 27703
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                    RICKY LYONS
                    222 SUMMIT PARK CT
                    KANNAPOLIS NC 28083


                    LESLEY LYTTLE
                    115 SOUTH EVERETT ST
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                    SENECA SC 29678


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                    2367 BLACKTHORN DR
                    FRANKLIN IN 46131-6811


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                    CHURCHTON MD 20733


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                    GRAY COURT SC 29645


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                    307 S SANDY BROOK WAY
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                    WALNUT COVE NC 27052
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                    WALDORF MD 20601


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                    GREER SC 29650


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                    WILLIE MATHIS
                    2725 SPIRIT CREEK RD
                    HEPHZIBAH GA 30815
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                    CONNIE MAULDIN
                    101 SUNSET DR
                    MOUNT HOLLY NC 28120


                    LYNN MCADAMS
                    1146 ANNELLE DR
                    FLORENCE SC 29505


                    BRIAN MCCANN
                    3 LAKE DR
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                    208 MEADOWBROOK DR
                    SENECA SC 29678


                    DAVID MCCORMICK, SR.
                    1828 CASTLEBERRY RD
                    CLAYTON NC 27527


                    CHRISTINE MCCRACKEN
                    148B IDLEWILD DR
                    RANDLEMAN NC 27317


                    DONNA MCCRAW
                    320 ENDLESS DR
                    GREER SC 29651


                    KEVIN MCCRAY
                    307 BALD EAGLE CT
                    MONCKS CORNER SC 29461


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                    GLENNIS MCELVEEN
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                    FLORENCE SC 29501


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                    8328 ORLEANS BLVD
                    UNION KY 41091
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                    JOSEPH MCJUNKINS
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                    SHIPPENSBURG PA 17257


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                    240 COVINGTON RD
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                    BATAVIA OH 45103


                    ANDREW MEARS
                    205 LONGVIEW DR
                    ABINGDON VA 24211


                    LUZ MENDEZ
                    1111 VILLAGE GREEN DR
                    ANGOLA IN 46703


                    SHELLY MERCER-JAMISON
                    30 PLAINS ROAD
                    HAMDEN CT 06514
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                    1921 CALKS FERRY RD
                    LEXINGTON SC 29073
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                    SAINT PAULS NC 28384


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                    SENECA SC 29678
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                    CATHERINE MONTE
                    6123 WOODRIDGE LANE
                    GRAND BLANC MI 48439


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                    245 OLD POINT RD
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                    JAMES MORGAN
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                    590 LONG BRANCH CIRCLE
                    WILLISTON SC 29853


                    JOHNNY MURRAY
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                    RAEFORD NC 28376


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                    9617 ROTHMAN LN
                    CHARLOTTE NC 28215
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                    LARRY MUSTAIN
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                    GREENVILLE WV 24945


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                    UPPER MARLBORO MD 20774


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                    302 WALNUT DRIVE
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                    1105 ARTIC QUILL RD
                    HERNDON VA 20170
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                    WHITSETT NC 27377


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                    1569 S CRESCENT HEIGHTS BLVD
                    LOS ANGELES CA 90035


                    KYLEEN OXENDINE
                    19892 LUCKY LN
                    WAYNESVILLE MO 65583
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                    CHARLES PATRICK
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                    860 SLEEPY HOLLOW RD
                    MIDLAND NC 28107
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                    GAFFNEY SC 29341


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                    2862 RED FOX RUN DR NW
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                    SANDY HOOK KY 41171


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                    N CANTON OH 44721


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                    12574 GARRY GLEN DRIVE
                    BRISTOW VA 20136
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                    140 GIGI LN
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                    400 SUMMIT DRIVE
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                    SUMTER SC 29154


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                    CHAD G. RAMSEY
                    172 JOSEPH ALEXANDER DR
                    FUQUAY VARINA NC 27526
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                    GUY ROBBS
                    19087
                     HIGHWAY 221 N
                    LAURENS SC 29360
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                    ARTHER ROBERSON, SR.
                    120 CAROLINA RIDGE DR
                    COLUMBIA SC 29229


                    ARCHIE ROBERTSON
                    1016 ALSTON HILL DR
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                    3326 VENUS DR
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                    WINSTON SALEM NC 27127
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                    GA 30891-3000


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                    FLORENCE SC 29505
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                    COLUMBIA SC 29223


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                    317 SNIDER ST
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                    EL PASO TX 79924


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                    BERWYN PA 19355


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                    ELKVIEW WV 25071
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                    ELGIN SC 29045


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                    ROANOKE RAPIDS NC 27870


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                    2059 SPRING HILL RD
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                    BATTLEBORO NC 27809
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                    LYNN SWINNEY, JR.
                    9906 HAMILTON DR
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                    SUMTER SC 29153


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                    EDWARD ZYWCZOK
                    13 BRANT AVE
                    ST THOMAS ON N5R1Z4
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                                                               United States Bankruptcy Court
                                                                     District of South Carolina
 In re      Sand Castle South Timeshare Owners Association, Inc.                                           Case No.
                                                              Debtor(s)                                    Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Sand Castle South Timeshare Owners Association, Inc. in the above captioned
action, certifies that the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or
indirectly own(s) 10% or more of any class of the corporation's(s') equity interests, or states that there are no entities to
report under FRBP 7007.1:



    None [Check if applicable]




 May 22, 2019                                                        /s/ Julio E. Mendoza, Jr.
 Date                                                                Julio E. Mendoza, Jr. 3365
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Sand Castle South Timeshare Owners Association, Inc.
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